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       EXHIBIT B
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                                    Certified Policy Record

I, the undersigned, do hereby confirm that I am custodian of the records pertaining to the issuance of
policies by State Farm Fire and Casualty Company.

I certify that the attached documents represent a true and accurate record of the terms and conditions
of Policy Number 25-L9-6846-2 including any endorsements, if applicable, for the policy term(s)
03/09/2021 to 03/09/2022 and insuring DOUGHERTY, SEAN P based on available records.

The policy was in effect on the loss date of 09/01/2021.




                                                      _________________________________
                                                      Mitchell Daugherty
                                                      Underwriting Team Manager
                                                      Date:___________________
                                                            01/31/2025




                                                                                                      Page 1 of 1

1011493                                                                                2000 157822 200 02-09-2022
                 State Farm Fire and Casualty Company
                 A Stock Company WithCase:    4:25-cv-00729-JMB
                                      Home Offices in Bloomington, Illinois     Doc. #: 1-2          Filed: 05/19/25       Page: 3 of 162 PageID #:
                                                                                                    62
                 Po Box 853907
                 Richardson, TX 75085-3907                                                                                                                      ____


                                                                                           BALANCE DUE NOTICE
____             AT3                  H-14-6239-FBC5 F H 6
                            000318 3201      3201
                 DOUGHERTY, SEAN P
                 2578 COPPERGATE SQ DR APT K
                 SAINT LOUIS MO 63129-6197                                                 AMOUNT DUE:                                 SEE NOTE                 ____
____
                                                                                           Payment is due by SEE NOTE
____                                                                                                                                                            ____
                                                                                                                                                                ____
                                                                                           Policy Number: 25-L9-6846-2
____                                                                                                                                                            ____
                                                                                           Policy Period: 12 Months
                                                                                           Effective Dates: MAR 9 2021 to MAR 9 2022
0107-8014
ST-4B




                                                                                           Your State Farm Agent
             Location of Residence Premises                                                KEVIN J THOMAS
             2578 COPPERGATE SQ DR APT K                                                   3434 MCKELVEY RD
             SAINT LOUIS MO 63129-6197                                                     BRIDGETON MO 63044-2525

                                                                                           Phone: (314) 291-5353
            IMPORTANT MESSAGES




                                                                                                                                                                 000318 H MAR 12 2021 3201 14
            Full payment by Date Due continues this policy to MAR 9 2022
            Note: Do not pay. Payment is being made through State Farm Payment Plan. Account # 1213339214




                                                                                                                                                                 60
            Thanks for letting us serve you!
            When you provide a check as payment, you authorize us either to use the information from your check to make a one-time
            electronic fund transfer from your account or to process the payment as a check transaction. When we use information
            from your check to make an electronic funds transfer, funds may be withdrawn from your account as soon as the same day
            we receive your payment, and you will not receive your check back from your financial institution.

            Prepared: MAR 12 2021                                                                                                                 Page 1 of 1
                                                                              Please fold and tear here                              04-05-2018 (o1F1082E)


            Power To Pay           Online                   Mobile                        Call                           Mail                    Visit your
                                   statefarm.com/pay        Use the                       Automated Line: 800-440-0998   Send us a               State Farm
            Your Way                                        State Farm mobile app         Your agent: (314) 291-5353     check                   agent
            Key code: 53 2275 3093                                                            HO - CONDO UNIT


            Insured Name: DOUGHERTY, SEAN P                                                   1409105163
            Policy Number: 25-L9-6846-2
            AMOUNT DUE: SEE NOTE
            Please pay by SEE NOTE
            Make payment to State Farm
            For Office Use Only                                                                 FIRE BAL DUE                               0516
                       1S,8O

            001508 160 I
            N
                                                                                            900113600000000              825167546846202514>
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                 A Stock Company WithCase:    4:25-cv-00729-JMB
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                 Po Box 853907
                 Richardson, TX 75085-3907                                                                                                            ____


                                                                                       DECLARATIONS
____             AT3                  H-14-6239-FBC5 F H 6
                                             3201
                 DOUGHERTY, SEAN P
                 2578 COPPERGATE SQ DR APT K
                 SAINT LOUIS MO 63129-6197                                                                                                            ____
____
                                                                                       AMOUNT DUE:                                  enoN
____                                                                                                                                                  ____
                                                                                       Payment is due by BILLED THRU SFPP                             ____
____                                                                                                                                                  ____
                                                                                       Policy Number:     25-L9-6846-2
0207-8014




                                                                                       Policy Period: 12 Months
ST-4B




                                                                                       Effective Dates: MAR 9 2021 to MAR 9 2022
                                                                                       The policy period begins and ends at 12:01 am standard
                                                                                       time at the residence premises.

            CONDOMINIUM UNITOWNERS POLICY                                              Your State Farm Agent
                                                                                       KEVIN J THOMAS
            Location of Residence Premises                                             3434 MCKELVEY RD
            2578 COPPERGATE SQ DR APT K                                                BRIDGETON MO 63044-2525
            SAINT LOUIS MO 63129-6197




                                                                                                                                                       3201 14
                                                                                       Phone: (314) 291-5353
            Construction:                Frame
            Year Built:                  2003
            Automatic Renewal




                                                                                                                                                       000318 H
            If the POLICY PERIOD is shown as 12 MONTHS, this policy will be renewed automatically subject to the premiums, rules,
            and forms in effect for each succeeding policy period. If this policy is terminated, we will give you and the Mortgagee/Lien-




                                                                                                                                                       60
            holder written notice in compliance with the policy provisions or as required by law.


            IMPORTANT MESSAGES
            State Farm Customer Call Center Telephone Number: 800-782-8332

            PREMIUM
            Annual Premium
            Earthquake Premium                                                00.04                                               )dedulcnI(
            Your premium has already been adjusted by the following:
            Home Alert
            Home/Auto
            Claim Record
            Loyal Customer

            Total Premium




            Prepared MAR 12 2021                                                                                                        Page 1 of 3
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            001509 160 I                                                                                                  (o1F1080B) 04-04-2016
            N     1S,8O
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           NAMED INSURED                                             MORTGAGEE AND ADDITIONAL INTERESTS
           DOUGHERTY, SEAN P

           SECTION I - PROPERTY COVERAGES AND LIMITS
           Coverage                                                                                           Limit of Liability
           A Building Property                                                                                $        000,001      ____
           B Personal Property                                                                                $        000,04
           C Loss of Use                                                                                      $        000,61
           D Loss Assessment                                                                                  $        000,01
           Additional Coverages
           Arson Reward                                                              000,1$
           Credit Card, Bank Fund Transfer Card, Forgery, and Counterfeit Money      000,1$
           Debris Removal                                                            sirbed eert 000,1$/elbaliava %5 lanoitiddA
           Fire Department Service Charge                                            ecnerrucco rep 005$
           Fuel Oil Release                                                          000,01$
           Locks and Remote Devices                                                  000,1$
           Trees, Shrubs, and Landscaping                                            meti rep 057$/tnuoma B egarevoC fo %5
           SECTION II - LIABILITY COVERAGES AND LIMITS
           Coverage                                                                                           Limit of Liability
           L Personal Liability (Each Occurrence)                                                             $        000,003
           Damage to the Property of Others                                                                   $        000,1




                                                                                                                                     MAR 12 2021
           M Medical Payments to Others (Each Person)                                                         $        000,1
           INFLATION
           Inflation Coverage Index: 261.6
           DEDUCTIBLES
           Section I Deductible                                                                            Deductible Amount
           Earthquake 20%
o1F1081A




           Other Losses
           LOSS SETTLEMENT PROVISIONS
           Replacement Cost - Similar Construction - Coverage A
           B1 Limited Replacement Cost - Coverage B




           HO-2000
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                       25-L9-6846-2
                       FORMS, OPTIONS, AND ENDORSEMENTS
                       H6-2125                   Condominium Unitowners Policy
                       HO-2274                   Amendatory Endorsement
                       HO-2355                   Amendatory Endorsement
                       HO-2445                   Back-Up Of Sewer Or Drain -
                                                 15% of Coverage B/$ 6,000
                       HO-2415                   Earthquake Endorsement
                       ADDITIONAL MESSAGES
                       State Farm® works hard to offer you the best combination of price, service, and protection. The amount you pay for
                       homeowners insurance is determined by many factors such as the coverages you have, the type of construction, the
    0307-8014




                       likelihood of future claims, and information from consumers reports.
    ST-4B




                       Your premium was influenced by information from consumer reports:
                       Average number of months open for all accounts; Number of Consumer Initiated Credit Card Inquiries in 24 Months
                       / Percent of Accounts with Balance; Number of consumer initiated finance inquiries in the last 24 months;
                       Percent of balance to high credit on accounts.
                       Please refer to the enclosed insert for additional details.


                                                 Other limits and exclusions may apply - refer to your policy
o1F1083A




                Prepared MAR 12 2021                                                                                           Page 3 of 3
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                001510 160
                N
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This policy is one of the broadest
forms available today, and provides
you with outstanding value for your in-
surance dollars. However, we want
to point out that every policy contains
limitations and exclusions.      Please
read your policy carefully, especially
“Losses Not Insured” and all exclusions.


                                                State Farm®
                                                Condominium
                                                Unitowners
                                                Policy




                                                Missouri
                                                H6-2125
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                                             CONDOMINIUM UNITOWNERS POLICY


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                                   CONDOMINIUM UNITOWNERS POLICY
                                                            AGREEMENT
  We agree to provide the insurance described in this policy:              3.     we insure you on the basis your statements are true;
                                                                                  and
  1.   based on your payment of premium, in a form ac-
       ceptable to us, for the coverages you chose;                        4.     this policy contains all of the agreements between
                                                                                  you and us and any of our agents.
  2.   based on your compliance with all applicable provi-
       sions of this policy; and                                           Unless otherwise indicated in the application, you state
                                                                           that during the five years preceding the time of your appli-
  3.   based on the information you have given us and                      cation for this insurance you have not had any losses, in-
       your statements in this agreement.                                  sured or not.
  You agree, by acceptance of this policy, that:                           When you request changes to this policy, or the infor-
                                                                           mation or factors used to calculate the premium for this
  1.   you will pay premiums when due and comply with the                  policy changes during the policy period, we may adjust the
       provisions of this policy;                                          premium in accordance with the change during the policy
  2.   the statements in this agreement are your state-                    period and you must pay any additional premium due
       ments and are true;                                                 within the time we specify.

                                                            DEFINITIONS
  We define the following words and phrases for use                               of the damaged part of the property.
  throughout this policy. These definitions apply to the sin-              2.     “association” means the management body of the
  gular, plural, and possessive forms of these words and
                                                                                  unitowners collectively.
  phrases. Defined words and phrases are printed in bold
  italics.                                                                 3.     “bodily injury” means physical injury, sickness, or
  1. “actual cash value” means the value of the dam-                              disease to a person. This includes required care,
        aged part of the property at the time of loss, calcu-                     loss of services, and death resulting therefrom.
        lated as the estimated cost to repair or replace such                     Bodily injury does not include:
        property, less a deduction to account for pre-loss de-
        preciation. For this calculation, all components of this                  a.    any of the following which are communicable:
        estimated cost including, but not limited to:                                   disease, bacteria, parasite, virus, or other or-
        a. materials, including any tax;                                                ganism, any of which are transmitted by any in-
                                                                                        sured to any other person;
        b. labor, including any tax; and
        c. overhead and profit;                                                   b.    the actual or alleged exposure to any such dis-
                                                                                        ease, bacteria, parasite, virus, or other organism
        are subject to depreciation.
                                                                                        by any insured to any other person; or
        The depreciation deduction may include such consid-
        erations as:                                                              c.    emotional distress, mental anguish, humiliation,
                                                                                        mental distress, mental injury, or any similar in-
       a.   age;
                                                                                        jury unless it arises out of actual physical injury
       b.   condition;                                                                  to some person.
       c.   reduction in useful life;                                      4.     “building structure” means a structure fully en-
       d.   obsolescence; and                                                     closed with permanent walls and a roof. A permanent
                                                                                  wall or roof does not include any kind of temporary
       e.   any pre-loss damage including wear, tear, or de-                      materials including but not limited to tarps, plastic
            terioration;                                                          sheeting, or other similar material. A structure that is

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       otherwise fully enclosed with permanent walls and a                           of age, including but not limited to, child care,
       roof, that is undergoing repairs due to a recent loss                         lawn mowing, or paper delivery;
       insured, using materials such as tarps, plastic sheet-
       ing, or other similar material, is still considered a                   d.    the ownership, maintenance, or use of systems
       building structure.                                                           and equipment used to generate electrical
                                                                                     power up to but not exceeding 125 percent of
       A building structure includes:
                                                                                     the actual electrical power usage by the resi-
       a.   the foundation supporting the structure, includ-                         dence premises in the 12-month period prior to
            ing:                                                                     the date of the loss; or
            (1) slabs;                                                         e.    ownership of the residence premises by the
            (2) basement walls;                                                      person or organization shown in the Declara-
                                                                                     tions as Additional Insured.
            (3) crawl space walls;
                                                                        6.     “condominium” means the condominium, home-
            (4) footings; and                                                  owners development, planned unit development,
            (5) gravel, stone, or sand, used as fill material                  townhouse development, cooperative development,
                and located not more than 12 inches di-                        or any similar unit development, governed by the as-
                rectly below a slab described in item a.(1),                   sociation of all unitowners of which you are a mem-
                including water supply lines, domestic wa-                     ber and in which the residence premises is located.
                ter pipes, and sewer pipes located within               7.     “Declarations” means the policy Declarations, any
                this fill material; and                                        amended Declarations, the most recent renewal
       b.   wall-to-wall carpeting attached to the structure.                  Declarations, an Evidence of Insurance form, or any
                                                                               endorsement changing any of these.
  5.   “business” means any full-time or part-time activity,
       trade, profession, employment, or occupation or a                8.     “diminution in value” means any reduction in the
       commercial, mercantile, or industrial undertaking                       value of any covered property prior to or following re-
       of an economic nature. It does not matter whether                       pair or replacement as compared to the value of that
       it is continuous or regular, is a secondary or sup-                     property immediately before the loss.
       plemental source of income, or is an insured's prin-             9.     “dwelling” means that part of the building structure
       cipal means of livelihood. Profit and profit motive are                 on the residence premises used as the primary pri-
       irrelevant.                                                             vate residence.
       Business does not include:                                       10. “fungus” means any type or form of fungus, includ-
       a.   volunteer activities for a not-for-profit or non-               ing mold, mildew, mycotoxins, spores, scents, or by-
            profit organization or public agency for which no               products produced or released by fungi.
            money is received other than payment of ex-                 11. “insured” means:
            penses;
                                                                               a.    you;
       b.   incidental and infrequent personal economic ac-
                                                                               b.    your relatives; and
            tivity such as a hobby, garage or yard sale, or
            traditional farm activities when the farm products                 c.    any other person under the age of 21 in the care
            are intended only for the personal use of the in-                        of a person described above.
            sured;                                                            Under Section II, insured also means:
       c.   any occasional or part-time self-employed ac-                      d.    the person or organization legally responsible
            tivity by a person under 19 years of age that in-                        for animals or watercraft to which this policy ap-
            volves no employees or subcontracted                                     plies. However, the animal or watercraft must
            independent contractors and is a type of activity                        be owned by you or a person included in 11.b
            normally performed by persons under 19 years                             or 11.c. above. A person or organization using

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           or having custody of these animals or watercraft                    INSURED, COVERAGE B – PERSONAL PROP-
           in the course of a business, or without permis-                     ERTY.
           sion of the owner, is not an insured; and                    14. “motor vehicle”, when used in Section II of this pol-
      e.   with respect to any vehicle to which this policy                 icy, means:
           applies, any person while engaged in your em-                       a.    a land motor vehicle designed for travel on
           ployment or the employment of a person in-                                public roads or subject to motor vehicle registra-
           cluded in 11.b or 11.c. above.
                                                                                     tion;
  12. “insured location” means:                                                b.    a trailer or semi-trailer designed for travel on
      a.   the residence premises;                                                   public roads and subject to motor vehicle regis-
      b.   the part of any other premises, other structures,                         tration;
           and grounds used by you as a residence. This                        c.    a “recreational or utility vehicle” while off an in-
           includes premises, structures, and grounds you                            sured location. “Recreational or utility vehicle”
           acquire while this policy is in effect for your use                       means a motorized vehicle designed for recre-
           as a residence;                                                           ation or utility purposes, used principally off
      c.   any premises used by you in connection with                               public roads, and that is owned or leased by an
                                                                                     insured. This includes, but is not limited to, a
           the premises included in 12.a. or 12.b. above;
                                                                                     motorized all-terrain vehicle, side-by-side vehi-
      d.   any part of a premises not owned by an in-                                cle, utility work vehicle, amphibious vehicle,
           sured but where an insured is temporarily re-                             dune buggy, go-cart, golf cart, snowmobile,
           siding;                                                                   trailbike, minibike, and personal assistive mobil-
      e.   land owned by or rented to an insured on which                            ity device. “Leased” does not include temporary
           a one or two family dwelling is being constructed                         rental;
           as a residence for an insured;                                      d.    a “locomotive” while off an insured location.
      f.   individual or family cemetery plots or burial                             “Locomotive” means a self-propelled vehicle for
           vaults owned by an insured;                                               pulling or pushing freight or passenger cars on
                                                                                     tracks that is large enough to carry a person and
      g.   any part of a premises occasionally rented to an                          is owned or leased by an insured. “Leased”
           insured for purposes other than business;                                 does not include temporary rental;
      h.   vacant land owned by or rented to an insured.                       e.    a bulldozer, track loader, backhoe, high-hoe,
           For the purposes of this definition, vacant land                          trencher, grader, crane, self-propelled scraper,
           does not include:                                                         excavator, pipe-layer, cherry picker, telehandler,
           (1) farm land;                                                            logging vehicle, mining vehicle, or road building
                                                                                     vehicle that is owned or leased by an insured
           (2) land containing a residence; or                                       while off an insured location. “Leased does
           (3) land containing fences, corrals, boat docks,                          not include temporary rental; and
               tool sheds, barns, grain bins, and similar                      f.    any vehicle while being towed or pushed by or
               structures, unless they are used solely for                           carried on a vehicle included in 14.a. through
               the personal use of the insured; or                                   14.e. above.
      i.   farm land (without buildings), rented or held for                  The following are not motor vehicles:
           rental to others, but not to exceed a total of 500                  a.    a boat, camper, home, or utility trailer not being
           acres, regardless of the number of locations.                             towed or pushed by or carried on a vehicle in-
                                                                                     cluded in 14.a. through 14.e. above;
  13. “loss insured” means a loss as described under
      SECTION I – LOSSES INSURED, COVERAGE A –                                 b.    a motorized land vehicle in storage on an in-
      BUILDING PROPERTY and SECTION I – LOSSES                                       sured location not intended to be operated for

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            an extended period of time and rendered inop-                       insured and the labor leasing firm, who performs du-
            erable by placing the vehicle on blocks or re-                      ties, including household or domestic services, in
            moving parts essential for its operation;                           connection with the maintenance or use of the resi-
       c.   a motorized golf cart while used for golfing pur-                   dence premises. This includes employees who per-
                                                                                form similar duties elsewhere for you. This does not
            poses;
                                                                                include employees while performing duties in con-
       d.   a motorized vehicle or trailer designed to assist                   nection with the business of an insured.
            persons with disabilities that is not designed for
            travel on public roads or subject to motor vehicle                  Any employee of the association in the course of
            registration; or                                                    employment by the association is not a residence
                                                                                employee. This limitation does not apply to SEC-
       e.   a commercially manufactured two, three, or four                     TION I – PROPERTY COVERAGES, COVERAGE D –
            wheeled personal conveyance powered only by                         LOSS ASSESSMENT.
            or assisted by an unmodified motor or engine
            with a manufacturer’s power rating of no more                19. “residence premises” means the described prem-
            than 1 horsepower and capable of a top speed                     ises shown in the Declarations, other structures, and
                                                                             grounds reserved for your exclusive use and occu-
            of no more than 20 miles per hour.
                                                                             pancy.
  15. “occurrence”, when used in Section II of this policy,
                                                                         20. “State Farm Companies” means one or more of the
      means an accident, including accidental exposure to
      conditions, which first results in:                                    following:
                                                                                a.    State Farm Mutual Automobile Insurance Com-
       a.   bodily injury; or
                                                                                      pany;
       b.   property damage;
                                                                                b.    State Farm Fire and Casualty Company; and
       during the policy period. All bodily injury and prop-                    c.    subsidiaries or affiliates of either 20.a. or 20.b.
       erty damage resulting from one accident, series of                             above.
       related accidents, or from continuous and repeated
       exposure to the same general conditions is consid-                21. “vacant dwelling” means:
       ered to be one occurrence.                                            a. a dwelling:
  16. “property damage” means physical damage to or                              (1) that has not been occupied as a residence
      destruction of tangible property, including loss of use                          for more than 60 consecutive days immedi-
      of this property. Theft or conversion of property by                             ately before the loss; and
      any insured is not property damage.                                        (2) where a predominant amount of personal
  17. “relative” means any person related to you by:                                   property has been removed or is absent
                                                                                       such that the dwelling is not functional as a
       a.   blood;                                                                     habitual place of residence.
       b.   adoption;                                                            A dwelling will be considered occupied only if it
       c.   marriage; or                                                         is being used as a habitual place of residence
                                                                                 with your knowledge and approval.
       d.   civil union, domestic partnership, or other sub-
            stantially similar legal relationship that is recog-             b. A dwelling that is under active construction will
            nized and valid in the state where, and at the                       not be considered a vacant dwelling. A dwell-
            time when, the legal relationship was estab-                         ing is under active construction when it is:
            lished;                                                              (1) being built as a new structure;
       and who resides primarily with you.                                            (2) being repaired due to damage otherwise
                                                                                          covered by this policy; or
  18. “residence employee” means an employee of an
      insured, or an employee leased to an insured by a                               (3) undergoing substantial improvements, ren-
      labor leasing firm under an agreement between an                                    ovations, remodeling, or modifications;
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            and the construction results in substantial con-                   a.    a spouse of a “Named Insured”;
            tinuing activities by persons associated with the
            construction project at the premises during the                    b.    a party to a civil union with a “Named Insured”;
            relevant time periods.                                             c.    a domestic partner of a “Named Insured”; or
  22. “we”, “us”, and “our” mean the Company shown in                          d.    a person in a substantially similar legal relation-
      the Declarations.                                                              ship with a “Named Insured”;
  23. “you” and “your” mean the person or persons                              if such relationship is recognized and valid in the state
      shown as “Named Insured” in the Declarations. If a                       where, and at the time when, the legal relationship was
      “Named Insured” shown in the Declarations is a hu-                       established, so long as the person in the above relation-
      man being, then you and your include:                                    ship resides primarily with that “Named Insured”.

                                                         DEDUCTIBLE
  In case of loss under this policy, we will pay, subject to            Declarations. Deductibles will be applied per occurrence.
  specified policy limits, only that part of the amount of the          Deductibles apply to specific losses as described in this
  loss that exceeds the deductible amount shown in the                  policy.

                                   SECTION I – PROPERTY COVERAGES
  COVERAGE A – BUILDING PROPERTY                                               b.    trees, shrubs, live or artificial plants, lawns, or
                                                                                     artificial grass, except as provided in SECTION
  1.   Building Property. We cover:
                                                                                     I – ADDITIONAL COVERAGES, Trees,
       a.   alterations, appliances, fixtures, and improve-                          Shrubs, and Landscaping; or
            ments that are part of the building contained                      c.    systems and equipment used to generate elec-
            within your unit;                                                        trical power exceeding 125 percent of the actual
       b.   items of real property that pertain exclusively to                       electrical power usage by the residence prem-
            your unit; or                                                            ises in the 12-month period prior to the date of
                                                                                     the loss.
       c.   property that is your insurance responsibility un-
                                                                        COVERAGE B – PERSONAL PROPERTY
            der the governing rules of the condominium.
                                                                        1.     Property Covered.
       This coverage also includes your share of any asso-
                                                                               a. We cover personal property owned or used by
       ciation deductible but only when the deductible is not                      an insured while it is anywhere in the world.
       assessed against all unitowners.                                            This includes structures not permanently at-
  2.   Property Not Covered. We do not cover:                                      tached to or otherwise forming a part of the re-
                                                                                   alty. At your request, we will cover personal
       a.   land, including the land necessary to support                          property:
            any Coverage A property. We also do not                                  (1) owned by others while the property is on
            cover:                                                                       the part of the residence premises occu-
                                                                                         pied exclusively by an insured;
            (1) any costs required to replace, rebuild, sta-
                bilize, or otherwise restore the land; or                            (2) owned by a guest or a residence em-
                                                                                         ployee, while the property is in any other
            (2) the costs of repair techniques designed to                               residence occupied by an insured; and
                compensate for or prevent land instability                           (3) owned by roomers, boarders, tenants, and
                to any property, whether or not insured un-                              other residents, any of whom are related to
                der Coverage A;                                                          you.

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     b.   We cover personal property usually located at                               cards, rechargeable debit cards, phone cards and
          an insured’s residence, other than the resi-                                other negotiable instruments, accounts, deeds, ev-
          dence premises, for up to $1,000 or 10% of the                              idences of debt, letters of credit, notes other than
          Coverage B limit, whichever is greater. This lim-                           bank notes, manuscripts, passports, and tickets;
          itation does not apply to personal property:
                                                                                e.    $1,500 on watercraft of all types and outboard
          (1) in a newly acquired principal residence for                             motors, including their trailers, furnishings, and
              the first 30 days after you start moving the                            equipment;
              property there. If the residence premises is
              a newly acquired principal residence, per-                        f.    $1,500 on trailers not used with watercraft;
              sonal property in your immediate past prin-                       g.    $2,500 on stamps, trading cards, and comic
              cipal residence is not subject to this
              limitation for the first 30 days after the in-                          books, including any of these that are a part of a
              ception of this policy; and                                             collection;
          (2) of a student who is an insured while lo-                          h.    $2,500 for loss by theft of firearms;
              cated at a residence away from the resi-
              dence premises.                                                   i.    $2,500 for loss by theft of silverware and
                                                                                      goldware;
     Special Limits of Liability. These limits do not in-
     crease the Coverage B limit. The special limit for                         j.    $5,000 on any one article and $10,000 in the ag-
     each of the following categories is the total limit for                          gregate for loss by theft of any rug, carpet (ex-
     each loss for all property in that category:                                     cept wall-to-wall carpet), tapestry, wall-hanging,
     a.   $200 on money, coins, and medals, including                                 or other similar article;
          any of these that are a part of a collection, bank
                                                                                k.    $1,000 on commercially manufactured two,
          notes, bullion, gold other than goldware, silver
                                                                                      three, or four wheeled personal conveyances
          other than silverware, and platinum;
                                                                                      powered only by or assisted by an unmodified
     b.   $1,500 on property used or intended for use in a                            motor or engine with a manufacturer’s power
          business, including merchandise held as sam-                                rating of no more than 1 horsepower and capa-
          ples or for sale or for delivery after sale, while on
                                                                                      ble of a top speed of no more than 20 miles per
          the residence premises. This coverage is lim-
                                                                                      hour. This does not include such conveyances
          ited to $750 on such property away from the res-
          idence premises.                                                            that are:

          Electronic data processing system equipment or                              (1) designed for assisting persons with disabil-
          the recording or storage media used with that                                   ities;
          equipment is not included under this coverage,
          and is addressed in item c. below;                                          (2) not designed for travel on public roads; and

     c.   $10,000 on electronic data processing system                                (3) not subject to motor vehicle registration; and
          equipment used or intended for use in a business,                     l.    $1,000 for loss by theft of jewelry, watches, fur
          including but not limited to computers, tablets, mo-                        garments and garments trimmed with fur, and
          bile personal communication equipment, global po-                           precious and semi-precious stones.
          sitioning systems, mobile personal electronic
          devices used for the reproduction of sound, and                2.     Property Not Covered. We do not cover:
          standard media or non-media equipment for use                         a.    articles separately described and specifically in-
          with the above devices;
                                                                                      sured in this or any other insurance;
     d.   $1,500 on securities, checks, cashiers checks,
          travelers checks, money orders, gift certificates, gift               b.    animals, birds, or fish;

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     c.   any engine-propelled or motor-propelled vehicle                                  nights in the 12-month period prior to the
          or machine, including parts, designed for move-                                  date of the loss;
          ment on land, except as provided in Special Lim-                    h.    property rented or held for rental to others away
          its of Liability, item k. However, we do cover                            from the residence premises;
          those vehicles or machines:
                                                                              i.    any radio devices or transmitters, global positioning
          (1) that are:                                                             systems, radar or laser detectors, antennas, and all
               (a) not designed for travel on public                                other similar equipment that is permanently installed
                   roads; and                                                       in or permanently fastened to an engine-propelled
                                                                                    or motor-propelled vehicle or that is hard-wired di-
               (b) not subject to motor vehicle registra-
                   tion;                                                            rectly to the vehicle’s electrical system;
                                                                              j.    books or records of accounts receivable, abstracts
          (2) and that are:
                                                                                    or other journals, architectural or technical draw-
               (a) used primarily to service the insured                            ings, card index systems, or other records. This
                   location; or                                                     does not apply to any recording or storage media
               (b) designed for assisting persons with                              for electronic data processing. We will cover the
                                                                                    cost of blank books, cards, or other blank material
                   disabilities;
                                                                                    plus the cost of labor you incur for transcribing or
     d.   any electronic equipment, devices, or accessories                         copying such records;
          designed for the recording, reproduction, or stor-                  k.    recording or storage media for electronic data
          age of audio, video, photos, or other data that is
                                                                                    processing that cannot be replaced with prop-
          permanently installed in or permanently fastened to                       erty of like kind and quality on the current retail
          an engine-propelled or motor-propelled vehicle or                         market;
          hard-wired directly to the vehicle’s electrical sys-
          tem. We also do not cover removable products                        l.    purchased or created audio, video, photos, or
          that may be used with the equipment or devices                            other data that cannot be replaced with like kind
          described above, including but not limited to tapes,                      and quality on the current retail market and
          discs, videos, or memory cards while in an engine-                        that is transferred or downloaded onto mobile
          propelled or motor-propelled vehicle;                                     communication equipment, global positioning
                                                                                    systems, or electronic devices designed for the
     e.   aircraft and parts. This does not apply to un-                            recording, reproduction, or storage of audio,
          manned aircraft systems used as model aircraft                            video, photos, or other data;
          and operated solely for recreational or hobby
          purposes;                                                           m. contraband, or any property used in the course
     f.   property of roomers, boarders, tenants, and                            of illegal consumption, possession, import, ex-
          other residents not related to you;                                    port, or trade;
     g.   property regularly rented or held for rental to oth-                n.    outdoor hardscape property used for aesthetic
          ers by an insured. This does not apply to prop-                           purposes except as provided in SECTION I –
          erty of an insured:                                                       ADDITIONAL COVERAGES, Trees, Shrubs,
          (1) in a sleeping room when the dwelling is                               and Landscaping;
              rented in part, for use as a permanent res-
              idence, by either one or two full-time room-                    o.    electronic currency, digital currency, virtual cur-
              ers or boarders; or                                                   rency, crypto-currency, and other similar mediums
                                                                                    of exchange; or
          (2) on the residence premises if it is rented,
              either completely or in part, for exclusive                     p.    personal property collectively owned by unit-
              use as a residence, for no more than 30                               owners of the condominium.


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  COVERAGE C – LOSS OF USE                                                             that would be a loss insured under this policy if
  The most we will pay for the sum of all losses combined                              the damage had occurred to property on the res-
  under Additional Living Expense, Fair Rental Value,                                  idence premises;
  and Prohibited Use is the limit of liability shown in the                      b.    the residence premises is within one mile of
  Declarations for Coverage C – Loss of Use.                                           property damaged by a cause of loss identified
  1.   Additional Living Expense. When a loss insured                                  in 3.a. above; and
       causes the residence premises to become uninhab-                          c.    the action of the civil authority is taken in re-
       itable, we will pay the reasonable and necessary in-                            sponse to:
       crease in cost incurred by an insured to maintain
       their normal standard of living for up to 24 months.                            (1) dangerous physical conditions resulting
       Our payment is limited to incurred costs for the short-                             from the continuation of the cause of loss
       est of:                                                                             identified in 3.a. above;
       a.   the time required to repair or replace the prem-                           (2) dangerous physical conditions resulting
            ises;                                                                          from the damage caused by the cause of
                                                                                           loss identified in 3.a. above; or
       b.   the time required for your household to settle
            elsewhere; or                                                              (3) the need to gain free access to property
                                                                                           damaged by the cause of loss identified in
       c.   24 months.                                                                     3.a. above.
       This period of time is not limited by the expiration of            We will not pay for loss or expense due to cancellation of
       this policy.                                                       a lease or agreement.
       We will not pay more than the limit of liability shown             COVERAGE D – LOSS ASSESSMENT
       in the Declarations for Coverage C – Loss of Use.
       Any normal expenses that are reduced or discontin-                 We will pay for your share of any assessment charged
       ued due to a loss insured will be subtracted from any              against all unitowners by the association, when the as-
       amount owed.                                                       sessment is made as a result of:
  2.   Fair Rental Value. When a loss insured causes                      1.     a direct physical loss to condominium property (in-
       that part of the residence premises rented to others                      cluding personal property) owned by all unitowners
       or held for rental by you to become uninhabitable, we                     collectively that occurs during the policy period to
       will pay its fair rental value. Payment will be for the                   which Section I of this policy would apply, unless the
       shortest time required to repair or replace the part of                   loss is excluded or limited in SECTION I – LOSSES
       the premises rented or held for rental, but not to ex-                    NOT INSURED. Any Earthquake and Volcanic Explo-
       ceed 12 months. This period of time is not limited by                     sion Endorsement applicable to Coverage A shall also
       the expiration of this policy. Fair rental value will not                 apply to Coverage D;
       include any expense that does not continue while that              2.     an occurrence during the policy period to which Sec-
       part of the residence premises rented or held for                         tion II of this policy would apply;
       rental is uninhabitable.
                                                                          3.     damages that occur during the policy period that the
  3.   Prohibited Use. We will pay Additional Living Ex-                         association may be obligated to pay because of per-
       pense and Fair Rental Value, for a continuous period                      sonal injury due to false arrest, false imprisonment,
       not to exceed two weeks, beginning when a civil au-                       wrongful eviction, wrongful entry, wrongful detention,
                                                                                 malicious prosecution, misrepresentation, or humilia-
       thority issues an order of evacuation or prohibits your                   tion;
       use of the residence premises, provided that:
                                                                          4.     illegal discrimination (unless coverage is prohibited
       a.   direct physical damage occurs to any property,                       by law) that occurs during the policy period, but only
            other than covered property located on the res-                      with respect to liability other than fines and penalties
            idence premises, arising from a cause of loss                        imposed by law; or

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  5.   libel, slander, defamation of character, or invasion of          2.     Temporary Repairs. If damage is caused by a loss
       rights of privacy that occur during the policy period.                  insured, we will pay the reasonable and necessary
  We will not pay your share of any assessment charged                         cost you incur for temporary repairs to covered prop-
  against all unitowners by the association made as a result                   erty to protect the property from further immediate dam-
                                                                               age or loss. This coverage does not increase the limit
  of items 1. through 5. above that does not occur within the
  policy period.                                                               applying to the property being repaired.
                                                                        3.     Trees, Shrubs, and Landscaping. We will pay for
  Limit of Liability. The COVERAGE D – LOSS ASSESS-
  MENT limit is shown in the Declarations. The most we                         accidental direct physical loss to outdoor:
  will pay for all assessments arising out of the same event                   a.    trees, shrubs, live or artificial plants, and lawns;
  from items 1. through 5. above is the amount shown in the                    b.    artificial grass; and
  Declarations.
                                                                               c.    hardscape property used for aesthetic purposes
  SECTION I – ADDITIONAL COVERAGES                                                   not permanently affixed to realty;
  The following Additional Coverages are subject to all the
                                                                               on the residence premises, caused by the following
  terms, provisions, exclusions, and conditions of this pol-                   perils: Fire or lightning, Explosion, Riot or civil
  icy.                                                                         commotion, Aircraft, Vehicles (not owned or oper-
  1.   Debris Removal. We will pay the reasonable ex-                          ated by a resident of the residence premises), Van-
       penses you incur in the removal of debris of covered                    dalism or malicious mischief, or Theft.
       property damaged by a loss insured. This expense
                                                                               The limit for this coverage, including the removal of
       is included in the limit applying to the damaged prop-                  debris, will not exceed 5% of the amount shown in the
       erty. The following coverages and limits also apply:                    Declarations for COVERAGE B – PERSONAL
       a.   When the amount payable for the property dam-                      PROPERTY. We will not pay more than $750 for any
            age plus the debris removal exceeds the limit for                  one outdoor tree, shrub, plant, or hardscape item, in-
            damaged property, an additional 5% of that limit                   cluding debris removal expense. This coverage may
            is available for debris removal expense. This                      increase the limit otherwise applicable. We will not
            additional amount of insurance does not apply                      pay for any loss to property grown for business pur-
                                                                               poses.
            to SECTION I – ADDITIONAL COVERAGES,
            Trees, Shrubs, and Landscaping.                             4.     Fire Department Service Charge. We will pay up to
                                                                               $500 per occurrence for fire department charges in-
       b.   We will also pay up to $1,000 total for each loss                  curred when the fire department is called to save or
            to cover the reasonable expenses you incur in                      protect Coverage A property from fire, lightning, or
            the removal of tree debris and stumps from the                     explosion. No deductible applies to this coverage.
            residence premises, unless otherwise ex-                           This coverage may increase the limit otherwise appli-
            cluded. This coverage applies when:                                cable.
            (1) the tree has caused a loss insured to Cov-              5.     Property Removed. We will pay for any accidental
                erage A property; or                                           direct physical loss to covered property while being
            (2) the tree debris felled by windstorm, hail, or                  removed from a premises endangered by a loss in-
                weight of snow or ice blocks:                                  sured. This coverage also applies to the property for
                 (a) the driveway, on the residence prem-                      up to 30 days while removed. We will also pay for
                     ises, and prevents land motor vehi-                       reasonable expenses incurred by you for the removal
                     cle access to or from the dwelling; or                    and return of the covered property. This coverage
                 (b) a ramp designed to assist persons                         does not increase the limit applying to the property
                     with disabilities, on the residence                       being removed.
                     premises, and prevents access to or                6.     Credit Card, Bank Fund Transfer Card, Forgery,
                     from a building structure.                                and Counterfeit Money.

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       a.   We will pay up to $1,000 for:                                       occurring on the residence premises. The power
            (1) the legal obligation of an insured to pay be-                   lines off the residence premises must remain ener-
                cause of the theft or unauthorized use of                       gized. This coverage does not increase the limit ap-
                credit cards and bank fund transfer cards is-                   plying to the damaged property.
                sued to or registered in an insured’s name.              8.     Refrigerated Products. Coverage B is extended to
                If an insured has not complied with all terms                   cover the contents of deep freeze or refrigerated units
                and conditions under which the cards are is-                    on the residence premises for loss due to power fail-
                sued, we will not pay for use by an insured                     ure or mechanical failure. If mechanical failure or
                or anyone else;                                                 power failure is known to you, all reasonable means
            (2) loss to an insured caused by forgery or al-                     must be used to protect the property insured from fur-
                teration of any check or negotiable instru-                     ther damage or this coverage is void. Power failure
                ment; and                                                       or mechanical failure does not include:
            (3) loss to an insured through acceptance in                        a.   removal of a plug from an electrical outlet; or
                good faith of counterfeit United States or                      b.   turning off an electrical switch unless caused by
                Canadian paper currency.                                             a loss insured.
            No deductible applies to this coverage.                             This coverage does not increase the limit applying to
                                                                                the damaged property.
            We will not pay more than the limit stated above
            for forgery or alteration committed by any one               9.     Arson Reward. We will pay $1,000 for information that
            person. This limit applies when the forgery or                      leads to an arson conviction in connection with a fire loss
            alteration involves one or more instruments in                      to property covered by this policy. This coverage may
            the same loss.                                                      increase the limit otherwise applicable. However, the
                                                                                $1,000 limit will not be increased regardless of the num-
       b.   We will not pay for loss arising out of business                    ber of persons providing information.
            pursuits or dishonesty of an insured.
                                                                         10. Volcanic Action. We will pay for accidental direct
       c.   Defense:
                                                                             physical loss to a covered building structure or cov-
            (1) We may make any investigation and settle                     ered property contained in a building structure re-
                any claim or suit that we decide is appro-                   sulting from the eruption of a volcano when the loss
                priate. Our obligation to defend claims or                   is directly and immediately caused by:
                suits ends when the amount we pay for the
                loss equals our limit of liability.                             a.    airborne volcanic shock waves;
            (2) If claim is made or a suit is brought against an                b.    ash, dust, or particulate matter; or
                insured for liability under the Credit Card or                  c.    lava flow.
                Bank Fund Transfer Card coverage, we will
                provide a defense. This defense is at our ex-                   We will also pay for the removal of that ash, dust, or
                pense by counsel of our choice.                                 particulate matter that has caused accidental direct
            (3) We have the option to defend at our ex-                         physical loss to a covered building structure or cov-
                pense an insured or an insured’s bank                           ered property contained in a building structure.
                against any suit for the enforcement of pay-                    All volcanic eruptions that occur within any 168-hour
                ment under the Forgery coverage.
                                                                                period will be considered one volcanic eruption.
  7.   Power Interruption. We will pay for accidental direct
       physical loss caused directly or indirectly by a change                  This coverage does not increase the limit applying to
       of temperature that results from power interruption                      the damaged property.
       that takes place on the residence premises. The                   11. Collapse. We will pay for accidental direct physical
       power interruption must be caused by a loss insured                   loss to covered property involving the abrupt, entire
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     collapse of a building structure or any part of a                                (5) use of defective material or methods in the
     building structure.                                                                  construction (includes remodeling or reno-
     a. Collapse means the abrupt and entire falling down,                                vation) of the building structure, if the col-
          caving in, or falling into pieces of a building struc-                          lapse occurs during the course of the
          ture or any part of a building structure. Collapse                              construction of the building structure.
          does not include any of the following:                                      Loss to awnings, fences, patios, pavement,
          (1) settling, cracking, crumbling, deterioration,                           swimming pools, underground pipes, flues,
               shrinking, bulging, expansion, sagging,                                drains, cesspools, septic tanks, foundations (in-
               bowing, leaning, or bending;                                           cluding slabs, basement walls, and crawl space
                                                                                      walls), retaining walls, bulkheads, piers, wharfs,
          (2) substantial structural impairment;                                      docks, trellises, or antennas and their support-
          (3) imminent or threatened collapse;                                        ing structures is not included under items (2),
          (4) a building structure or any part of a build-                            (3), and (4) immediately above unless the loss
               ing structure that is in danger of falling                             is the direct and immediate result of the collapse
               down or caving in; or                                                  of a building structure or any part of a building
                                                                                      structure.
          (5) a part of a building structure that is stand-
               ing even if:                                                     This coverage does not increase the limit applying to
                                                                                the damaged property.
               (a) it has separated from another part of
                     the building structure; or                          12. Locks and Remote Devices. We will pay up to
                                                                             $1,000 for each loss for the reasonable expenses
                (b) it shows evidence of settling, cracking,
                    crumbling, deterioration, shrinking,                     you incur to rekey, replace, recode, program, or re-
                    bulging, expansion, sagging, bowing,                     program locks on exterior doors to the dwelling or
                    leaning, or bending.                                     other structures located on the residence premises
                                                                             when the keys or remote devices used with those
     b.   The collapse must be directly and immediately
                                                                             doors are part of a covered theft loss. This coverage
          caused by one or more of the following:
                                                                             includes remote devices designed solely for locking,
          (1) perils described in SECTION I – LOSSES                         unlocking, opening, or closing doors, including gar-
              INSURED, COVERAGE B – PERSONAL                                 age doors and gates.
              PROPERTY. These perils apply to build-
              ing structures covered under Coverage A                           No deductible applies to this coverage.
              or Coverage B for loss insured by this Ad-                 13. Fuel Oil Release. We will pay up to $10,000 for each
              ditional Coverage;
                                                                             loss for accidental direct physical loss to covered prop-
          (2) decay or deterioration of, or damage from                      erty caused by the abrupt and accidental escape of
              animals, birds, or insects to:                                 liquid fuel oil from a fixed household tank, apparatus,
                (a) a connector; or                                          or pipes that are part of a heating unit for the dwell-
                                                                             ing. This includes damage to covered property re-
                (b) a structural member of a building
                    structure;                                               sulting from an accidental spill or overflow of fuel oil
                                                                             in the course of filling a fixed household tank.
                The decay, deterioration, or damage must
                be hidden from view and unknown to all in-                      This coverage includes surface clean up only. We
                sureds prior to the collapse;                                   will not pay for:
          (3) weight of contents, equipment, animals, or                        a.    the cost to repair or replace the fuel oil tank, ap-
              people;                                                                 paratus, and pipes; or
          (4) weight of ice, snow, sleet, or rain that col-                     b.    the cost of testing, monitoring, removing, treating,
              lects on a roof, porch, or deck; or                                     or detoxifying of soil, air, or water.

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       This coverage does not increase the limit applying to               1.     divide the Index on that date by the Index as of the
       the damaged property.                                                      effective date of this Inflation Coverage provision;
  14. Tear Out. If a loss insured to Coverage A property                          then
      is caused by water, steam, or sewage escaping from                   2.     multiply the resulting factor by the limits of liability for
      a system or appliance, we will also pay the reasona-                        Coverage A and Coverage B separately.
      ble cost you incur to tear out and replace only that                 The limits of liability will not be reduced to less than the
      particular part of the building structure or condo-                  amounts shown in the Declarations.
      minium unit owned by you necessary to gain access
      to the specific point of that system or appliance from               If during the term of this policy the Coverage B limit of lia-
      which the water, steam, or sewage escaped. We will                   bility is changed at your request, the effective date of this
      not pay for the cost of repairing or replacing the sys-              Inflation Coverage provision is changed to coincide with
      tem or appliance itself. This coverage does not in-                  the effective date of such change.
      crease the limit applying to Coverage A property.
                                                                           This Inflation Coverage provision does not apply to the
  INFLATION COVERAGE                                                       limit of liability of Coverage A when both:
  The limits of liability shown in the Declarations for Cover-             1.     the limit of liability of Coverage B is less than $10,000;
  age A and Coverage B will be increased at the same rate
  as the increase in the Inflation Coverage Index shown in                        and
  the Declarations.                                                        2.     the limit of liability of Coverage A is no more than
  To find the limits on a given date:                                             $1,000.

                                           SECTION I – LOSSES INSURED
  COVERAGE A – BUILDING PROPERTY AND                                              the rain, snow, sleet, sand, or dust enters through this
  COVERAGE D – LOSS ASSESSMENT                                                    opening.
  We will pay for accidental direct physical loss to the prop-                    This peril includes loss to watercraft of all types and
  erty described in Coverage A and Coverage D, unless the                         their trailers, furnishings, equipment, and outboard
  loss is excluded or limited in SECTION I – LOSSES NOT                           motors, only while inside a building structure.
  INSURED or otherwise excluded or limited in this policy.
  However, loss does not include and we will not pay for,                  3.     Explosion.
  any diminution in value.
                                                                           4.     Riot or civil commotion.
  COVERAGE B – PERSONAL PROPERTY
                                                                           5.     Aircraft, including self-propelled missiles and space-
  We will pay for accidental direct physical loss to the property                 craft.
  described in Coverage B caused by the following perils, un-
  less the loss is excluded or limited in SECTION I –                      6.     Vehicles, meaning accidental direct physical loss to
  LOSSES NOT INSURED or otherwise excluded or limited                             covered property caused by the weight, force, power,
  in this policy. However, loss does not include and we will                      or movement of a vehicle.
  not pay for, any diminution in value.
                                                                                  a.    This includes:
  1.   Fire or lightning.
                                                                                        (1) the impact of a vehicle;
  2.   Windstorm or hail. This peril does not include loss
                                                                                        (2) an object propelled from the tire or body of
       to property contained in a structure caused by rain,
                                                                                            a vehicle;
       snow, sleet, sand, or dust. This limitation does not
       apply when the direct force of wind or hail damages                              (3) the upset or collision of a vehicle with a sta-
       the structure causing an opening in a roof or wall and                               tionary object or other vehicle, including

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                 damage to personal property carried on the                           (3) from the part of a residence premises
                 exterior of the vehicle; or                                              rented to others:
            (4) a vehicle door or trunk lid being closed on                                  (a) caused by a tenant, members of the
                personal property.                                                               tenant’s household, or the tenant’s
                                                                                                 employees unless the residence
       b.   This peril does not include loss:
                                                                                                 premises is rented, either completely
            (1) to personal property that falls off a vehicle                                    or in part, for exclusive use as a resi-
                and strikes the ground, any other surface,                                       dence, for no more than 30 nights in
                or any object;                                                                   the 12-month period prior to the date
            (2) caused by shifting of the load being carried                                     of the loss;
                in or on a vehicle; or                                                       (b) of money, bank notes, bullion, gold,
            (3) to the vehicle itself unless the vehicle is                                      goldware, silver, silverware, pewter-
                property covered under COVERAGE B –                                              ware, platinum, coins, and medals;
                PERSONAL PROPERTY and the loss is                                            (c) of securities, checks, cashiers checks,
                caused by the weight, force, power, or                                           travelers checks, money orders, gift cer-
                movement of another vehicle.                                                     tificates, gift cards, rechargeable debit
  7.   Smoke, meaning abrupt and accidental damage from                                          cards, phone cards, and other negotia-
       smoke.                                                                                    ble instruments, accounts, deeds, evi-
                                                                                                 dences of debt, letters of credit, notes
       This peril does not include loss caused by smoke
       from agricultural smudging or industrial operations.                                      other than bank notes, manuscripts,
                                                                                                 passports, tickets, and stamps; or
  8.   Vandalism or malicious mischief, meaning only
       willful and malicious damage to or destruction of                                     (d) of jewelry, watches, fur garments and
       property.                                                                                 garments trimmed with fur, and precious
                                                                                                 and semi-precious stones; or
  9.   Theft, including attempted theft and loss of property
       from a known location when it is probable that the                       c.    loss caused by theft that occurs away from the
       property has been stolen.                                                      residence premises of:
       This peril does not include:                                                   (1) property while at any other residence owned,
       a.   loss of a precious or semi-precious stone from                                rented to, or occupied by an insured, except
            its setting;                                                                  while an insured is temporarily residing there.
                                                                                          Property of a student who is an insured is
       b.   loss caused by theft:                                                         covered while at a residence away from the
            (1) committed by an insured or by any other                                   residence premises;
                person regularly residing on the insured                              (2) watercraft of all types, including their fur-
                location. Property of a student who is an                                 nishings, equipment, and outboard motors; or
                insured is covered while located at a resi-
                dence away from the residence premises, if                            (3) trailers and campers designed to be pulled
                the theft is committed by a person who is                                 by or carried on a vehicle.
                not an insured;                                                       If the residence premises is a newly acquired
            (2) in or to a dwelling under construction or of                          principal residence, property in the immediate
                materials and supplies for use in the con-                            past principal residence will not be considered
                struction until the dwelling is completed and                         property away from the residence premises for
                occupied; or                                                          the first 30 days after the inception of this policy.
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  10. Falling objects. This peril does not include loss to                    heating system, an air conditioning system, an au-
      property contained in a structure unless the roof or an                 tomatic fire protective sprinkler system, or an appli-
      exterior wall of the structure is first damaged by a fall-              ance for heating water.
      ing object. Damage to the falling object itself is not                  This peril does not include loss:
      included.
                                                                              a. caused by or resulting from freezing; or
  11. Weight of ice, snow, or sleet that causes damage
      to property contained in a structure.                                   b. that occurs or develops over a period of time and
                                                                                   is caused by or resulting from:
  12. Abrupt and accidental discharge or overflow of
      water, steam, or sewage from within a plumbing,                              (1) condensation or the presence of humidity,
                                                                                         moisture, or vapor; or
      heating, air conditioning, or automatic fire protec-
      tive sprinkler system, or from within a household                            (2) seepage or leakage of water or steam that
      appliance.                                                                         is:
       This peril does not include loss:                                                 (a) continuous;
       a.   to the system or appliance from which the water,                             (b) repeating;
            steam, or sewage escaped;                                                    (c) gradual;
       b.   caused by or resulting from:                                                 (d) intermittent;
            (1) freezing;                                                                (e) slow; or
            (2) water or sewage from outside the resi-                                   (f) trickling.
                dence premises plumbing system that en-                   14. Freezing of a plumbing, heating, air conditioning, or
                ters through sewers or drains, or water that                  automatic fire protective sprinkler system, or of a
                enters into and overflows from within a                       household appliance.
                sump pump, sump pump well, or any other
                                                                              This peril does not include:
                system designed to remove subsurface
                water that is drained from the foundation                     a. loss to a portable hot tub or portable spa unless
                area; or                                                           you have used reasonable care to prevent
                                                                                   freezing; or
          (3) the pressure from or presence of tree,
               shrub, or plant roots; or                                      b. loss on the residence premises unless you
                                                                                   have used reasonable care to:
      c. that occurs or develops over a period of time and
          is caused by or resulting from:                                          (1) maintain heat in the building structure at
                                                                                         55 degrees Fahrenheit or higher; or
          (1) condensation or the presence of humidity,
               moisture, or vapor; or                                              (2) shut off the water supply and drain the sys-
                                                                                         tem and appliances of water.
          (2) seepage or leakage of water, steam, or
               sewage that is:                                                     However, if the building structure is protected
                                                                                   by an automatic fire protective sprinkler system,
               (a) continuous;
                                                                                   you must use reasonable care to continue the
               (b) repeating;                                                      water supply and maintain heat in the building
               (c) gradual;                                                        structure at 55 degrees Fahrenheit or higher for
                                                                                   coverage to apply.
               (d) intermittent;
                                                                          15. Abrupt and accidental damage to electrical appli-
               (e) slow; or
                                                                              ances, devices, fixtures, and wiring from an increase
               (f) trickling.                                                 or decrease of artificially generated electrical current.
  13. Abrupt and accidental tearing asunder, cracking,                        We will pay up to $3,000 under this peril for each
      burning, or bulging of a steam or hot water                             damaged item described above.

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  16. Breakage of glass, meaning damage to personal                       17. Wild bears or deer, meaning damage caused by
      property caused by breakage of glass that is a part of
      a structure on the residence premises. We will not                      wild bears or deer to property located in a building
      pay for loss or damage to the glass.                                    structure.

                                     SECTION I – LOSSES NOT INSURED

  1.   We will not pay for any loss to the property de-                          d.    theft in or to a dwelling under construction, or of
       scribed in Coverage A and Coverage D that con-                                  materials and supplies for use in the construction,
       sists of, or is directly and immediately caused                                 until the dwelling is completed and occupied;
       by, one or more of the perils listed in items a.                          e.    theft, vandalism, malicious mischief, or break-
       through m. below, regardless of whether the loss                                age of glass and safety glazing materials if the
       occurs abruptly or gradually, involves isolated or                              dwelling is a vacant dwelling;
       widespread damage, arises from natural or ex-                             f.    seepage or leakage of water, steam, or sewage
       ternal forces, or occurs as a result of any combination                         that occurs or develops over a period of time:
       of these:                                                                       (1) and is:
       a.   collapse, except as specifically provided in SEC-                                 (a) continuous;
            TION I – ADDITIONAL COVERAGES, Col-
            lapse;                                                                            (b) repeating;
       b.   freezing of a plumbing, heating, air conditioning, or                             (c) gradual;
            automatic fire protective sprinkler system or of a                                (d) intermittent;
            household appliance; or discharge, leakage, or
            overflow from within the system or appliance                                      (e) slow; or
            caused by freezing. This does not apply if you                                    (f)   trickling; and
            have used reasonable care to:
                                                                                       (2) from a:
            (1) maintain heat in the building structure at
                 55 degrees Fahrenheit or higher; or                                          (a) heating, air conditioning, or automatic
                                                                                                  fire protective sprinkler system;
            (2) shut off the water supply and drain the sys-
                tem and appliances of water.                                                  (b) household appliance; or
            However, if the building structure is protected                                   (c) plumbing system, including from,
            by an automatic fire protective sprinkler system,                                     within or around any shower stall,
            you must use reasonable care to continue the                                          shower bath, tub installation, or other
            water supply and maintain heat in the building                                        plumbing fixture, including their walls,
            structure at 55 degrees Fahrenheit or higher for                                      ceilings, or floors.
            coverage to apply;
                                                                                       We also will not pay for losses arising from con-
       c.   freezing, thawing, pressure, or weight of water,                           densation or the presence of humidity, moisture,
            ice, snow, or sleet, whether driven by wind or
                                                                                       or vapor that occurs or develops over a period
            not, to:
                                                                                       of time;
            (1) a swimming pool, hot tub, or spa, including
                  their covers, filtration, and circulation sys-                 g.    wear, tear, decay, marring, scratching, deterio-
                  tems; or                                                             ration, inherent vice, latent defect, or mechani-
            (2) an awning, fence, pavement, patio, founda-                             cal breakdown;
                  tion (including slabs, basement walls, crawl                   h.    corrosion, electrolysis, or rust;
                  space walls, and footings), retaining wall,
                  bulkhead, pier, wharf, or dock;                                i.    wet or dry rot;

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     j.   contamination or pollution, meaning the pres-                              (1) This includes:
          ence, discharge, dispersal, seepage, migration,
                                                                                            (a) nesting, infestation, gnawing, feeding,
          release, or escape of contaminants or pollutants                                      breeding, or discharge or release of
          at or from any source. This does not apply if the                                     waste products or secretions by ani-
          presence, discharge, dispersal, seepage, migra-
                                                                                                mals, birds, or insects;
          tion, release, or escape is itself caused by a peril
          described in SECTION I – LOSSES INSURED,                                          (b) costs to remove animals, birds, or in-
          COVERAGE B – PERSONAL PROPERTY.                                                       sects from the covered property; and
          (1) Contaminants and pollutants include but                                       (c) costs to prevent the animals, birds, or
              are not limited to any:                                                           insects from returning to the property;
               (a) solid, liquid, gaseous, or thermal irritant,
                                                                                     (2) However, we will pay for:
                   including smoke from agricultural
                   smudging or industrial operations,                                       (a) losses caused by wild bears or deer;
                   smog, soot, vapor, fumes, acids, alka-                                       and
                   lis, chemicals, pathogens, noxious
                   substances, asbestos, or lead;                                           (b) the breakage of glass or safety glaz-
                                                                                                ing material that is a part of a building
               (b) contaminants or pollutants resulting                                         structure, when caused by animals,
                   from any natural resource extraction                                         birds, or insects; or
                   activities; or
                                                                               m. pressure from or presence of tree, shrub, or
               (c) fuel oil except as specifically provided                       plant roots.
                   in SECTION I – ADDITIONAL COV-                              However, we will pay for any resulting loss from items
                   ERAGES, Fuel Oil Release.                                   a. through l. unless the resulting loss is itself a Loss
          (2) We also will not pay for:                                        Not Insured as described in this Section.
               (a) losses arising from contamination or                 2.     We will not pay for, under any part of this policy, any
                   pollution caused by or resulting from                       loss that would not have occurred in the absence of
                   defective building materials, nuclear                       one or more of the following excluded events. We will
                   substances, and waste. Waste in-                            not pay for such loss regardless of: (a) the cause of
                   cludes materials to be recycled, re-                        the excluded event; or (b) other causes of the loss; or
                   conditioned, or reclaimed;                                  (c) whether other causes acted concurrently or in any
                                                                               sequence with the excluded event to produce the loss;
               (b) the cost to extract contaminants or pollu-                  or (d) whether the event occurs abruptly or gradually,
                   tants from land, water, or air, or the cost                 involves isolated or widespread damage, occurs on
                   to remove, restore, or replace contami-                     or off the residence premises, arises from any nat-
                   nated or polluted land, water, or air; or                   ural or external forces, or occurs as a result of any
                                                                               combination of these:
               (c) the cost of testing, monitoring, clean-
                   ing, removing, containing, treating,                        a.    Ordinance or Law, meaning enforcement of
                   detoxifying, neutralizing, remediating,                           any ordinance or law regulating the construction,
                   disposing of, or assessing the effects                            repair, or demolition of a building structure or
                   of contaminants or pollutants;                                    other structure.
                                                                               b.    Earth Movement, meaning the sinking, rising,
     k.   settling, cracking, shrinking, bulging, or expan-
          sion of pavements, patios, foundations, (includ-                           shifting, expanding, or contracting of earth, all
          ing slabs, basement walls, crawl space walls,                              regardless of whether combined with water,
                                                                                     sewage, or any material carried by, or otherwise
          and footings), walls, floors, roofs, or ceilings;
                                                                                     moved by the earth. Earth movement includes
     l.   all animals, birds, or insects.                                            but is not limited to:

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          (1)  earthquake;                                                              any other system designed to remove sub-
          (2)  landslide, mudslide, or mudflow;                                         surface water that is drained from the foun-
                                                                                        dation area;
          (3)  sinkhole or subsidence;
                                                                                    (8) water or sewage below the surface of the
          (4)  movement resulting from:                                                 ground, including water or sewage that ex-
               (a) improper compaction;                                                 erts pressure on, or seeps or leaks through
               (b) site selection;                                                      a building structure, sidewalk, driveway,
                                                                                        swimming pool, or other structure; or
               (c) natural resource extraction activities; or
                                                                                    (9) material carried or otherwise moved by any
               (d) excavation;                                                          of the water or sewage, as described in
          (5) erosion;                                                                  items c.(1) through c.(8) above.
          (6) pressure by surface or subsurface earth or fill;                      However, we will pay for any accidental direct
               or                                                                   physical loss by fire, explosion, or theft resulting
          (7) any volcanic activity, except as specifically                         from water, provided the resulting loss is itself a
               provided in SECTION I – ADDITIONAL                                   loss insured.
               COVERAGES, Volcanic Action.                                    d.    Neglect, meaning neglect of the insured to use
          However, we will pay for any accidental direct                            all reasonable means to save and preserve
          physical loss by fire resulting from earth move-                          property at and after the time of a loss, or when
          ment, provided the resulting fire loss is itself a                        property is endangered.
          loss insured.                                                       e.    War, including any undeclared war, civil war, in-
     c.   Water, meaning:                                                           surrection, rebellion, revolution, warlike act by a
          (1) flood;                                                                military force or military personnel, destruction or
                                                                                    seizure or use for a military purpose, and in-
          (2) surface water. This does not include water                            cluding any consequence of any of these. Dis-
              solely caused by the release of water from                            charge of a nuclear weapon will be considered
              a swimming pool, spigot, sprinkler system,                            a warlike act even if accidental.
              hose, or hydrant;                                               f.    Nuclear Hazard, meaning any nuclear reaction,
          (3) waves (including tidal wave, tsunami, and                             radiation, or radioactive contamination, all
              seiche);                                                              whether controlled or uncontrolled or however
          (4) tides or tidal water;                                                 caused, or any consequence of any of these.
                                                                                    Loss caused by the nuclear hazard will not be
          (5) overflow of any body of water (including                              considered loss caused by fire, explosion, or
              any release, escape, or rising of any body                            smoke.
              of water, or any water held, contained, con-                          However, we will pay for any accidental direct
              trolled, or diverted by a dam, levee, dike, or                        physical loss by fire resulting from the nuclear
              any type of water containment, diversion,                             hazard, provided the resulting fire loss is itself a
              or flood control device);                                             loss insured.
          (6) spray or surge from any of the items c.(1)                      g.    Fungus, including:
              through c.(5) described above, all whether
              driven by wind or not;                                                (1) any loss of use or delay in rebuilding, re-
                                                                                        pairing, or replacing covered property, in-
          (7) water or sewage from outside the resi-
              dence premises plumbing system that en-                                   cluding any associated cost or expense,
              ters through sewers or drains, or water or                                due to interference at the residence prem-
              sewage that enters into and overflows from                                ises or location of the rebuilding, repair, or
              within a sump pump, sump pump well, or                                    replacement, by fungus;

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          (2) any remediation of fungus, including the                                    received payment. In no event will we pay
              cost to:                                                                    more than the limit of liability.
               (a) remove the fungus from covered                                         If we pay an innocent coinsured for a loss
                   property or to repair, restore, or re-                                 described above, the rights of the innocent
                   place that property; or                                                coinsured to recover damages from the
                                                                                          perpetrator of the domestic violence are
               (b) tear out and replace any part of the                                   transferred to us to the extent of our pay-
                   building structure or other property                                   ment. Following the loss, the innocent co-
                   as needed to gain access to the fun-                                   insured may not waive such rights to
                   gus; or                                                                recover against the perpetrator in the do-
                                                                                          mestic violence.
          (3) the cost of any testing or monitoring of air
              or property to confirm the type, absence,               3.     We will not pay for, under any part of this policy, any
              presence, or level of fungus, whether per-                     loss consisting of one or more of the items below.
              formed prior to, during, or after removal, re-                 Further, we will not pay for any loss described in par-
              pair, restoration, or replacement of                           agraphs 1. and 2. immediately above regardless of
              covered property.                                              whether one or more of the following: (a) directly or
                                                                             indirectly cause, contribute to, or aggravate the loss;
     h.   Intentional Losses. If any insured intention-                      or (b) occur before, at the same time, or after the loss
          ally causes or procures a loss to property cov-                    or any other cause of the loss:
          ered under this policy, we will not pay any
          insured for this loss. This applies regardless of                  a.    conduct, act, failure to act, or decision of any
          whether the insured is charged with or con-                              person, group, organization, or governmental
          victed of a crime.                                                       body whether intentional, wrongful, negligent, or
                                                                                   without fault;
          This does not apply to an:
                                                                             b.    defect, weakness, inadequacy, fault, or un-
          a.   insured who did not participate in, cooper-                         soundness in:
               ate in, or contribute to causing or procuring
                                                                                   (1) planning, zoning, development, surveying,
               the loss; or
                                                                                        or siting;
          b.   innocent coinsured if the loss arose out of
                                                                                   (2) design, specifications, workmanship, re-
               domestic violence. Coverage will be pro-
               vided only if the innocent coinsured files a                             pair, construction, renovation, remodeling,
               police report and completes a sworn affida-                              grading, or compaction;
               vit indicating both:                                                (3) materials used in repair, construction, ren-
               (1) the cause of the loss; and                                          ovation, remodeling, grading, or compac-
                                                                                       tion; or
               (2) a pledge to cooperate in any criminal
                   prosecution of the person committing                            (4) maintenance;
                   the act causing the loss.                                       of any property (including land, structures, or im-
               Our payment to the innocent coinsured will                          provements of any kind) whether on or off the
               be limited to that insured’s ownership in-                          residence premises; or
               terest in the property as reduced by any
                                                                             c.    weather conditions.
               payment to a mortgagee or other secured
               interest. However, we will not be required                    However, we will pay for any resulting loss from items
               to make any subsequent payment for any                        3a., 3b., and 3c. unless the resulting loss is itself a
               loss for which the innocent coinsured has                     Loss Not Insured as described in this Section.


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                                       SECTION I – LOSS SETTLEMENT
  Only the Loss Settlement Provisions shown in the Dec-                  COVERAGE B – PERSONAL PROPERTY
  larations apply. We will settle covered property losses                1.     B1 – Limited Replacement Cost Loss Settlement.
  according to the following. However, the valuation of any
  covered property losses does not include, and we will not                     a.    We will pay the cost to repair or replace property
  pay, any amount for diminution in value.                                            covered under SECTION I – PROPERTY COV-
                                                                                      ERAGES, COVERAGE B – PERSONAL
  COVERAGE A – BUILDING PROPERTY                                                      PROPERTY, except for property listed in item b.
  1.   We will pay the cost to repair or replace with similar                         below, subject to the following:
       construction and for the same use on the premises                              (1) until repair or replacement is completed,
       shown in the Declarations, the damaged part of the                                 we will pay only the actual cash value of
       building property covered under SECTION I – PROP-                                  the damaged property;
       ERTY COVERAGES, COVERAGE A – BUILDING
       PROPERTY, except for wood fences, subject to the                               (2) after repair or replacement is completed,
       following:                                                                         we will pay the difference between the ac-
                                                                                          tual cash value and the cost you have ac-
       a.   until actual repair or replacement is completed,
                                                                                          tually and necessarily spent to repair or
            we will pay only the actual cash value of the
            damaged part of the property, up to the applica-                              replace the property; and
            ble limit of liability shown in the Declarations,                         (3) if property is not repaired or replaced within
            not to exceed the cost to repair or replace the                               two years after the date of loss, we will pay
            damaged part of the property;                                                 only the actual cash value.
       b.   when the repair or replacement is actually com-
                                                                                b.    We will pay market value at the time of loss for:
            pleted, we will pay the covered additional amount
            you actually and necessarily spend to repair or                           (1) antiques, fine arts, paintings, statuary, and
            replace the damaged part of the property, or an                               similar articles which by their inherent na-
            amount up to the applicable limit of liability                                ture cannot be replaced with new articles;
            shown in the Declarations, whichever is less;
                                                                                      (2) articles whose age or history contribute sub-
       c.   to receive any additional payments on a replace-
            ment cost basis, you must complete the actual                                 stantially to their value including, but not
            repair or replacement of the damaged part of the                              limited to, memorabilia, souvenirs, and col-
            property within two years after the date of loss,                             lectors items; and
            and notify us within 30 days after the work has                           (3) property not useful for its intended purpose.
            been completed; and
       d.   we will not pay for increased costs resulting from                  However, we will not pay an amount exceeding the
            enforcement of any ordinance or law regulating                      smallest of the following for items a. and b. above:
            the construction, repair, or demolition of a build-                       (1) our cost to replace at the time of loss;
            ing structure or other structure.
                                                                                      (2) the full cost of repair;
  2.   Wood Fences: We will pay the actual cash value for
                                                                                      (3) any special limit of liability described in this
       loss or damage to wood fences, not to exceed the
                                                                                          policy; or
       limit of liability shown in the Declarations for COV-
       ERAGE A – BUILDING PROPERTY.                                                   (4) any applicable Coverage B limit of liability.

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  2.   B2 – Depreciated Loss Settlement.                                                      not limited to, memorabilia, souvenirs, and
       a. We will pay the actual cash value for property                                      collectors items; and
           covered under SECTION I – PROPERTY COV-                                     (3) property not useful for its intended purpose.
           ERAGES, COVERAGE B – PERSONAL
           PROPERTY, except for property listed in item b.                       However, we will not pay an amount exceeding the
           below.                                                                smallest of the following for items a. and b. above:
       b. We will pay market value at the time of loss for:                            (1) our cost to replace at the time of loss;
           (1) antiques, fine arts, paintings, statuary, and                           (2) the full cost of repair;
               similar articles which by their inherent na-
                                                                                       (3) any special limit of liability described in this
               ture cannot be replaced with new articles;
                                                                                           policy; or
           (2) articles whose age or history contribute
               substantially to their value including, but                             (4) any applicable Coverage B limit of liability.

                                               SECTION I – CONDITIONS
  1.   Insurable Interest and Limit of Liability. Even if                              (2) attaching all bills, receipts, and related doc-
       more than one person has an insurable interest in the                               uments that substantiate the figures in the
       property covered, we will not be liable:                                            inventory;
       a.   to the insured for an amount greater than the                        d.    as often as we reasonably require:
            insured’s interest; or                                                     (1) exhibit the damaged property;
       b.   for more than the applicable limit of liability.                           (2) provide us with any requested records and
                                                                                           documents and allow us to make copies;
  2.   Your Duties After Loss. After a loss to which this
       insurance may apply, you must cooperate with us in                              (3) while not in the presence of any other in-
       the investigation of the claim and also see that the                                sured:
       following duties are performed:                                                        (a) give statements; and
       a.   give immediate notice to us or our agent and                                      (b) submit to examinations under oath;
            also notify:                                                                          and
            (1) the police if the loss is caused by theft, van-                        (4) produce employees, members of the in-
                dalism, or any other criminal act; and                                     sured’s household, or others for examina-
            (2) the credit card company or bank if the loss in-                            tion under oath to the extent it is within the
                volves a credit card or bank fund transfer                                 insured’s power to do so; and
                card;                                                            e.    submit to us, within 60 days after the loss, your
       b.   protect the property from further damage or loss                           signed, sworn proof of loss that sets forth, to the
            and also:                                                                  best of your knowledge and belief:
            (1) make reasonable and necessary temporary                                (1) the time and cause of loss;
                 repairs required to protect the property; and                         (2) interest of the insured and all others in the
            (2) keep an accurate record of repair expenses;                                property involved and all encumbrances on
       c.   prepare an inventory of damaged or stolen per-                                 the property;
            sonal property:                                                            (3) other insurance that may cover the loss;
            (1) showing in detail the quantity, description,
                                                                                       (4) changes in title or occupancy of the prop-
                 age, replacement cost, and amount of loss;
                 and                                                                       erty during the term of this policy;


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            (5) specifications of any damaged structure                               The written report of agreement will set the
                and detailed estimates for repair of the                              amount of the loss of each item in dispute and
                damage;                                                               will be binding upon you and us.
            (6) an inventory of damaged or stolen personal                      c.    If the two appraisers fail to agree upon the
                property described in 2.c.;                                           amount of the loss within 30 days, unless the pe-
                                                                                      riod of time is extended by mutual agreement, they
            (7) receipts for additional living expenses in-                           will select a competent, disinterested umpire and
                curred and records supporting the fair                                will submit their differences to the umpire. If the
                rental value loss; and                                                appraisers are unable to agree upon an umpire
                                                                                      within 15 days:
            (8) evidence or affidavit supporting a claim under
                SECTION I – ADDITIONAL COVERAGES,                                     (1) you or we may make a written application
                Credit Card, Bank Fund Transfer Card, For-                                for a judge of a court of record in the same
                gery, and Counterfeit Money coverage,                                     state and county (or city if the city is not
                stating the amount and cause of loss.                                     within a county) where the residence
                                                                                          premises is located to select an umpire;
  3.   Loss to a Pair or Set. In case of loss to a pair or set,
       we may choose to:                                                              (2) the party requesting the selection de-
                                                                                          scribed in item c.(1) must provide the other
       a.   repair or replace any part to restore the pair or                             party:
            set to its value before the loss; or
                                                                                             (a) written notice of the intent to file,
       b.   pay the difference between the depreciated                                           identifying the specific location and
            value of the property before the loss and the de-                                    identity of the court at least 10 days
            preciated value of the property after the loss.                                      prior to submission of the written ap-
  4.   Appraisal. If you and we fail to agree on the amount of                                   plication; and
       loss, either party can demand that the amount of the loss                             (b) a copy of the written application; and
       be set by appraisal. Only you or we may demand ap-
       praisal. A demand for appraisal must be in writing. You                        (3) a written report of agreement, as required
       must comply with SECTION I – CONDITIONS, Your                                      in item b., signed by any two (appraisers or
       Duties After Loss before making a demand for ap-                                   appraiser and umpire) will set the amount
       praisal. At least 10 days before demanding appraisal, the                          of the loss of each item in dispute and will
       party seeking appraisal must provide the other party with                          be binding upon you and us. In all in-
       written, itemized documentation of a specific dispute as                           stances the written report of agreement will
       to the amount of the loss, identifying separately each                             be itemized and state separately the actual
       item being disputed.                                                               cash value, replacement cost, and if appli-
                                                                                          cable, the market value of each item in dis-
       a.   Each party will select a competent, disinterested                             pute.
            appraiser and notify the other party of the ap-
            praiser’s identity within 20 days of receipt of the                 d.    To qualify as an appraiser or umpire for a loss to
                                                                                      building property, a person must be one of the
            written demand for appraisal.
                                                                                      following and be licensed or certified as re-
       b.   The appraisers will then attempt to set the                               quired by the applicable jurisdiction:
            amount of the loss of each item in dispute as                             (1) an engineer or architect with experience and
            specified by each party, and jointly submit to
                                                                                          training in building construction, repair, esti-
            each party a written report of agreement signed                               mating, or investigation of the type of prop-
            by them. In all instances the written report of                               erty damage in dispute;
            agreement will be itemized and state separately
            the actual cash value, replacement cost, and if                           (2) an adjuster or public adjuster with experi-
            applicable, the market value of each item in dis-                             ence and training in estimating the type of
            pute.                                                                         property damage in dispute; or
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            (3) a contractor with experience and training in                           our share of the loss. Our share is the propor-
                the construction, repair, and estimating of                            tion of the loss that the applicable limit under this
                the type of property damage in dispute.                                policy bears to the total amount of insurance
       e.   A person may not serve as an appraiser or um-                              covering the loss.
            pire if that person, any employee of that person,                          If, at the time of loss, there is other insurance in
            that person’s employer, or any employee of their                           the name of the condominium covering the
            employer:                                                                  same property covered by this policy, this insur-
            (1) has performed services for either party with                           ance will be excess over the amount recovera-
                respect to the claim at issue in the ap-                               ble under such other insurance.
                praisal; or                                                      b.    Other Insurance (with respect to COVERAGE D –
            (2) has a financial interest in the outcome of                             LOSS ASSESSMENT). If a loss covered by this
                the claim at issue in the appraisal.                                   policy is also covered by other insurance, this in-
                                                                                       surance shall be excess over other insurance in the
       f.   Each party will be responsible for the compen-                             name of the condominium covering the same
            sation of their selected appraiser. Reasonable                             property covered by this policy.
            expenses of the appraisal and the reasonable
                                                                          6.     Suit Against Us. No action will be brought against
            compensation of the umpire will be paid equally
            by you and us.                                                       us unless there has been full compliance with all of
                                                                                 the policy provisions. Any action by any party must
       g.   You and we do not waive any rights by demand-                        be started within ten years after the date of loss or
            ing or submitting to an appraisal, and retain all                    damage.
            contractual rights to determine if coverage applies
                                                                          7.     Our Option. We may repair or replace any part of
            to each item in dispute.
                                                                                 the property damaged or stolen with similar property.
       h.   Appraisal is only available to determine the                         Any property we pay for or replace becomes our
            amount of the loss of each item in dispute. The                      property.
            appraisers and the umpire have no authority to
            decide:                                                              However, when the peril of fire causes partial destruc-
                                                                                 tion or damage to covered property, pursuant to Sec-
            (1) any other questions of fact;                                     tion 379.150 RS Mo. 1986, we will pay for the damage
            (2) questions of law;                                                done to the property or repair the property to the extent
                                                                                 of the damage, at your option. Payment will not ex-
            (3) questions of coverage;                                           ceed the limits of liability of this policy, and the dam-
            (4) other contractual issues; or                                     aged property will be in as good condition as before the
                                                                                 fire.
            (5) to conduct appraisal on a class-wide basis.
                                                                          8.  Loss Payment. We will adjust all losses with you.
       i.   Appraisal is a non-judicial proceeding and does not               We will pay you unless some other person is named
            provide for or require arbitration. Neither party will            in the policy or is legally entitled to receive payment.
            be awarded attorney fees. The appraisal award                     Loss will be payable 60 days after we receive your
            may not be entered as a judgment in a court.                      proof of loss and:
       j.   A party may not demand appraisal after that                       a. reach agreement with you;
            party brings suit or action against the other party               b. there is an entry of a final judgment; or
            relating to the amount of loss.
                                                                              c. there is a filing of an appraisal award with us.
  5.   a.   Other Insurance (with respect to all coverages
                                                                          9. Abandonment of Property. We need not accept
            except COVERAGE D – LOSS ASSESS-
            MENT). If a loss covered by this policy is also                   any property abandoned by an insured.
            covered by other insurance, except insurance in               10. Mortgagee Clause. The word “mortgagee” includes
            the name of the condominium, we will pay only                     trustee.

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      a.   If a mortgagee is named in this policy, any loss pay-                      (2) at our option, we may pay to the mortgagee
           able under Coverage A will be paid to the mortga-                              the whole principal on the mortgage plus any
           gee and you, as interests appear. If more than one                             accrued interest. In this event, we will receive
           mortgagee is named, the order of payment will be                               a full assignment and transfer of the mortgage
           the same as the order of precedence of the mort-                               and all securities held as collateral to the
           gages.                                                                         mortgage debt.
      b.   If we deny your claim, that denial will not ap-                      f.    Subrogation does not impair the right of the
           ply to a valid claim of the mortgagee, if the                              mortgagee to recover the full amount of the
           mortgagee:
                                                                                      mortgagee’s claim.
           (1) notifies us of any change in ownership, oc-
                                                                         11. No Benefit to Bailee. We will not recognize an as-
                 cupancy, or substantial change in risk of
                                                                             signment or grant coverage for the benefit of a person
                 which the mortgagee is aware;
                                                                             or organization holding, storing, or transporting prop-
           (2) pays on demand any premium due under                          erty for a fee. This applies regardless of any other
               this policy, if you have not paid the premium;                provision of this policy.
               and                                                       12. Recovered Property. If either you or we recover
           (3) submits a signed, sworn statement of loss                     any property after loss settlement, that party must
                  within 60 days after receiving notice from                 give the other prompt notice. At your option, you
                  us of your failure to do so. Policy condi-                 may keep the property or we will return it to you. Oth-
                  tions relating to Appraisal, Suit Against                  erwise, it will become our property. If you choose to
                  Us, and Loss Payment apply to the mort-                    keep the property, the loss payment will be adjusted
                  gagee.                                                     based on the amount you received for the recovered
      c.   If we cancel this policy, the mortgagee will be                   property.
           notified at least 10 days before the date cancel-             13. Assignment of Claim. Assignment to another party
           lation takes effect. Proof of mailing will be proof
                                                                             of any of your rights or duties under this policy re-
           of notice.
                                                                             garding any claim, or any part of any claim, will be
      d.   If this policy is void as to an insured under the                 void and we will not recognize any such assignment,
           terms and conditions of this policy, the mortga-
                                                                             unless we give our written consent. However, once
           gee will be notified at least 10 days before the
           date coverage ceases for its interests. Proof of                  you have complied with all policy provisions, you
           mailing will be proof of notice.                                  may assign to another party, in writing, payment of
                                                                             claim proceeds otherwise payable to you.
      e.   If we pay the mortgagee for any loss and deny
           payment to you:                                               14. Glass Replacement. Loss for damage to glass
           (1) we are subrogated to all the rights of the                    caused by a loss insured will be settled on the basis
                  mortgagee granted under the mortgage on                    of replacement with safety glazing materials when re-
                  the property; or                                           quired by ordinance or law.

                                    SECTION II – LIABILITY COVERAGES
  COVERAGE L – PERSONAL LIABILITY                                        1.     pay up to our limit of liability for the damages for
                                                                                which the insured is legally liable. We will not pay
  If a claim is made or a suit is brought against an insured                    for criminal restitution; and
  for damages because of bodily injury or property damage                2.     provide a defense at our expense by counsel of our
  to which this coverage applies, caused by an occurrence,                      choice. We may make any investigation and settle
  we will:                                                                      any claim or suit that we decide is appropriate. Our


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       obligation to defend any suit ends when the amount                        c.    reasonable expenses an insured incurs at our
       we pay for damages, to effect settlement or satisfy a                           request. This includes actual loss of earnings
       judgment resulting from the occurrence, equals our                              (but not loss of other income) up to $250 per day
       limit of liability. We will not provide a defense to any                        for aiding us in the investigation or defense of
       insured for criminal prosecution or proceedings.                                claims or suits;
  COVERAGE M – MEDICAL PAYMENTS TO OTHERS
                                                                                 d.    interest the insured is legally liable to pay on
  We will pay the necessary medical expenses incurred or                               damages payable under Coverage L above be-
  medically ascertained within three years from the date of                            fore a judgment, but only the interest on the
  an accident causing bodily injury. Medical expenses                                  lesser of:
  means reasonable charges for medical, surgical, x-ray,
  dental, ambulance, hospital, professional nursing, rehabil-                          (1) that part of the damages we pay; or
  itation, pharmaceuticals, orthopedic devices, prosthetic
  devices, and funeral services. This coverage applies only:                           (2) the Coverage L limit; and
  1.   to a person on the insured location with the permis-                      e.    interest on the entire judgment that accrues after
       sion of an insured;                                                             entry of the judgment and before we pay or ten-
  2.   to a person off the insured location, if the bodily in-                         der, or deposit in court that part of the judgment
       jury:                                                                           that does not exceed the limit of liability that ap-
                                                                                       plies.
       a.     arises out of a condition on the insured location
              or the ways immediately adjoining;                          2.     First Aid Expenses. We will pay expenses for first
         b. is caused by the activities of an insured;                           aid to others incurred by an insured for bodily injury
                                                                                 covered under this policy. We will not pay for first aid
         c. is caused by a residence employee in the
                                                                                 to you or any other insured.
              course of the residence employee’s employ-
              ment by an insured; or                                      3.     Damage to Property of Others.
         d. is caused by an animal owned by or in the care                       a.    We will pay for property damage to property of
              of an insured; or
                                                                                       others caused by the activities of an insured.
  3. to a residence employee if the occurrence causing
         bodily injury occurs off the insured location and                       b.    We will not pay more than the smallest of the
         arises out of or in the course of the residence em-                           following amounts:
         ployee’s employment by an insured.
                                                                                       (1) replacement cost at the time of loss;
  SECTION II – ADDITIONAL COVERAGES
                                                                                       (2) full cost of repair; or
  The following Additional Coverages are subject to all the
  terms, provisions, exclusions, and conditions of this policy.                        (3) the limit of liability shown in the Declara-
  We will pay for the following in addition to the limits of lia-                          tions for Damage to Property of Others
  bility:                                                                                  for any one occurrence.
  1. Claim Expenses. We will pay:                                                c.    We will not pay for property damage:
       a.   expenses we incur and costs taxed against an                               (1) for a loss that is recoverable under Section
            insured in suits we defend. Taxed costs do not                                 I of this policy. We also will not pay for any
            include attorney fees;                                                         applicable deductible regardless of
       b.   premiums on bonds required in suits we defend,                                 whether the amount of the loss exceeds the
            but not for bond amounts greater than the Cov-                                 deductible;
            erage L limit. We are not obligated to apply for                           (2) caused intentionally by an insured 13
            or furnish any bond;                                                           years of age or older;
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            (3) to property, other than a rented golf cart, owned                             (c) a condition on the insured location or
                by, or rented to an insured, a tenant of an in-                                   the ways immediately adjoining; or
                sured, or a resident in your household;                                       (d) the ownership, maintenance, or use of
            (4) arising out of:                                                                   a motor vehicle, aircraft, or water-
                                                                                                  craft, including airboat, air cushion,
                 (a) business pursuits;                                                           personal watercraft, sail board, or sim-
                 (b) any act or omission in connection with                                       ilar type watercraft; or
                     a premises an insured owns, rents, or                             (5) if a payment is made under COVERAGE L –
                     controls, other than the insured loca-                                PERSONAL LIABILITY for the same
                     tion;                                                                 property damage.

                                              SECTION II – EXCLUSIONS
  1.   Coverage L and Coverage M do not apply to:                                b.    bodily injury or property damage arising out
                                                                                       of business pursuits of any insured, except as
       a.   bodily injury or property damage that:
                                                                                       provided in item c. below. This exclusion does
            (1) was a result of a:                                                     not apply to activities that are ordinarily incident
                 (a) willful and malicious; or                                         to non-business pursuits;

                 (b) criminal;                                                   c.    bodily injury or property damage arising out
                                                                                       of the rental of any part of any premises by any
                 act or omission of the insured;                                       insured. This exclusion does not apply:
            (2) was intended by the insured; or                                        (1) to the rental of the residence premises:
            (3) would have been expected by the insured                                       (a) either completely or in part, for exclu-
                based on a reasonable person standard.                                            sive use as a residence, for up to 30
            However, exclusions a.(2) and a.(3) above do                                          nights in the 12-month period prior to
            not apply to bodily injury or property damage                                         the date of the loss;
            resulting from the use of reasonable force to pro-                                (b) in part, for use as a permanent resi-
            tect persons or property.                                                             dence, by either one or two full-time
            Exclusions a.(1), a.(2), and a.(3) above apply to                                     roomers or boarders; or
            all bodily injury or property damage even if                                      (c) in part, as an office, school, studio, or
            the:                                                                                  private garage;
            (1) bodily injury or property damage was                                   (2) to farm land (without buildings), rented to
                sustained by a different person, entity, or                                others, but not to exceed a total of 500
                property than was expected or intended;                                    acres, regardless of the number of loca-
            (2) bodily injury or property damage was of                                    tions;
                a different kind, quality, or degree than was                          (3) with respect to loss under Coverage D; or
                expected or intended;
                                                                                       (4) to activities that are ordinarily incident to
            (3) insured lacked the mental capacity to con-                                 non-business pursuits;
                trol his or her conduct;
                                                                                 d.    bodily injury or property damage arising out
            (4) insured was not charged with or convicted                              of the rendering or failing to render professional
                of a criminal act or omission; or                                      services. This exclusion does not apply to Cov-
            (5) insured was impaired by drugs or alcohol;                              erage D;
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     e.   bodily injury or property damage arising out                                  (c) powered by one or more outboard mo-
          of any premises currently owned or rented to                                       tors with more than 25 total horse-
          any insured which is not an insured location.                                      power owned by any insured;
          This exclusion does not apply to bodily injury                                (d) designated as an airboat, air cushion,
          to a residence employee arising out of and in                                      or similar type of craft; or
          the course of the residence employee’s em-
          ployment by an insured;                                                       (e) owned by any insured if it is a per-
                                                                                             sonal watercraft using a water jet
     f.   bodily injury or property damage arising out                                       pump powered by an internal combus-
          of the ownership, maintenance, use, loading, or                                    tion engine as the primary source of
          unloading of:                                                                      propulsion.
          (1) an aircraft. This exclusion does not apply                           This exclusion does not apply to bodily injury
              to the ownership, maintenance, use, load-                            to a residence employee arising out of and in
              ing, or unloading of unmanned aircraft sys-                          the course of the residence employee’s em-
              tems used as model aircraft:                                         ployment by an insured. Exclusion f.(2) does
              (a) solely for recreational or hobby pur-                            not apply to an all-terrain vehicle or motorized
                  poses;                                                           bicycle owned by an insured while on an in-
                                                                                   sured location. Exclusion f.(3) does not apply
              (b) designed to be operated within the                               while the watercraft is on the residence prem-
                  visual line of sight of the operator and                         ises;
                  operated within the visual line of sight                   g.    bodily injury or property damage arising out
                  of the operator; and                                             of:
              (c) weighing not more than 55 pounds at                              (1) the entrustment by any insured to any per-
                  the time of operation;                                                son;
              unless the ownership, maintenance, use, load-                        (2) the supervision by any insured of any per-
              ing, or unloading of such aircraft results in:                            son;
              (a) property damage to any aircraft; or                              (3) any liability statutorily imposed on any in-
                                                                                        sured; or
              (b) bodily injury or property damage re-
                                                                                   (4) any liability assumed through an unwritten
                  sulting from interference with an air-                                or written agreement by any insured;
                  craft carrying people regardless of
                  whether the bodily injury or property                            with regard to the ownership, maintenance, or
                                                                                   use of any aircraft, watercraft, or motor vehicle
                  damage is sustained by people or
                                                                                   not covered under Section II of this policy;
                  property on the aircraft or not;
                                                                             h.    bodily injury or property damage caused di-
          (2) a motor vehicle owned or operated by or                              rectly or indirectly by war, including undeclared
              rented or loaned to any insured; or                                  war, or any warlike act including destruction, sei-
          (3) a watercraft:                                                        zure, or use for a military purpose, or any con-
                                                                                   sequence of these. Discharge of a nuclear
              (a) owned by or rented to any insured if it                          weapon will be considered a warlike act even if
                  has inboard or inboard-outdrive motor                            accidental;
                  power of more than 50 horsepower;
                                                                             i.    bodily injury to any insured within the meaning of
              (b) owned by or rented to any insured if                             part 11.a., 11.b., or 11.c. of the definition of in-
                  it is a sailing vessel, with or without                          sured.
                  auxiliary power, 26 feet or more in                              This exclusion also applies to any claim made or
                  overall length;                                                  suit brought against any insured within the
                                                                    26                                                          H6-2125
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          meaning of part 11.a., 11.b., or 11.c. of the defi-                       This exclusion does not apply to the legitimate
          nition of insured to share damages with or re-                            use of legally prescribed drugs, under either fed-
          pay someone else who may be obligated to pay                              eral or state law, by a person following orders of
          damages because of the bodily injury sus-                                 a licensed health care professional;
          tained by any insured within the meaning of part                    m. bodily injury or property damage arising out
          11.a., 11.b., or 11.c. of the definition of insured;                   of the actual, alleged, or threatened presence,
                                                                                 discharge, dispersal, seepage, migration, re-
     j.   any claim made or suit brought against any
          insured by:                                                            lease, escape of, or exposure to contaminants
                                                                                 or pollutants at or from any source or location.
          (1) any person in the care of any insured be-
              cause of child care services provided by or                           Contaminants and pollutants include but are not
              at the direction of:                                                  limited to any solid, liquid, gaseous, or thermal irri-
                                                                                    tant, including smoke from agricultural smudging or
               (a) any insured;                                                     industrial operations, smog, soot, vapor, fumes, ac-
               (b) any employee of any insured; or                                  ids, alkalis, chemicals, pathogens, noxious sub-
                                                                                    stances, fuel oil, asbestos, or lead.
               (c) any other person actually or appar-
                                                                                    This exclusion does not apply to bodily injury
                   ently acting on behalf of any insured;                           or property damage arising out of smoke or
                   or                                                               fumes caused by fire or explosion.
          (2) any person who makes a claim because of                               We also do not cover:
              bodily injury to any person in the care of
              any insured because of child care services                            (1) any loss, cost, or expense arising out of
              provided by or at the direction of:                                       any request, demand, order, or statutory or
                                                                                        regulatory requirement that any insured or
               (a) any insured;                                                         others test for, monitor, clean up, remove,
               (b) any employee of any insured; or                                      contain, treat, detoxify, neutralize, remedi-
                                                                                        ate, dispose of, or in any way respond to or
               (c) any other person actually or appar-                                  assess the effects of contaminants or pol-
                   ently acting on behalf of any insured.                               lutants;
          This exclusion does not apply to the occasional                           (2) any loss, cost, or expense arising out of
          child care services provided by any insured, or                               any claim or suit by or on behalf of a gov-
          to the part-time child care services provided by                              ernmental authority for damages because
          any insured under 19 years of age;                                            of testing for, monitoring, cleaning up, re-
     k.   bodily injury or property damage arising out                                  moving, containing, treating, detoxifying,
                                                                                        neutralizing, remediating, disposing of, or
          of an insured’s participation in, or preparation
                                                                                        in any way responding to or assessing the
          or practice for, any prearranged or organized                                 effects of contaminants or pollutants; or
          race, speed or demolition contest, or similar
          competition involving a motorized land vehicle                            (3) contamination or pollution arising out of ac-
                                                                                        tually or allegedly defective building mate-
          or motorized watercraft. This exclusion does not
                                                                                        rials, nuclear substances, or waste. Waste
          apply to a sailing vessel less than 26 feet in                                includes materials to be recycled, recondi-
          overall length with or without auxiliary power;                               tioned, or reclaimed;
     l.   bodily injury or property damage arising out                        n.    bodily injury or property damage arising out
          of the use, sale, manufacture, distribution, deliv-                       of any actual, alleged, or threatened:
          ery, transfer, or possession, by any insured, of
          any substance that is illegal or is a controlled                          (1) sexual harassment, sexual molestation, or
          substance under either federal or state law.                                  sexual misconduct;


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            (2) physical or mental abuse; or                                           (2) imposed on or assumed by any insured
            (3) corporal punishment;                                                       through any unwritten or written contract or
                                                                                           agreement. This exclusion does not apply
            by the insured;                                                                to liability for damages that the insured
       o.   bodily injury or property damage arising out                                   would have in absence of the contract or
            of the actual, alleged, or threatened inhalation                               agreement;
            of, ingestion of, contact with, exposure to, exist-
            ence of, or presence of any fungus at or from                        b.    property damage to property owned by any in-
            any source or location.                                                    sured at the time of the occurrence;
            We also do not cover any loss, cost, or expense                      c.    property damage to property rented to, used or
            arising out of any:                                                        occupied by, or in the care, custody, or control
            (1) request, demand, order, or statutory or reg-                           of any insured at the time of the occurrence.
                ulatory requirement that any insured or oth-                           This exclusion does not apply to property dam-
                ers test for, monitor, clean up, remove,                               age caused by fire, smoke, explosion, or abrupt
                contain, treat, detoxify, neutralize, remedi-                          and accidental damage from water;
                ate, dispose of, or in any way respond to or
                                                                                 d.    bodily injury to a person eligible to receive
                assess the effects of fungus; or
                                                                                       any benefits required to be provided or volun-
            (2) claim or suit for damages because of testing                           tarily provided by an insured or the condo-
                for, monitoring, cleaning up, removing, con-                           minium under a workers’ compensation, non-
                taining, treating, detoxifying, neutralizing, re-
                                                                                       occupational disability, or occupational dis-
                mediating, disposing of, or in any way
                                                                                       ease law;
                responding to or assessing the effects of
                fungus;                                                          e.    bodily injury or property damage for which an
                                                                                       insured under this policy is also an insured un-
       p.   bodily injury or property damage arising out
                                                                                       der a nuclear energy liability policy or would be
            of the ownership, maintenance, or use of sys-
                                                                                       an insured but for its termination upon exhaus-
            tems and equipment used to generate electrical
                                                                                       tion of its limit of liability. A nuclear energy lia-
            power exceeding 125 percent of the actual elec-
                                                                                       bility policy is a policy issued by Nuclear Energy
            trical power usage by the residence premises
                                                                                       Liability Insurance Association, Mutual Atomic
            in the 12-month period prior to the date of the
                                                                                       Energy Liability Underwriters, Nuclear Insur-
            loss; or
                                                                                       ance Association of Canada, or any of their suc-
       q.   liability assumed by any insured under any con-                            cessors; or
            tract or agreement to pay special assessments
                                                                                 f.    bodily injury or property damage arising out
            levied against the condominium owners by the
            association in accordance with the governing                               of any real property any insured has sold or
            rules of the condominium. This exclusion                                   transferred. This includes but is not limited to
            does not apply with respect to loss under Cov-                             bodily injury or property damage arising out
            erage D.                                                                   of known, unknown, hidden, or alleged property
                                                                                       conditions, problems, or defects.
  2.   Coverage L does not apply to:
       a.   liability:                                                                 This exclusion also applies to any property
                                                                                       damage to the sold or transferred real property
            (1) for your share of any loss assessment                                  itself.
                charged against all members of any type of
                association of property owners; or                                     However, this exclusion does not apply to:

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            (1) bodily injury arising out of fire, smoke, ex-                    b.    to a person eligible to receive any benefits required
                plosion, electrocution, or carbon monoxide                             to be provided or voluntarily provided under
                poisoning; or
                                                                                       any workers’ compensation, non-occupational
            (2) property damage arising out of fire,                                   disability, or occupational disease law;
                smoke, or explosion.
                                                                                 c.    to a person other than a residence employee
  3.   Coverage M does not apply to bodily injury:                                     of an insured, regularly residing on any part of
       a.   to a residence employee if it occurs off the                               the insured location; or
            insured location and does not arise out of or
                                                                                 d.    from nuclear reaction, radiation, or radioactive
            in the course of the residence employee’s
            employment by an insured. This exclusion                                   contamination, all whether controlled or uncon-
            does not apply with respect to loss under Cov-                             trolled or however caused, or any consequence
            erage D;                                                                   of any of these.



                                              SECTION II – CONDITIONS
  1.   Limit of Liability. The Coverage L limit is shown in                            (3) names and addresses of any claimants and
       the Declarations. This is the limit for all damages                                  available witnesses;
       from each occurrence for the policy period in which                       b.    immediately forward to us every notice, de-
       the bodily injury or property damage first occurs,                              mand, summons, or other process relating to the
       regardless of the number of insureds, claims made,                              accident or occurrence;
       or persons injured. No additional limits or coverage
       will be available for the occurrence under any addi-                      c.    at our request, assist in:
       tional policy periods while this policy remains in force.                       (1) making settlement;
       The Coverage M limit is shown in the Declarations.                              (2) the enforcement of any right of contribution or
       This is our limit for all medical expenses for bodily                               indemnity against a person or organization
       injury to one person as the result of one accident.
                                                                                           who may be liable to an insured;
  2.   Severability of Insurance. This insurance applies
       separately to each insured. This condition does not                             (3) the conduct of suits and attend hearings
       increase our limit of liability for any one occurrence.                             and trials; and
                                                                                       (4) securing and giving evidence and obtaining
  3.   Duties After Loss. In case of an accident or occur-
                                                                                           the attendance of witnesses;
       rence, the insured must cooperate with us in the in-
       vestigation, settlement, or defense of any claim or                       d.    under SECTION II – ADDITIONAL COVER-
       suit and also perform the following duties that apply.                          AGES, Damage to Property of Others, exhibit
       You must cooperate with us in seeing that these du-                             the damaged property if within the insured’s
                                                                                       control; and
       ties are performed:
                                                                                 e.    the insured must not, except at the insured’s
       a.   give written notice to us or our agent as soon as
                                                                                       own cost, voluntarily make payments, assume
            possible, which sets forth:                                                obligations, or incur expenses. This does not
            (1) the identity of this policy and the insured;                           apply to expense for first aid to others at the time
            (2) reasonably available information on the                                of the bodily injury.
                time, place, and circumstances of the acci-               4.     Coverage M Requirements. We may require the fol-
                dent or occurrence; and                                          lowing in regard to any Coverage M claim:

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       a.   written proof of claim, under oath if required, as                 No one will have the right to join us as a party to an
            soon as possible from the injured person, or                       action against an insured. Further, no action with re-
            when appropriate, someone acting on behalf of                      spect to Coverage L will be brought against us until
            that person;                                                       the obligation of the insured has been determined by
                                                                               final judgment on the merits, after an actual trial or by
       b.   the injured person’s submission to physical ex-
                                                                               an agreement signed by us; but we will not be liable
            aminations by a physician selected by us when
                                                                               for damages that are not payable under the terms of
            and as often as we reasonably require; and
                                                                               this policy or that are in excess of the applicable Limit
       c.   any authorizations from the injured person as                      of Liability.
            we may require.
                                                                        7.     Bankruptcy of an Insured. Bankruptcy or insolvency
  5.   Payment of Claim – Coverage M or Damage to                              of an insured will not relieve us of our obligation un-
       Property of Others. Payment under either of these                       der this policy.
       is not an admission of liability by an insured or us.            8.     Other Insurance – Coverage L. This insurance is
                                                                               excess over any other valid and collectible insur-
  6.   Suit Against Us. No action will be brought against                      ance except insurance written specifically to cover
       us unless there has been compliance with the policy                     as excess over the limits of liability that apply in this
       provisions.                                                             policy.

                               SECTION I AND SECTION II – CONDITIONS
  1.   Policy Period. This policy applies only to loss under                   b.    We may cancel this policy only for the reasons
       Section I or bodily injury or property damage under                           stated in this condition. We will notify you in writ-
       Section II that occurs during the period this policy is                       ing of the date cancellation takes effect, stating
       in effect.                                                                    the reason for cancellation. This cancellation no-
                                                                                     tice may be delivered to you, or mailed to you
  2.   Concealment or Fraud. This policy is void as to you
       and any other insured if you or any other insured                             at your last mailing address shown in the Dec-
       under this policy has intentionally concealed or mis-                         larations. Proof of mailing will be sufficient proof
                                                                                     of notice:
       represented any material fact or circumstance relat-
       ing to this insurance, whether before or after a loss.                        (1) When you have not paid the premium, we
                                                                                         may cancel at any time by notifying you at
  3.   Liberalization Clause. If we adopt any revision that
                                                                                         least 10 days before the date cancellation
       would broaden coverage under this policy without ad-                              takes effect. This condition applies whether
       ditional premium, within 60 days prior to or during the                           the premium is payable to us or our agent
       period this policy is in effect, the broadened coverage                           or under any finance or credit plan.
       will immediately apply to this policy.
                                                                                     (2) When this policy has been in effect for less
  4.   Waiver or Change of Policy Provisions. A waiver                                   than 60 days and is not a renewal with us,
       or change of any provision of this policy must be in                              we may cancel for any reason by notifying
       writing by us to be valid. Our request for an appraisal                           you at least 30 days before the date can-
       or examination does not waive any of our rights.
                                                                                         cellation takes effect.
  5.   Cancellation.
                                                                                     (3) When this policy has been in effect for 60
       a.   You may cancel this policy at any time by giving                             days or more, or at any time if it is a renewal
            us advance written notice of the date cancella-                              with us, we may cancel:
            tion is to take effect. We may waive the require-
            ment that the notice be in writing by confirming                                (a) for fraud or material misrepresentation
            the date and time of cancellation to you in writ-                                   affecting the policy or in the presenta-
            ing.                                                                                tion of a claim thereunder, or violation
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                       of any of the terms or conditions of the                                before a loss, an insured may waive in
                       policy;                                                                 writing all rights of recovery against any
                  (b) if the named insured or any occupant                                     person.
                      of the property has been convicted of                             (2) Applicable to SECTION II:
                      a crime arising out of acts increasing                                   If any insured has rights to recover all or
                      the hazard insured against; or                                           part of any payment we have made under
                  (c) if physical changes in the property in-                                  this policy, those rights are transferred to
                      sured increase the hazards originally                                    us. An insured must do nothing after loss
                      insured.                                                                 to impair them. At our request, an insured
                  We may cancel this policy by notifying you                                   will bring suit or transfer those rights to us
                  at least 30 days before the date cancella-                                   and help us enforce them.
                  tion takes effect.                                                    Subrogation does not apply under Section II to
       c.   When this policy is cancelled, the premium for                              Medical Payments to Others or Damage to
            the period from the date of cancellation to the                             Property of Others.
            expiration date will be refunded. The return pre-                     b.    Reimbursement.
            mium will be pro rata.
                                                                                        If we make payment under this policy and any
       d.   The return premium may not be refunded with                                 insured to or for whom we make payment re-
            the notice of cancellation or when this policy is                           covers or has recovered from another person or
            returned to us. In such cases, we will refund it                            organization, then the insured to or for whom
            within a reasonable time after the date cancella-                           we make payment must:
            tion takes effect.
                                                                                        (1) hold in trust for us the proceeds of any re-
  6.   Nonrenewal. We may elect not to renew this policy.                                   covery; and
       If we elect not to renew, a written notice will be deliv-
       ered to you, or mailed to you at your last mailing ad-                           (2) reimburse us to the extent of our payment.
       dress shown in the Declarations. The notice will                    9.     Death. If you die:
       state the reason for the refusal to renew and will be                      a.    we insure the legal representative of the de-
       mailed or delivered at least 30 days before the expi-                            ceased. This condition applies only with respect
       ration date of this policy. Proof of mailing will be suffi-                      to the premises and property of the deceased
       cient proof of notice.                                                           covered under this policy at the time of death;
  7.   Assignment of Policy. Assignment of this policy will                       b.    insured includes:
       be void and we will not recognize any such assign-                               (1) any member of your household who is an
       ment, unless we give our written consent.                                            insured at the time of your death, but only
  8.   Subrogation and Reimbursement.                                                       while a resident of the residence prem-
                                                                                            ises; and
       a.   Subrogation.
                                                                                        (2) with respect to your property, the person
            (1) Applicable to SECTION I:
                                                                                            having proper temporary custody of the
                  If any insured to or for whom we make                                     property until appointment and qualification
                  payment under this policy has rights to re-                               of a legal representative.
                  cover damages from another, those rights
                  are transferred to us to the extent of our               10. Conformity to State Law. When a policy provision
                  payment. That insured must do everything                     is in conflict with the applicable law of the state in
                  necessary to secure our rights and must do                   which this policy is issued, the law of the state will
                  nothing after loss to impair them. However                   apply.

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  11. Premium.                                                                             or quality of any product or service offered
     a.   Unless as otherwise provided by an alternative                                   or provided by that organization.
          payment plan in effect with the State Farm                   12. Right to Inspect.
          Companies with respect to the premium for this
          policy, the premium is due and payable in full on                   a.    We have the right but are not obligated to per-
          or before the first day of the policy period shown                        form the following:
          in the most recently issued Declarations.
                                                                                    (1) make inspections and surveys of the in-
     b.   The renewal premium for this policy will be                                   sured location at any time;
          based upon the rates in effect, the coverages
          carried, the applicable limits, deductibles, and                          (2) provide you with reports on conditions we
          other elements that affect the premium applica-                               find; or
          ble at the time of renewal.
                                                                                    (3) recommend changes.
     c.   The premium for this policy may vary based
          upon:                                                                     Any inspections, surveys, reports, or recom-
                                                                                    mendations relate only to insurability and the
          (1) the purchase of other products or services                            premiums to be charged.
              from the State Farm Companies;
                                                                              b.    We do not:
          (2) the purchase of products or services from an
              organization that has entered into an agree-                          (1) make safety inspections;
              ment or contract with the State Farm Com-                             (2) undertake to perform the duty of any per-
              panies. The State Farm Companies do not                                   son or organization to provide for the health
              warrant the merchantability, fitness, or quality                          or safety of workers or the public;
              of any product or service offered or provided
              by that organization; or                                          (3) warrant that conditions are safe or health-
                                                                                      ful; or
          (3) an agreement, concerning the insurance                            (4) warrant that conditions comply with laws,
              provided by this policy, that the State Farm                            regulations, codes, or standards.
              Companies has with an organization of
              which you are a member, employee, sub-                       This condition applies to us and to any rating, advi-
              scriber, licensee, or franchisee.                            sory, rate service, or similar organization that makes
                                                                           insurance inspections, surveys, reports, or recom-
     d.   Your purchase of this policy may allow:                          mendations on our behalf.
          (1) you to purchase or obtain certain coverages,             13. Joint and Individual Interests. When there are two
              coverage options, coverage deductibles,                      or more Named Insureds, each acts for all to cancel
              coverage limits, or coverage terms on other                  or change this policy.
              products from the State Farm Compa-
              nies, subject to their applicable eligibility            14. Change of Policy Address. We may change the
              rules; or                                                    Named Insured’s policy address as shown in the
                                                                           Declarations and in our records to the most recent
          (2) the premium or price for other products or                   address provided to us by:
              services purchased by you, including non-
                                                                              a.    you; or
              insurance products or services, to vary.
              Such other products or services must be                         b.    the United States Postal Service.
              provided by the State Farm Companies or                  15. Electronic Delivery. With your consent, we may
              by an organization that has entered into an                  electronically deliver any document or notice, includ-
              agreement or contract with the State Farm                    ing a notice to renew, nonrenew, or cancel, instead of
              Companies. The State Farm Companies                          mailing it or delivering it by other means. Proof of
              do not warrant the merchantability, fitness,                 transmission will be sufficient proof of notice.
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  16. Our Rights Regarding Claim Information.                                         (1) to enable performance of our business
       a.   We will collect, receive, obtain, use, and retain                             functions;
            all the items described in item b.(1) below and                           (2) to meet our reporting obligations to insur-
            use and retain the information described in item                              ance regulators;
            b.(3)(b) below, in accordance with applicable
            federal and state laws and regulations and con-                           (3) to meet our reporting obligations to insur-
            sistent with the performance of our business                                  ance data consolidators;
            functions.
                                                                                      (4) to meet other obligations required by law;
       b.   Subject to 16.a. above, we will not be restricted                             and
            in or prohibited from:
            (1) collecting, receiving, or obtaining records,                          (5) as otherwise permitted by law.
                receipts, invoices, medical bills, medical                      d.    Our rights under 16.a., 16.b., and 16.c. above
                records, wage information, salary infor-                              will not be impaired by any:
                mation, employment information, data, and                             (1) authorization related to any claim submit-
                any other information;                                                    ted under this policy; or
            (2) using any of the items described in item                              (2) act or omission of an insured or a legal
                b.(1) above; or                                                           representative acting on an insured’s be-
                                                                                          half.
            (3) retaining:
                 (a) any of the items in item b.(1) above; or            17. Duties Regarding Claim Information. An insured
                                                                             or a legal representative acting on an insured’s be-
                 (b) any other information we have in our                    half must provide us with any requested authoriza-
                     possession as a result of our processing,               tions related to the claim. Our rights as set forth
                     handling, or otherwise resolving claims                 under Our Rights Regarding Claim Information of
                     submitted under this policy.                            this policy will not be impaired by any:
       c.   We may disclose any of the items in b.(1) above                     a.    authorization related to the claim; or
            and any of the information described in item                        b.    act or omission of an insured or a legal repre-
            b.(3)(b) above:                                                           sentative acting on an insured’s behalf.

                                       OPTIONAL POLICY PROVISIONS
  Each Optional Policy Provision applies only as shown in                This option applies only with respect to the location shown
  the Declarations and is subject to all the terms, provi-               in the Declarations.
  sions, exclusions, and conditions of this policy.                      Option BP – Business Property. The COVERAGE B –
  Option AI – Additional Insured. The definition of insured is           PERSONAL PROPERTY, Special Limits of Liability,
  extended to include the person or organization shown in                item b., for property used or intended for use in a busi-
  the Declarations as an Additional Insured or whose name                ness, including merchandise held as samples or for sale
  is on file with us. Coverage is with respect to:                       or for delivery after sale, is changed as follows:
  1.   SECTION I – Coverage A, Coverage B, or Cover-                            The $1,500 limit is replaced with the amount shown
       age C; or                                                                in the Declarations for this option.
  2.   SECTION II – Coverage L and Coverage M but only                   Option BU – Business Pursuits. SECTION II – EXCLU-
       with respect to the residence premises. This cover-               SIONS, item 1.b. is modified as follows:
       age does not apply to bodily injury to an employee
       arising out of or in the course of the employee’s em-             1.     Section II coverage applies to the business pursuits
       ployment by the person or organization.                                  of an insured who is a:

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       a.   clerical office employee, salesperson, collector,                               by the insured for the purpose of instruc-
            messenger; or                                                                   tion in the use thereof; or
       b.   teacher (except college, university, and profes-                         (2) under Coverage M for bodily injury to a
            sional athletic coaches), school principal, or                               student arising out of corporal punishment
            school administrator;                                                        administered by or at the direction of the in-
                                                                                         sured.
       while acting within the scope of the above listed oc-
       cupations.                                                       Option FA – Firearms. Firearms are covered for acci-
                                                                        dental direct physical loss or damage.
  2.   However, no coverage is provided:
                                                                        The limits for this option are shown in the Declarations.
       a.   for bodily injury or property damage arising                The first amount is the limit for any one article; the sec-
            out of a business owned or financially con-                 ond amount is the aggregate limit for each loss.
            trolled by the insured or by a partnership of
            which the insured is a partner or member;                   The following additional provisions apply:
       b.   for bodily injury or property damage arising                1.     We will not pay for any loss to the property described in
            out of the rendering of or failure to render pro-                  this option either consisting of, or directly and imme-
            fessional services of any nature (other than                       diately caused by, one or more of the following:
            teaching or school administration). This exclu-
            sion includes but is not limited to:                               a.    mechanical breakdown, wear and tear, or
                                                                                     gradual deterioration;
            (1) computer programming, architectural, en-
                gineering, or industrial design services;                      b.    all animals, birds, or insects, including nesting,
                                                                                     infestation, gnawing, feeding, breeding, or dis-
            (2) medical, surgical, dental, or other services                         charge or release of waste products or secre-
                or treatment conducive to the health of per-                         tions by animals, birds, or insects. However, we
                sons or animals; and                                                 will pay for losses caused by wild bears or deer;
            (3) beauty or barber services or treatment;                        c.    any process of refinishing, renovating, or repair-
       c.   for bodily injury to a fellow employee of the in-                        ing;
            sured injured in the course of employment; or                      d.    dampness of atmosphere or extremes of tem-
       d.   when the insured is a member of the faculty or                           peratures;
            teaching staff of a school or college:                             e.    inherent defect or faulty manufacture;
            (1) for bodily injury or property damage aris-                     f.    rust, fouling, or explosion of firearms;
                ing out of the maintenance, use, loading, or
                unloading of:                                                  g.    breakage, marring, scratching, tearing, or dent-
                                                                                     ing unless caused by fire, thieves, or accidents
                 (a) draft or saddle animals, including ve-                          to conveyances; or
                     hicles for use with them; or
                                                                               h.    infidelity of an insured’s employees or persons
                 (b) aircraft, motor vehicles, recreational                          to whom the insured property may be entrusted
                     motor vehicles or watercraft, air-                              or rented;
                     boats, air cushions, or personal water-
                     craft which use a water jet pump                   2.     Our limit for loss by any Coverage B peril except theft
                     powered by an internal combustion                         is the limit shown in the Declarations for Coverage
                     engine as the primary source of pro-                      B, plus the aggregate limit;
                     pulsion;                                           3.     Our limits for loss by theft are those shown in the
                 owned, operated, or hired by or for the in-                   Declarations for this option. These limits apply in
                 sured or employer of the insured or used                      lieu of the Coverage B theft limit; and


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  4.   Our limits for loss by any covered peril except those                   c.    liability arising out of any acts, errors, or omis-
       in items 2. and 3. above are those shown in the Dec-                          sions of an insured, or any other person for
       larations for this option.                                                    whose acts an insured is liable, resulting from
                                                                                     the preparation or approval of data, plans, de-
  Option IO – Incidental Business. The coverage provided                             signs, opinions, reports, programs, specifications,
  by this option applies only to that incidental business oc-                        supervisory inspections, or engineering services in
  cupancy on file with us.                                                           the conduct of an insured’s incidental business
                                                                                     involving data processing, computer consulting,
  1.   COVERAGE B – PERSONAL PROPERTY is ex-
       tended to include equipment, supplies, and furnish-                           or computer programming; or
       ings usual and incidental to this business                              d.    any claim made or suit brought against any in-
       occupancy. This Optional Policy Provision does not                            sured by:
       include electronic data processing system equipment                           (1) any person in the care of any insured be-
       or the recording or storage media used with that                                     cause of child care services provided by or
       equipment or merchandise held as samples or for                                      at the direction of:
       sale or for delivery after sale.
                                                                                            (a) any insured;
       The Option IO limits are shown in the Declarations.
       The first limit applies to property on the residence                                 (b) any employee of any insured; or
       premises. The second limit applies to property while                                 (c) any other person actually or appar-
       off the residence premises. These limits are in ad-                                      ently acting on behalf of any insured;
       dition to the COVERAGE B – PERSONAL PROP-                                                or
       ERTY, Special Limits of Liability on property used or
                                                                                     (2) any person who makes a claim because of
       intended for use in a business.
                                                                                         bodily injury to any person in the care of
  2.   Under Section II, the residence premises is not con-                              any insured because of child care services
       sidered business property because an insured oc-                                  provided by or at the direction of:
       cupies a part of it as an incidental business.
                                                                                        (a) any insured;
  3.   SECTION II – EXCLUSIONS, item 1.b. is replaced
       with the following:                                                              (b) any employee of any insured; or
                                                                                        (c) any other person actually or appar-
            b.   bodily injury or property damage arising                                    ently acting on behalf of any insured.
                 out of business pursuits of any insured,
                 except as provided in item c. below. This                         Coverage M does not apply to any person indi-
                 exclusion does not apply to activities that                       cated in d.(1) and d.(2) above.
                 are ordinarily incident to non-business                           This exclusion does not apply to the occasional
                 pursuits or to business pursuits of an in-                        child care services provided by any insured, or
                 sured that are necessary or incidental to                         to the part-time child care services provided by
                 the use of the residence premises as an                           any insured under 19 years of age.
                 incidental business;                                   Option JF – Jewelry and Furs. Jewelry, watches, fur
  4.   This insurance does not apply to:                                garments and garments trimmed with fur, precious and
       a. bodily injury to an employee of an insured                    semi-precious stones, gold other than goldware, silver
                                                                        other than silverware, and platinum are covered for acci-
            arising out of the residence premises as an in-
                                                                        dental direct physical loss or damage.
            cidental business other than to a residence
            employee while engaged in the employee’s em-                The limits for this option are shown in the Declarations.
                                                                        The first amount is the limit for any one article; the second
            ployment by an insured;
                                                                        amount is the aggregate limit for each loss. All provisions
       b.   bodily injury to a student arising out of corporal          and exclusions of SECTION I – LOSSES INSURED, COV-
            punishment administered by or at the direction              ERAGE B – PERSONAL PROPERTY, Theft apply to Op-
            of the insured;                                             tion JF.
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  The following additional provisions apply:                              2.     Our limit for loss by any Coverage B peril except theft
  1. We will not pay for any loss to the property described in                   is the limit shown in the Declarations for Coverage
       this option either consisting of, or directly and immedi-                 B, plus the aggregate limit;
       ately caused by, one or more of the following:                     3.     Our limits for loss by theft are those shown in the
       a. mechanical breakdown, wear and tear, or                                Declarations for this option. These limits apply in
             gradual deterioration;                                              lieu of the Coverage B theft limit; and
       b. all animals, birds or insects, including nesting,               4.     Our limits for loss by any covered peril except those
             infestation, gnawing, feeding, breeding, or dis-                    in items 2. and 3. above are those shown in the Dec-
                                                                                 larations for this option.
             charge or release of waste products or secre-
             tions by animals, birds, or insects. However, we             Option SG – Silverware and Goldware Theft. The COV-
             will pay for losses caused by wild bears or deer;            ERAGE B – PERSONAL PROPERTY, Special Limits of
       c. inherent vice; or                                               Liability, item i., for theft of silverware and goldware is in-
       d. seizure or destruction under quarantine or cus-                 creased to be the amount shown in the Declarations for
             toms regulations;                                            this option.




   MISSOURI PROPERTY AND CASUALTY INSURANCE GUARANTY ASSOCIATION
                        COVERAGE LIMITATIONS
  1.   Subject to the provisions of the Missouri Property                                the date the insurer becomes insolvent; pro-
       and Casualty Insurance Guaranty Association Act                                   vided that an insured’s net worth on such date
       (to be referred to as the Act), if we are a member of                             shall be deemed to include the aggregate net
       the Missouri Property and Casualty Insurance Guar-                                worth of the insured and all of its affiliates as
       anty Association (to be referred to as the Associa-                               calculated on a consolidated basis.
       tion), the Association will pay claims covered under
                                                                                  b.     Payments made by the Association for covered
       the Act if we become insolvent.
                                                                                         claims will include only that amount of each
  2.   The Act contains various exclusions, conditions and                               claim which is less than $300,000.
       limitations that govern a claimant’s eligibility to col-
       lect payment from the Association and affect the                                  However, the Association will not:
       amount of any payment. The following limitations                                  (1) Pay an amount in excess of the applicable
       apply subject to all other provisions of the Act:                                     limit of insurance of the policy from which
       a.   Claims covered by the Association do not in-                                     a claim arises; or
            clude a claim by or against an insured of an
            insolvent insurer, if the insured has a net worth                            (2) Return to an insured any unearned pre-
            of more than $25 million on the later of the end                                 mium in excess of $25,000.
            of the insured’s most recent fiscal year or the                 These limitations have no effect on the coverage we will
            December thirty-first of the year next preceding                provide under this policy.




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                                    Certified Policy Record

I, the undersigned, do hereby confirm that I am custodian of the records pertaining to the issuance of
policies by State Farm Fire and Casualty Company.

I certify that the attached documents represent a true and accurate record of the terms and conditions
of Policy Number 25-L9-6846-2 including any endorsements, if applicable, for the policy term(s)
03/09/2022 to 03/09/2023 and insuring DOUGHERTY, SEAN P based on available records.




                                                      _________________________________
                                                      Codie Harris
                                                      Underwriter
                                                      Date:___________________
                                                           02/03/2025




                                                                                                      Page 1 of 1

1011493                                                                                2000 157822 200 02-09-2022
                 State Farm Fire and Casualty Company
                 A Stock Company With Case:    4:25-cv-00729-JMB
                                      Home Offices in Bloomington, Illinois   Doc. #: 1-2 Filed: 05/19/25          Page: 57 of 162 PageID
                                                                                        #: 116
                 PO Box 853907
                 Richardson, TX 75085-3907



                                                                                    RENEWAL DECLARATIONS
                 AT2                  H-14-6239-FBC5 F H 6
                           000546 3200       3200
                 DOUGHERTY, SEAN P
                 2578 COPPERGATE SQ DR APT K
                 SAINT LOUIS MO 63129-6197

                                                                                    AMOUNT DUE:                                  enoN
                                                                                                                                                   ____
                                                                                    Payment is due by BILLED THROUGH SFPP                          ____
____                                                                                                                                               ____
                                                                                    Policy Number:     25-L9-6846-2
0107-0000




                                                                                    Policy Period: 12 Months
                                                                                    Effective Dates: MAR 09 2022 to MAR 09 2023
ST-




                                                                                    The policy period begins and ends at 12:01 am standard
                                                                                    time at the residence premises.

            Condominium Unitowners Policy                                           Your State Farm Agent
                                                                                    KEVIN J THOMAS
            Location of Residence Premises                                          3434 MCKELVEY RD
            2578 COPPERGATE SQ DR APT K                                             BRIDGETON MO        63044-2525
            SAINT LOUIS MO 63129-6197




                                                                                                                                                    3200 14
                                                                                    Phone: (314) 291-5353
            Construction:                Frame
            Year Built:                  2003
            Automatic Renewal




                                                                                                                                                    000546 H
            If the POLICY PERIOD is shown as 12 MONTHS, this policy will be renewed automatically subject to the premiums, rules,
            and forms in effect for each succeeding policy period. If this policy is terminated, we will give you and the Mortgagee/Lien-




                                                                                                                                                    20
            holder written notice in compliance with the policy provisions or as required by law.


            IMPORTANT MESSAGES
            State Farm Customer Call Center Telephone Number: 800-782-8332
            NOTICE: Information concerning changes in your policy language is included. Please call your agent with any questions.
            PREMIUM
            Annual Premium                                                                                                     00.635$
            Earthquake Premium                                                                                                 )dedulcnI(
            Your premium has already been adjusted by the following:
            Home Alert Discount                    Home/Auto Discount
            Claim Record Discount                  Loyal Customer

            Total Premium




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            003527 420                                                                                                 (o1F1080B) 04-04-2016
            N     GB,6I,GA,EH
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           NAMED INSURED                                             MORTGAGEE AND ADDITIONAL INTERESTS
           DOUGHERTY, SEAN P




           SECTION I - PROPERTY COVERAGES AND LIMITS
           Coverage                                                                                        Limit of Liability
           A Building Property                                                                             $        002,601
           B Personal Property                                                                             $        005,24
           C Loss of Use                                                                                   $        000,71
           D Loss Assessment                                                                               $        000,01
           Additional Coverages
           Arson Reward                                                           000,1$
           Credit Card, Bank Fund Transfer Card, Forgery, and Counterfeit Money   000,1$
           Debris Removal                                                         sirbed eert 000,1$/elbaliava %5 lanoitiddA
           Fire Department Service Charge                                         ecnerrucco rep 005$
           Fuel Oil Release                                                       000,01$
           Locks and Remote Devices                                               000,1$
           Trees, Shrubs, and Landscaping                                         meti rep 057$/tnuoma B egarevoC fo %5
           SECTION II - LIABILITY COVERAGES AND LIMITS
           Coverage                                                                                        Limit of Liability




                                                                                                                                 JAN 18 2022
           L Personal Liability (Each Occurrence)                                                          $        000,003
           Damage to the Property of Others                                                                $        000,1
           M Medical Payments to Others (Each Person)                                                      $        000,1
           INFLATION
           Inflation Coverage Index: 277.9
           DEDUCTIBLES
           Section I Deductible                                                                         Deductible Amount
o1F1081A




           Earthquake 20%
           Other Losses
           LOSS SETTLEMENT PROVISIONS
           Replacement Cost - Similar Construction - Coverage A
           B1 Limited Replacement Cost - Coverage B




           HO-2000
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                       25-L9-6846-2
                       FORMS, OPTIONS, AND ENDORSEMENTS
                       H6-2125                    Condominium Unitowners Policy
                       HO-2355                    Amendatory Endorsement
                       HO-2274.1                 *Amendatory Endorsement
                       HO-2415.1                 *Earthquake Endorsement
                       HO-2445.2                 *Back-Up Of Sewer Or Drain -
                                                  15% of Coverage B/$ 6,375
                                                 *New Form Attached
                       ADDITIONAL MESSAGES
                       State Farm® works hard to offer you the best combination of price, service, and protection. The amount you pay for
    0207-0000




                       homeowners insurance is determined by many factors such as the coverages you have, the type of construction, the
    ST-




                       likelihood of future claims, and information from consumers reports.


                                                 Other limits and exclusions may apply - refer to your policy
o1F1083A




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                N
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                                                                                                      JAN 18 2022
o1F1081A




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0407-0000
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0507-0000
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This policy is one of the broadest
forms available today, and provides
you with outstanding value for your in-
surance dollars. However, we want
to point out that every policy contains
limitations and exclusions.      Please
read your policy carefully, especially
“Losses Not Insured” and all exclusions.


                                                State Farm®
                                                Condominium
                                                Unitowners
                                                Policy




                                                Missouri
                                                H6-2125
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                                             CONDOMINIUM UNITOWNERS POLICY


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                                   CONDOMINIUM UNITOWNERS POLICY
                                                            AGREEMENT
  We agree to provide the insurance described in this policy:              3.     we insure you on the basis your statements are true;
                                                                                  and
  1.   based on your payment of premium, in a form ac-
       ceptable to us, for the coverages you chose;                        4.     this policy contains all of the agreements between
                                                                                  you and us and any of our agents.
  2.   based on your compliance with all applicable provi-
       sions of this policy; and                                           Unless otherwise indicated in the application, you state
                                                                           that during the five years preceding the time of your appli-
  3.   based on the information you have given us and                      cation for this insurance you have not had any losses, in-
       your statements in this agreement.                                  sured or not.
  You agree, by acceptance of this policy, that:                           When you request changes to this policy, or the infor-
                                                                           mation or factors used to calculate the premium for this
  1.   you will pay premiums when due and comply with the                  policy changes during the policy period, we may adjust the
       provisions of this policy;                                          premium in accordance with the change during the policy
  2.   the statements in this agreement are your state-                    period and you must pay any additional premium due
       ments and are true;                                                 within the time we specify.

                                                            DEFINITIONS
  We define the following words and phrases for use                               of the damaged part of the property.
  throughout this policy. These definitions apply to the sin-              2.     “association” means the management body of the
  gular, plural, and possessive forms of these words and
                                                                                  unitowners collectively.
  phrases. Defined words and phrases are printed in bold
  italics.                                                                 3.     “bodily injury” means physical injury, sickness, or
  1. “actual cash value” means the value of the dam-                              disease to a person. This includes required care,
        aged part of the property at the time of loss, calcu-                     loss of services, and death resulting therefrom.
        lated as the estimated cost to repair or replace such                     Bodily injury does not include:
        property, less a deduction to account for pre-loss de-
        preciation. For this calculation, all components of this                  a.    any of the following which are communicable:
        estimated cost including, but not limited to:                                   disease, bacteria, parasite, virus, or other or-
        a. materials, including any tax;                                                ganism, any of which are transmitted by any in-
                                                                                        sured to any other person;
        b. labor, including any tax; and
        c. overhead and profit;                                                   b.    the actual or alleged exposure to any such dis-
                                                                                        ease, bacteria, parasite, virus, or other organism
        are subject to depreciation.
                                                                                        by any insured to any other person; or
        The depreciation deduction may include such consid-
        erations as:                                                              c.    emotional distress, mental anguish, humiliation,
                                                                                        mental distress, mental injury, or any similar in-
       a.   age;
                                                                                        jury unless it arises out of actual physical injury
       b.   condition;                                                                  to some person.
       c.   reduction in useful life;                                      4.     “building structure” means a structure fully en-
       d.   obsolescence; and                                                     closed with permanent walls and a roof. A permanent
                                                                                  wall or roof does not include any kind of temporary
       e.   any pre-loss damage including wear, tear, or de-                      materials including but not limited to tarps, plastic
            terioration;                                                          sheeting, or other similar material. A structure that is

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       otherwise fully enclosed with permanent walls and a                           of age, including but not limited to, child care,
       roof, that is undergoing repairs due to a recent loss                         lawn mowing, or paper delivery;
       insured, using materials such as tarps, plastic sheet-
       ing, or other similar material, is still considered a                   d.    the ownership, maintenance, or use of systems
       building structure.                                                           and equipment used to generate electrical
                                                                                     power up to but not exceeding 125 percent of
       A building structure includes:
                                                                                     the actual electrical power usage by the resi-
       a.   the foundation supporting the structure, includ-                         dence premises in the 12-month period prior to
            ing:                                                                     the date of the loss; or
            (1) slabs;                                                         e.    ownership of the residence premises by the
            (2) basement walls;                                                      person or organization shown in the Declara-
                                                                                     tions as Additional Insured.
            (3) crawl space walls;
                                                                        6.     “condominium” means the condominium, home-
            (4) footings; and                                                  owners development, planned unit development,
            (5) gravel, stone, or sand, used as fill material                  townhouse development, cooperative development,
                and located not more than 12 inches di-                        or any similar unit development, governed by the as-
                rectly below a slab described in item a.(1),                   sociation of all unitowners of which you are a mem-
                including water supply lines, domestic wa-                     ber and in which the residence premises is located.
                ter pipes, and sewer pipes located within               7.     “Declarations” means the policy Declarations, any
                this fill material; and                                        amended Declarations, the most recent renewal
       b.   wall-to-wall carpeting attached to the structure.                  Declarations, an Evidence of Insurance form, or any
                                                                               endorsement changing any of these.
  5.   “business” means any full-time or part-time activity,
       trade, profession, employment, or occupation or a                8.     “diminution in value” means any reduction in the
       commercial, mercantile, or industrial undertaking                       value of any covered property prior to or following re-
       of an economic nature. It does not matter whether                       pair or replacement as compared to the value of that
       it is continuous or regular, is a secondary or sup-                     property immediately before the loss.
       plemental source of income, or is an insured's prin-             9.     “dwelling” means that part of the building structure
       cipal means of livelihood. Profit and profit motive are                 on the residence premises used as the primary pri-
       irrelevant.                                                             vate residence.
       Business does not include:                                       10. “fungus” means any type or form of fungus, includ-
       a.   volunteer activities for a not-for-profit or non-               ing mold, mildew, mycotoxins, spores, scents, or by-
            profit organization or public agency for which no               products produced or released by fungi.
            money is received other than payment of ex-                 11. “insured” means:
            penses;
                                                                               a.    you;
       b.   incidental and infrequent personal economic ac-
                                                                               b.    your relatives; and
            tivity such as a hobby, garage or yard sale, or
            traditional farm activities when the farm products                 c.    any other person under the age of 21 in the care
            are intended only for the personal use of the in-                        of a person described above.
            sured;                                                            Under Section II, insured also means:
       c.   any occasional or part-time self-employed ac-                      d.    the person or organization legally responsible
            tivity by a person under 19 years of age that in-                        for animals or watercraft to which this policy ap-
            volves no employees or subcontracted                                     plies. However, the animal or watercraft must
            independent contractors and is a type of activity                        be owned by you or a person included in 11.b
            normally performed by persons under 19 years                             or 11.c. above. A person or organization using

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           or having custody of these animals or watercraft                    INSURED, COVERAGE B – PERSONAL PROP-
           in the course of a business, or without permis-                     ERTY.
           sion of the owner, is not an insured; and                    14. “motor vehicle”, when used in Section II of this pol-
      e.   with respect to any vehicle to which this policy                 icy, means:
           applies, any person while engaged in your em-                       a.    a land motor vehicle designed for travel on
           ployment or the employment of a person in-                                public roads or subject to motor vehicle registra-
           cluded in 11.b or 11.c. above.
                                                                                     tion;
  12. “insured location” means:                                                b.    a trailer or semi-trailer designed for travel on
      a.   the residence premises;                                                   public roads and subject to motor vehicle regis-
      b.   the part of any other premises, other structures,                         tration;
           and grounds used by you as a residence. This                        c.    a “recreational or utility vehicle” while off an in-
           includes premises, structures, and grounds you                            sured location. “Recreational or utility vehicle”
           acquire while this policy is in effect for your use                       means a motorized vehicle designed for recre-
           as a residence;                                                           ation or utility purposes, used principally off
      c.   any premises used by you in connection with                               public roads, and that is owned or leased by an
                                                                                     insured. This includes, but is not limited to, a
           the premises included in 12.a. or 12.b. above;
                                                                                     motorized all-terrain vehicle, side-by-side vehi-
      d.   any part of a premises not owned by an in-                                cle, utility work vehicle, amphibious vehicle,
           sured but where an insured is temporarily re-                             dune buggy, go-cart, golf cart, snowmobile,
           siding;                                                                   trailbike, minibike, and personal assistive mobil-
      e.   land owned by or rented to an insured on which                            ity device. “Leased” does not include temporary
           a one or two family dwelling is being constructed                         rental;
           as a residence for an insured;                                      d.    a “locomotive” while off an insured location.
      f.   individual or family cemetery plots or burial                             “Locomotive” means a self-propelled vehicle for
           vaults owned by an insured;                                               pulling or pushing freight or passenger cars on
                                                                                     tracks that is large enough to carry a person and
      g.   any part of a premises occasionally rented to an                          is owned or leased by an insured. “Leased”
           insured for purposes other than business;                                 does not include temporary rental;
      h.   vacant land owned by or rented to an insured.                       e.    a bulldozer, track loader, backhoe, high-hoe,
           For the purposes of this definition, vacant land                          trencher, grader, crane, self-propelled scraper,
           does not include:                                                         excavator, pipe-layer, cherry picker, telehandler,
           (1) farm land;                                                            logging vehicle, mining vehicle, or road building
                                                                                     vehicle that is owned or leased by an insured
           (2) land containing a residence; or                                       while off an insured location. “Leased does
           (3) land containing fences, corrals, boat docks,                          not include temporary rental; and
               tool sheds, barns, grain bins, and similar                      f.    any vehicle while being towed or pushed by or
               structures, unless they are used solely for                           carried on a vehicle included in 14.a. through
               the personal use of the insured; or                                   14.e. above.
      i.   farm land (without buildings), rented or held for                  The following are not motor vehicles:
           rental to others, but not to exceed a total of 500                  a.    a boat, camper, home, or utility trailer not being
           acres, regardless of the number of locations.                             towed or pushed by or carried on a vehicle in-
                                                                                     cluded in 14.a. through 14.e. above;
  13. “loss insured” means a loss as described under
      SECTION I – LOSSES INSURED, COVERAGE A –                                 b.    a motorized land vehicle in storage on an in-
      BUILDING PROPERTY and SECTION I – LOSSES                                       sured location not intended to be operated for

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            an extended period of time and rendered inop-                       insured and the labor leasing firm, who performs du-
            erable by placing the vehicle on blocks or re-                      ties, including household or domestic services, in
            moving parts essential for its operation;                           connection with the maintenance or use of the resi-
       c.   a motorized golf cart while used for golfing pur-                   dence premises. This includes employees who per-
                                                                                form similar duties elsewhere for you. This does not
            poses;
                                                                                include employees while performing duties in con-
       d.   a motorized vehicle or trailer designed to assist                   nection with the business of an insured.
            persons with disabilities that is not designed for
            travel on public roads or subject to motor vehicle                  Any employee of the association in the course of
            registration; or                                                    employment by the association is not a residence
                                                                                employee. This limitation does not apply to SEC-
       e.   a commercially manufactured two, three, or four                     TION I – PROPERTY COVERAGES, COVERAGE D –
            wheeled personal conveyance powered only by                         LOSS ASSESSMENT.
            or assisted by an unmodified motor or engine
            with a manufacturer’s power rating of no more                19. “residence premises” means the described prem-
            than 1 horsepower and capable of a top speed                     ises shown in the Declarations, other structures, and
                                                                             grounds reserved for your exclusive use and occu-
            of no more than 20 miles per hour.
                                                                             pancy.
  15. “occurrence”, when used in Section II of this policy,
                                                                         20. “State Farm Companies” means one or more of the
      means an accident, including accidental exposure to
      conditions, which first results in:                                    following:
                                                                                a.    State Farm Mutual Automobile Insurance Com-
       a.   bodily injury; or
                                                                                      pany;
       b.   property damage;
                                                                                b.    State Farm Fire and Casualty Company; and
       during the policy period. All bodily injury and prop-                    c.    subsidiaries or affiliates of either 20.a. or 20.b.
       erty damage resulting from one accident, series of                             above.
       related accidents, or from continuous and repeated
       exposure to the same general conditions is consid-                21. “vacant dwelling” means:
       ered to be one occurrence.                                            a. a dwelling:
  16. “property damage” means physical damage to or                              (1) that has not been occupied as a residence
      destruction of tangible property, including loss of use                          for more than 60 consecutive days immedi-
      of this property. Theft or conversion of property by                             ately before the loss; and
      any insured is not property damage.                                        (2) where a predominant amount of personal
  17. “relative” means any person related to you by:                                   property has been removed or is absent
                                                                                       such that the dwelling is not functional as a
       a.   blood;                                                                     habitual place of residence.
       b.   adoption;                                                            A dwelling will be considered occupied only if it
       c.   marriage; or                                                         is being used as a habitual place of residence
                                                                                 with your knowledge and approval.
       d.   civil union, domestic partnership, or other sub-
            stantially similar legal relationship that is recog-             b. A dwelling that is under active construction will
            nized and valid in the state where, and at the                       not be considered a vacant dwelling. A dwell-
            time when, the legal relationship was estab-                         ing is under active construction when it is:
            lished;                                                              (1) being built as a new structure;
       and who resides primarily with you.                                            (2) being repaired due to damage otherwise
                                                                                          covered by this policy; or
  18. “residence employee” means an employee of an
      insured, or an employee leased to an insured by a                               (3) undergoing substantial improvements, ren-
      labor leasing firm under an agreement between an                                    ovations, remodeling, or modifications;
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            and the construction results in substantial con-                   a.    a spouse of a “Named Insured”;
            tinuing activities by persons associated with the
            construction project at the premises during the                    b.    a party to a civil union with a “Named Insured”;
            relevant time periods.                                             c.    a domestic partner of a “Named Insured”; or
  22. “we”, “us”, and “our” mean the Company shown in                          d.    a person in a substantially similar legal relation-
      the Declarations.                                                              ship with a “Named Insured”;
  23. “you” and “your” mean the person or persons                              if such relationship is recognized and valid in the state
      shown as “Named Insured” in the Declarations. If a                       where, and at the time when, the legal relationship was
      “Named Insured” shown in the Declarations is a hu-                       established, so long as the person in the above relation-
      man being, then you and your include:                                    ship resides primarily with that “Named Insured”.

                                                         DEDUCTIBLE
  In case of loss under this policy, we will pay, subject to            Declarations. Deductibles will be applied per occurrence.
  specified policy limits, only that part of the amount of the          Deductibles apply to specific losses as described in this
  loss that exceeds the deductible amount shown in the                  policy.

                                   SECTION I – PROPERTY COVERAGES
  COVERAGE A – BUILDING PROPERTY                                               b.    trees, shrubs, live or artificial plants, lawns, or
                                                                                     artificial grass, except as provided in SECTION
  1.   Building Property. We cover:
                                                                                     I – ADDITIONAL COVERAGES, Trees,
       a.   alterations, appliances, fixtures, and improve-                          Shrubs, and Landscaping; or
            ments that are part of the building contained                      c.    systems and equipment used to generate elec-
            within your unit;                                                        trical power exceeding 125 percent of the actual
       b.   items of real property that pertain exclusively to                       electrical power usage by the residence prem-
            your unit; or                                                            ises in the 12-month period prior to the date of
                                                                                     the loss.
       c.   property that is your insurance responsibility un-
                                                                        COVERAGE B – PERSONAL PROPERTY
            der the governing rules of the condominium.
                                                                        1.     Property Covered.
       This coverage also includes your share of any asso-
                                                                               a. We cover personal property owned or used by
       ciation deductible but only when the deductible is not                      an insured while it is anywhere in the world.
       assessed against all unitowners.                                            This includes structures not permanently at-
  2.   Property Not Covered. We do not cover:                                      tached to or otherwise forming a part of the re-
                                                                                   alty. At your request, we will cover personal
       a.   land, including the land necessary to support                          property:
            any Coverage A property. We also do not                                  (1) owned by others while the property is on
            cover:                                                                       the part of the residence premises occu-
                                                                                         pied exclusively by an insured;
            (1) any costs required to replace, rebuild, sta-
                bilize, or otherwise restore the land; or                            (2) owned by a guest or a residence em-
                                                                                         ployee, while the property is in any other
            (2) the costs of repair techniques designed to                               residence occupied by an insured; and
                compensate for or prevent land instability                           (3) owned by roomers, boarders, tenants, and
                to any property, whether or not insured un-                              other residents, any of whom are related to
                der Coverage A;                                                          you.

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     b.   We cover personal property usually located at                               cards, rechargeable debit cards, phone cards and
          an insured’s residence, other than the resi-                                other negotiable instruments, accounts, deeds, ev-
          dence premises, for up to $1,000 or 10% of the                              idences of debt, letters of credit, notes other than
          Coverage B limit, whichever is greater. This lim-                           bank notes, manuscripts, passports, and tickets;
          itation does not apply to personal property:
                                                                                e.    $1,500 on watercraft of all types and outboard
          (1) in a newly acquired principal residence for                             motors, including their trailers, furnishings, and
              the first 30 days after you start moving the                            equipment;
              property there. If the residence premises is
              a newly acquired principal residence, per-                        f.    $1,500 on trailers not used with watercraft;
              sonal property in your immediate past prin-                       g.    $2,500 on stamps, trading cards, and comic
              cipal residence is not subject to this
              limitation for the first 30 days after the in-                          books, including any of these that are a part of a
              ception of this policy; and                                             collection;
          (2) of a student who is an insured while lo-                          h.    $2,500 for loss by theft of firearms;
              cated at a residence away from the resi-
              dence premises.                                                   i.    $2,500 for loss by theft of silverware and
                                                                                      goldware;
     Special Limits of Liability. These limits do not in-
     crease the Coverage B limit. The special limit for                         j.    $5,000 on any one article and $10,000 in the ag-
     each of the following categories is the total limit for                          gregate for loss by theft of any rug, carpet (ex-
     each loss for all property in that category:                                     cept wall-to-wall carpet), tapestry, wall-hanging,
     a.   $200 on money, coins, and medals, including                                 or other similar article;
          any of these that are a part of a collection, bank
                                                                                k.    $1,000 on commercially manufactured two,
          notes, bullion, gold other than goldware, silver
                                                                                      three, or four wheeled personal conveyances
          other than silverware, and platinum;
                                                                                      powered only by or assisted by an unmodified
     b.   $1,500 on property used or intended for use in a                            motor or engine with a manufacturer’s power
          business, including merchandise held as sam-                                rating of no more than 1 horsepower and capa-
          ples or for sale or for delivery after sale, while on
                                                                                      ble of a top speed of no more than 20 miles per
          the residence premises. This coverage is lim-
                                                                                      hour. This does not include such conveyances
          ited to $750 on such property away from the res-
          idence premises.                                                            that are:

          Electronic data processing system equipment or                              (1) designed for assisting persons with disabil-
          the recording or storage media used with that                                   ities;
          equipment is not included under this coverage,
          and is addressed in item c. below;                                          (2) not designed for travel on public roads; and

     c.   $10,000 on electronic data processing system                                (3) not subject to motor vehicle registration; and
          equipment used or intended for use in a business,                     l.    $1,000 for loss by theft of jewelry, watches, fur
          including but not limited to computers, tablets, mo-                        garments and garments trimmed with fur, and
          bile personal communication equipment, global po-                           precious and semi-precious stones.
          sitioning systems, mobile personal electronic
          devices used for the reproduction of sound, and                2.     Property Not Covered. We do not cover:
          standard media or non-media equipment for use                         a.    articles separately described and specifically in-
          with the above devices;
                                                                                      sured in this or any other insurance;
     d.   $1,500 on securities, checks, cashiers checks,
          travelers checks, money orders, gift certificates, gift               b.    animals, birds, or fish;

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     c.   any engine-propelled or motor-propelled vehicle                                  nights in the 12-month period prior to the
          or machine, including parts, designed for move-                                  date of the loss;
          ment on land, except as provided in Special Lim-                    h.    property rented or held for rental to others away
          its of Liability, item k. However, we do cover                            from the residence premises;
          those vehicles or machines:
                                                                              i.    any radio devices or transmitters, global positioning
          (1) that are:                                                             systems, radar or laser detectors, antennas, and all
               (a) not designed for travel on public                                other similar equipment that is permanently installed
                   roads; and                                                       in or permanently fastened to an engine-propelled
                                                                                    or motor-propelled vehicle or that is hard-wired di-
               (b) not subject to motor vehicle registra-
                   tion;                                                            rectly to the vehicle’s electrical system;
                                                                              j.    books or records of accounts receivable, abstracts
          (2) and that are:
                                                                                    or other journals, architectural or technical draw-
               (a) used primarily to service the insured                            ings, card index systems, or other records. This
                   location; or                                                     does not apply to any recording or storage media
               (b) designed for assisting persons with                              for electronic data processing. We will cover the
                                                                                    cost of blank books, cards, or other blank material
                   disabilities;
                                                                                    plus the cost of labor you incur for transcribing or
     d.   any electronic equipment, devices, or accessories                         copying such records;
          designed for the recording, reproduction, or stor-                  k.    recording or storage media for electronic data
          age of audio, video, photos, or other data that is
                                                                                    processing that cannot be replaced with prop-
          permanently installed in or permanently fastened to                       erty of like kind and quality on the current retail
          an engine-propelled or motor-propelled vehicle or                         market;
          hard-wired directly to the vehicle’s electrical sys-
          tem. We also do not cover removable products                        l.    purchased or created audio, video, photos, or
          that may be used with the equipment or devices                            other data that cannot be replaced with like kind
          described above, including but not limited to tapes,                      and quality on the current retail market and
          discs, videos, or memory cards while in an engine-                        that is transferred or downloaded onto mobile
          propelled or motor-propelled vehicle;                                     communication equipment, global positioning
                                                                                    systems, or electronic devices designed for the
     e.   aircraft and parts. This does not apply to un-                            recording, reproduction, or storage of audio,
          manned aircraft systems used as model aircraft                            video, photos, or other data;
          and operated solely for recreational or hobby
          purposes;                                                           m. contraband, or any property used in the course
     f.   property of roomers, boarders, tenants, and                            of illegal consumption, possession, import, ex-
          other residents not related to you;                                    port, or trade;
     g.   property regularly rented or held for rental to oth-                n.    outdoor hardscape property used for aesthetic
          ers by an insured. This does not apply to prop-                           purposes except as provided in SECTION I –
          erty of an insured:                                                       ADDITIONAL COVERAGES, Trees, Shrubs,
          (1) in a sleeping room when the dwelling is                               and Landscaping;
              rented in part, for use as a permanent res-
              idence, by either one or two full-time room-                    o.    electronic currency, digital currency, virtual cur-
              ers or boarders; or                                                   rency, crypto-currency, and other similar mediums
                                                                                    of exchange; or
          (2) on the residence premises if it is rented,
              either completely or in part, for exclusive                     p.    personal property collectively owned by unit-
              use as a residence, for no more than 30                               owners of the condominium.


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  COVERAGE C – LOSS OF USE                                                             that would be a loss insured under this policy if
  The most we will pay for the sum of all losses combined                              the damage had occurred to property on the res-
  under Additional Living Expense, Fair Rental Value,                                  idence premises;
  and Prohibited Use is the limit of liability shown in the                      b.    the residence premises is within one mile of
  Declarations for Coverage C – Loss of Use.                                           property damaged by a cause of loss identified
  1.   Additional Living Expense. When a loss insured                                  in 3.a. above; and
       causes the residence premises to become uninhab-                          c.    the action of the civil authority is taken in re-
       itable, we will pay the reasonable and necessary in-                            sponse to:
       crease in cost incurred by an insured to maintain
       their normal standard of living for up to 24 months.                            (1) dangerous physical conditions resulting
       Our payment is limited to incurred costs for the short-                             from the continuation of the cause of loss
       est of:                                                                             identified in 3.a. above;
       a.   the time required to repair or replace the prem-                           (2) dangerous physical conditions resulting
            ises;                                                                          from the damage caused by the cause of
                                                                                           loss identified in 3.a. above; or
       b.   the time required for your household to settle
            elsewhere; or                                                              (3) the need to gain free access to property
                                                                                           damaged by the cause of loss identified in
       c.   24 months.                                                                     3.a. above.
       This period of time is not limited by the expiration of            We will not pay for loss or expense due to cancellation of
       this policy.                                                       a lease or agreement.
       We will not pay more than the limit of liability shown             COVERAGE D – LOSS ASSESSMENT
       in the Declarations for Coverage C – Loss of Use.
       Any normal expenses that are reduced or discontin-                 We will pay for your share of any assessment charged
       ued due to a loss insured will be subtracted from any              against all unitowners by the association, when the as-
       amount owed.                                                       sessment is made as a result of:
  2.   Fair Rental Value. When a loss insured causes                      1.     a direct physical loss to condominium property (in-
       that part of the residence premises rented to others                      cluding personal property) owned by all unitowners
       or held for rental by you to become uninhabitable, we                     collectively that occurs during the policy period to
       will pay its fair rental value. Payment will be for the                   which Section I of this policy would apply, unless the
       shortest time required to repair or replace the part of                   loss is excluded or limited in SECTION I – LOSSES
       the premises rented or held for rental, but not to ex-                    NOT INSURED. Any Earthquake and Volcanic Explo-
       ceed 12 months. This period of time is not limited by                     sion Endorsement applicable to Coverage A shall also
       the expiration of this policy. Fair rental value will not                 apply to Coverage D;
       include any expense that does not continue while that              2.     an occurrence during the policy period to which Sec-
       part of the residence premises rented or held for                         tion II of this policy would apply;
       rental is uninhabitable.
                                                                          3.     damages that occur during the policy period that the
  3.   Prohibited Use. We will pay Additional Living Ex-                         association may be obligated to pay because of per-
       pense and Fair Rental Value, for a continuous period                      sonal injury due to false arrest, false imprisonment,
       not to exceed two weeks, beginning when a civil au-                       wrongful eviction, wrongful entry, wrongful detention,
                                                                                 malicious prosecution, misrepresentation, or humilia-
       thority issues an order of evacuation or prohibits your                   tion;
       use of the residence premises, provided that:
                                                                          4.     illegal discrimination (unless coverage is prohibited
       a.   direct physical damage occurs to any property,                       by law) that occurs during the policy period, but only
            other than covered property located on the res-                      with respect to liability other than fines and penalties
            idence premises, arising from a cause of loss                        imposed by law; or

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  5.   libel, slander, defamation of character, or invasion of          2.     Temporary Repairs. If damage is caused by a loss
       rights of privacy that occur during the policy period.                  insured, we will pay the reasonable and necessary
  We will not pay your share of any assessment charged                         cost you incur for temporary repairs to covered prop-
  against all unitowners by the association made as a result                   erty to protect the property from further immediate dam-
                                                                               age or loss. This coverage does not increase the limit
  of items 1. through 5. above that does not occur within the
  policy period.                                                               applying to the property being repaired.
                                                                        3.     Trees, Shrubs, and Landscaping. We will pay for
  Limit of Liability. The COVERAGE D – LOSS ASSESS-
  MENT limit is shown in the Declarations. The most we                         accidental direct physical loss to outdoor:
  will pay for all assessments arising out of the same event                   a.    trees, shrubs, live or artificial plants, and lawns;
  from items 1. through 5. above is the amount shown in the                    b.    artificial grass; and
  Declarations.
                                                                               c.    hardscape property used for aesthetic purposes
  SECTION I – ADDITIONAL COVERAGES                                                   not permanently affixed to realty;
  The following Additional Coverages are subject to all the
                                                                               on the residence premises, caused by the following
  terms, provisions, exclusions, and conditions of this pol-                   perils: Fire or lightning, Explosion, Riot or civil
  icy.                                                                         commotion, Aircraft, Vehicles (not owned or oper-
  1.   Debris Removal. We will pay the reasonable ex-                          ated by a resident of the residence premises), Van-
       penses you incur in the removal of debris of covered                    dalism or malicious mischief, or Theft.
       property damaged by a loss insured. This expense
                                                                               The limit for this coverage, including the removal of
       is included in the limit applying to the damaged prop-                  debris, will not exceed 5% of the amount shown in the
       erty. The following coverages and limits also apply:                    Declarations for COVERAGE B – PERSONAL
       a.   When the amount payable for the property dam-                      PROPERTY. We will not pay more than $750 for any
            age plus the debris removal exceeds the limit for                  one outdoor tree, shrub, plant, or hardscape item, in-
            damaged property, an additional 5% of that limit                   cluding debris removal expense. This coverage may
            is available for debris removal expense. This                      increase the limit otherwise applicable. We will not
            additional amount of insurance does not apply                      pay for any loss to property grown for business pur-
                                                                               poses.
            to SECTION I – ADDITIONAL COVERAGES,
            Trees, Shrubs, and Landscaping.                             4.     Fire Department Service Charge. We will pay up to
                                                                               $500 per occurrence for fire department charges in-
       b.   We will also pay up to $1,000 total for each loss                  curred when the fire department is called to save or
            to cover the reasonable expenses you incur in                      protect Coverage A property from fire, lightning, or
            the removal of tree debris and stumps from the                     explosion. No deductible applies to this coverage.
            residence premises, unless otherwise ex-                           This coverage may increase the limit otherwise appli-
            cluded. This coverage applies when:                                cable.
            (1) the tree has caused a loss insured to Cov-              5.     Property Removed. We will pay for any accidental
                erage A property; or                                           direct physical loss to covered property while being
            (2) the tree debris felled by windstorm, hail, or                  removed from a premises endangered by a loss in-
                weight of snow or ice blocks:                                  sured. This coverage also applies to the property for
                 (a) the driveway, on the residence prem-                      up to 30 days while removed. We will also pay for
                     ises, and prevents land motor vehi-                       reasonable expenses incurred by you for the removal
                     cle access to or from the dwelling; or                    and return of the covered property. This coverage
                 (b) a ramp designed to assist persons                         does not increase the limit applying to the property
                     with disabilities, on the residence                       being removed.
                     premises, and prevents access to or                6.     Credit Card, Bank Fund Transfer Card, Forgery,
                     from a building structure.                                and Counterfeit Money.

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       a.   We will pay up to $1,000 for:                                       occurring on the residence premises. The power
            (1) the legal obligation of an insured to pay be-                   lines off the residence premises must remain ener-
                cause of the theft or unauthorized use of                       gized. This coverage does not increase the limit ap-
                credit cards and bank fund transfer cards is-                   plying to the damaged property.
                sued to or registered in an insured’s name.              8.     Refrigerated Products. Coverage B is extended to
                If an insured has not complied with all terms                   cover the contents of deep freeze or refrigerated units
                and conditions under which the cards are is-                    on the residence premises for loss due to power fail-
                sued, we will not pay for use by an insured                     ure or mechanical failure. If mechanical failure or
                or anyone else;                                                 power failure is known to you, all reasonable means
            (2) loss to an insured caused by forgery or al-                     must be used to protect the property insured from fur-
                teration of any check or negotiable instru-                     ther damage or this coverage is void. Power failure
                ment; and                                                       or mechanical failure does not include:
            (3) loss to an insured through acceptance in                        a.   removal of a plug from an electrical outlet; or
                good faith of counterfeit United States or                      b.   turning off an electrical switch unless caused by
                Canadian paper currency.                                             a loss insured.
            No deductible applies to this coverage.                             This coverage does not increase the limit applying to
                                                                                the damaged property.
            We will not pay more than the limit stated above
            for forgery or alteration committed by any one               9.     Arson Reward. We will pay $1,000 for information that
            person. This limit applies when the forgery or                      leads to an arson conviction in connection with a fire loss
            alteration involves one or more instruments in                      to property covered by this policy. This coverage may
            the same loss.                                                      increase the limit otherwise applicable. However, the
                                                                                $1,000 limit will not be increased regardless of the num-
       b.   We will not pay for loss arising out of business                    ber of persons providing information.
            pursuits or dishonesty of an insured.
                                                                         10. Volcanic Action. We will pay for accidental direct
       c.   Defense:
                                                                             physical loss to a covered building structure or cov-
            (1) We may make any investigation and settle                     ered property contained in a building structure re-
                any claim or suit that we decide is appro-                   sulting from the eruption of a volcano when the loss
                priate. Our obligation to defend claims or                   is directly and immediately caused by:
                suits ends when the amount we pay for the
                loss equals our limit of liability.                             a.    airborne volcanic shock waves;
            (2) If claim is made or a suit is brought against an                b.    ash, dust, or particulate matter; or
                insured for liability under the Credit Card or                  c.    lava flow.
                Bank Fund Transfer Card coverage, we will
                provide a defense. This defense is at our ex-                   We will also pay for the removal of that ash, dust, or
                pense by counsel of our choice.                                 particulate matter that has caused accidental direct
            (3) We have the option to defend at our ex-                         physical loss to a covered building structure or cov-
                pense an insured or an insured’s bank                           ered property contained in a building structure.
                against any suit for the enforcement of pay-                    All volcanic eruptions that occur within any 168-hour
                ment under the Forgery coverage.
                                                                                period will be considered one volcanic eruption.
  7.   Power Interruption. We will pay for accidental direct
       physical loss caused directly or indirectly by a change                  This coverage does not increase the limit applying to
       of temperature that results from power interruption                      the damaged property.
       that takes place on the residence premises. The                   11. Collapse. We will pay for accidental direct physical
       power interruption must be caused by a loss insured                   loss to covered property involving the abrupt, entire
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     collapse of a building structure or any part of a                                (5) use of defective material or methods in the
     building structure.                                                                  construction (includes remodeling or reno-
     a. Collapse means the abrupt and entire falling down,                                vation) of the building structure, if the col-
          caving in, or falling into pieces of a building struc-                          lapse occurs during the course of the
          ture or any part of a building structure. Collapse                              construction of the building structure.
          does not include any of the following:                                      Loss to awnings, fences, patios, pavement,
          (1) settling, cracking, crumbling, deterioration,                           swimming pools, underground pipes, flues,
               shrinking, bulging, expansion, sagging,                                drains, cesspools, septic tanks, foundations (in-
               bowing, leaning, or bending;                                           cluding slabs, basement walls, and crawl space
                                                                                      walls), retaining walls, bulkheads, piers, wharfs,
          (2) substantial structural impairment;                                      docks, trellises, or antennas and their support-
          (3) imminent or threatened collapse;                                        ing structures is not included under items (2),
          (4) a building structure or any part of a build-                            (3), and (4) immediately above unless the loss
               ing structure that is in danger of falling                             is the direct and immediate result of the collapse
               down or caving in; or                                                  of a building structure or any part of a building
                                                                                      structure.
          (5) a part of a building structure that is stand-
               ing even if:                                                     This coverage does not increase the limit applying to
                                                                                the damaged property.
               (a) it has separated from another part of
                     the building structure; or                          12. Locks and Remote Devices. We will pay up to
                                                                             $1,000 for each loss for the reasonable expenses
                (b) it shows evidence of settling, cracking,
                    crumbling, deterioration, shrinking,                     you incur to rekey, replace, recode, program, or re-
                    bulging, expansion, sagging, bowing,                     program locks on exterior doors to the dwelling or
                    leaning, or bending.                                     other structures located on the residence premises
                                                                             when the keys or remote devices used with those
     b.   The collapse must be directly and immediately
                                                                             doors are part of a covered theft loss. This coverage
          caused by one or more of the following:
                                                                             includes remote devices designed solely for locking,
          (1) perils described in SECTION I – LOSSES                         unlocking, opening, or closing doors, including gar-
              INSURED, COVERAGE B – PERSONAL                                 age doors and gates.
              PROPERTY. These perils apply to build-
              ing structures covered under Coverage A                           No deductible applies to this coverage.
              or Coverage B for loss insured by this Ad-                 13. Fuel Oil Release. We will pay up to $10,000 for each
              ditional Coverage;
                                                                             loss for accidental direct physical loss to covered prop-
          (2) decay or deterioration of, or damage from                      erty caused by the abrupt and accidental escape of
              animals, birds, or insects to:                                 liquid fuel oil from a fixed household tank, apparatus,
                (a) a connector; or                                          or pipes that are part of a heating unit for the dwell-
                                                                             ing. This includes damage to covered property re-
                (b) a structural member of a building
                    structure;                                               sulting from an accidental spill or overflow of fuel oil
                                                                             in the course of filling a fixed household tank.
                The decay, deterioration, or damage must
                be hidden from view and unknown to all in-                      This coverage includes surface clean up only. We
                sureds prior to the collapse;                                   will not pay for:
          (3) weight of contents, equipment, animals, or                        a.    the cost to repair or replace the fuel oil tank, ap-
              people;                                                                 paratus, and pipes; or
          (4) weight of ice, snow, sleet, or rain that col-                     b.    the cost of testing, monitoring, removing, treating,
              lects on a roof, porch, or deck; or                                     or detoxifying of soil, air, or water.

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       This coverage does not increase the limit applying to               1.     divide the Index on that date by the Index as of the
       the damaged property.                                                      effective date of this Inflation Coverage provision;
  14. Tear Out. If a loss insured to Coverage A property                          then
      is caused by water, steam, or sewage escaping from                   2.     multiply the resulting factor by the limits of liability for
      a system or appliance, we will also pay the reasona-                        Coverage A and Coverage B separately.
      ble cost you incur to tear out and replace only that                 The limits of liability will not be reduced to less than the
      particular part of the building structure or condo-                  amounts shown in the Declarations.
      minium unit owned by you necessary to gain access
      to the specific point of that system or appliance from               If during the term of this policy the Coverage B limit of lia-
      which the water, steam, or sewage escaped. We will                   bility is changed at your request, the effective date of this
      not pay for the cost of repairing or replacing the sys-              Inflation Coverage provision is changed to coincide with
      tem or appliance itself. This coverage does not in-                  the effective date of such change.
      crease the limit applying to Coverage A property.
                                                                           This Inflation Coverage provision does not apply to the
  INFLATION COVERAGE                                                       limit of liability of Coverage A when both:
  The limits of liability shown in the Declarations for Cover-             1.     the limit of liability of Coverage B is less than $10,000;
  age A and Coverage B will be increased at the same rate
  as the increase in the Inflation Coverage Index shown in                        and
  the Declarations.                                                        2.     the limit of liability of Coverage A is no more than
  To find the limits on a given date:                                             $1,000.

                                           SECTION I – LOSSES INSURED
  COVERAGE A – BUILDING PROPERTY AND                                              the rain, snow, sleet, sand, or dust enters through this
  COVERAGE D – LOSS ASSESSMENT                                                    opening.
  We will pay for accidental direct physical loss to the prop-                    This peril includes loss to watercraft of all types and
  erty described in Coverage A and Coverage D, unless the                         their trailers, furnishings, equipment, and outboard
  loss is excluded or limited in SECTION I – LOSSES NOT                           motors, only while inside a building structure.
  INSURED or otherwise excluded or limited in this policy.
  However, loss does not include and we will not pay for,                  3.     Explosion.
  any diminution in value.
                                                                           4.     Riot or civil commotion.
  COVERAGE B – PERSONAL PROPERTY
                                                                           5.     Aircraft, including self-propelled missiles and space-
  We will pay for accidental direct physical loss to the property                 craft.
  described in Coverage B caused by the following perils, un-
  less the loss is excluded or limited in SECTION I –                      6.     Vehicles, meaning accidental direct physical loss to
  LOSSES NOT INSURED or otherwise excluded or limited                             covered property caused by the weight, force, power,
  in this policy. However, loss does not include and we will                      or movement of a vehicle.
  not pay for, any diminution in value.
                                                                                  a.    This includes:
  1.   Fire or lightning.
                                                                                        (1) the impact of a vehicle;
  2.   Windstorm or hail. This peril does not include loss
                                                                                        (2) an object propelled from the tire or body of
       to property contained in a structure caused by rain,
                                                                                            a vehicle;
       snow, sleet, sand, or dust. This limitation does not
       apply when the direct force of wind or hail damages                              (3) the upset or collision of a vehicle with a sta-
       the structure causing an opening in a roof or wall and                               tionary object or other vehicle, including

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                 damage to personal property carried on the                           (3) from the part of a residence premises
                 exterior of the vehicle; or                                              rented to others:
            (4) a vehicle door or trunk lid being closed on                                  (a) caused by a tenant, members of the
                personal property.                                                               tenant’s household, or the tenant’s
                                                                                                 employees unless the residence
       b.   This peril does not include loss:
                                                                                                 premises is rented, either completely
            (1) to personal property that falls off a vehicle                                    or in part, for exclusive use as a resi-
                and strikes the ground, any other surface,                                       dence, for no more than 30 nights in
                or any object;                                                                   the 12-month period prior to the date
            (2) caused by shifting of the load being carried                                     of the loss;
                in or on a vehicle; or                                                       (b) of money, bank notes, bullion, gold,
            (3) to the vehicle itself unless the vehicle is                                      goldware, silver, silverware, pewter-
                property covered under COVERAGE B –                                              ware, platinum, coins, and medals;
                PERSONAL PROPERTY and the loss is                                            (c) of securities, checks, cashiers checks,
                caused by the weight, force, power, or                                           travelers checks, money orders, gift cer-
                movement of another vehicle.                                                     tificates, gift cards, rechargeable debit
  7.   Smoke, meaning abrupt and accidental damage from                                          cards, phone cards, and other negotia-
       smoke.                                                                                    ble instruments, accounts, deeds, evi-
                                                                                                 dences of debt, letters of credit, notes
       This peril does not include loss caused by smoke
       from agricultural smudging or industrial operations.                                      other than bank notes, manuscripts,
                                                                                                 passports, tickets, and stamps; or
  8.   Vandalism or malicious mischief, meaning only
       willful and malicious damage to or destruction of                                     (d) of jewelry, watches, fur garments and
       property.                                                                                 garments trimmed with fur, and precious
                                                                                                 and semi-precious stones; or
  9.   Theft, including attempted theft and loss of property
       from a known location when it is probable that the                       c.    loss caused by theft that occurs away from the
       property has been stolen.                                                      residence premises of:
       This peril does not include:                                                   (1) property while at any other residence owned,
       a.   loss of a precious or semi-precious stone from                                rented to, or occupied by an insured, except
            its setting;                                                                  while an insured is temporarily residing there.
                                                                                          Property of a student who is an insured is
       b.   loss caused by theft:                                                         covered while at a residence away from the
            (1) committed by an insured or by any other                                   residence premises;
                person regularly residing on the insured                              (2) watercraft of all types, including their fur-
                location. Property of a student who is an                                 nishings, equipment, and outboard motors; or
                insured is covered while located at a resi-
                dence away from the residence premises, if                            (3) trailers and campers designed to be pulled
                the theft is committed by a person who is                                 by or carried on a vehicle.
                not an insured;                                                       If the residence premises is a newly acquired
            (2) in or to a dwelling under construction or of                          principal residence, property in the immediate
                materials and supplies for use in the con-                            past principal residence will not be considered
                struction until the dwelling is completed and                         property away from the residence premises for
                occupied; or                                                          the first 30 days after the inception of this policy.
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  10. Falling objects. This peril does not include loss to                    heating system, an air conditioning system, an au-
      property contained in a structure unless the roof or an                 tomatic fire protective sprinkler system, or an appli-
      exterior wall of the structure is first damaged by a fall-              ance for heating water.
      ing object. Damage to the falling object itself is not                  This peril does not include loss:
      included.
                                                                              a. caused by or resulting from freezing; or
  11. Weight of ice, snow, or sleet that causes damage
      to property contained in a structure.                                   b. that occurs or develops over a period of time and
                                                                                   is caused by or resulting from:
  12. Abrupt and accidental discharge or overflow of
      water, steam, or sewage from within a plumbing,                              (1) condensation or the presence of humidity,
                                                                                         moisture, or vapor; or
      heating, air conditioning, or automatic fire protec-
      tive sprinkler system, or from within a household                            (2) seepage or leakage of water or steam that
      appliance.                                                                         is:
       This peril does not include loss:                                                 (a) continuous;
       a.   to the system or appliance from which the water,                             (b) repeating;
            steam, or sewage escaped;                                                    (c) gradual;
       b.   caused by or resulting from:                                                 (d) intermittent;
            (1) freezing;                                                                (e) slow; or
            (2) water or sewage from outside the resi-                                   (f) trickling.
                dence premises plumbing system that en-                   14. Freezing of a plumbing, heating, air conditioning, or
                ters through sewers or drains, or water that                  automatic fire protective sprinkler system, or of a
                enters into and overflows from within a                       household appliance.
                sump pump, sump pump well, or any other
                                                                              This peril does not include:
                system designed to remove subsurface
                water that is drained from the foundation                     a. loss to a portable hot tub or portable spa unless
                area; or                                                           you have used reasonable care to prevent
                                                                                   freezing; or
          (3) the pressure from or presence of tree,
               shrub, or plant roots; or                                      b. loss on the residence premises unless you
                                                                                   have used reasonable care to:
      c. that occurs or develops over a period of time and
          is caused by or resulting from:                                          (1) maintain heat in the building structure at
                                                                                         55 degrees Fahrenheit or higher; or
          (1) condensation or the presence of humidity,
               moisture, or vapor; or                                              (2) shut off the water supply and drain the sys-
                                                                                         tem and appliances of water.
          (2) seepage or leakage of water, steam, or
               sewage that is:                                                     However, if the building structure is protected
                                                                                   by an automatic fire protective sprinkler system,
               (a) continuous;
                                                                                   you must use reasonable care to continue the
               (b) repeating;                                                      water supply and maintain heat in the building
               (c) gradual;                                                        structure at 55 degrees Fahrenheit or higher for
                                                                                   coverage to apply.
               (d) intermittent;
                                                                          15. Abrupt and accidental damage to electrical appli-
               (e) slow; or
                                                                              ances, devices, fixtures, and wiring from an increase
               (f) trickling.                                                 or decrease of artificially generated electrical current.
  13. Abrupt and accidental tearing asunder, cracking,                        We will pay up to $3,000 under this peril for each
      burning, or bulging of a steam or hot water                             damaged item described above.

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  16. Breakage of glass, meaning damage to personal                       17. Wild bears or deer, meaning damage caused by
      property caused by breakage of glass that is a part of
      a structure on the residence premises. We will not                      wild bears or deer to property located in a building
      pay for loss or damage to the glass.                                    structure.

                                     SECTION I – LOSSES NOT INSURED

  1.   We will not pay for any loss to the property de-                          d.    theft in or to a dwelling under construction, or of
       scribed in Coverage A and Coverage D that con-                                  materials and supplies for use in the construction,
       sists of, or is directly and immediately caused                                 until the dwelling is completed and occupied;
       by, one or more of the perils listed in items a.                          e.    theft, vandalism, malicious mischief, or break-
       through m. below, regardless of whether the loss                                age of glass and safety glazing materials if the
       occurs abruptly or gradually, involves isolated or                              dwelling is a vacant dwelling;
       widespread damage, arises from natural or ex-                             f.    seepage or leakage of water, steam, or sewage
       ternal forces, or occurs as a result of any combination                         that occurs or develops over a period of time:
       of these:                                                                       (1) and is:
       a.   collapse, except as specifically provided in SEC-                                 (a) continuous;
            TION I – ADDITIONAL COVERAGES, Col-
            lapse;                                                                            (b) repeating;
       b.   freezing of a plumbing, heating, air conditioning, or                             (c) gradual;
            automatic fire protective sprinkler system or of a                                (d) intermittent;
            household appliance; or discharge, leakage, or
            overflow from within the system or appliance                                      (e) slow; or
            caused by freezing. This does not apply if you                                    (f)   trickling; and
            have used reasonable care to:
                                                                                       (2) from a:
            (1) maintain heat in the building structure at
                 55 degrees Fahrenheit or higher; or                                          (a) heating, air conditioning, or automatic
                                                                                                  fire protective sprinkler system;
            (2) shut off the water supply and drain the sys-
                tem and appliances of water.                                                  (b) household appliance; or
            However, if the building structure is protected                                   (c) plumbing system, including from,
            by an automatic fire protective sprinkler system,                                     within or around any shower stall,
            you must use reasonable care to continue the                                          shower bath, tub installation, or other
            water supply and maintain heat in the building                                        plumbing fixture, including their walls,
            structure at 55 degrees Fahrenheit or higher for                                      ceilings, or floors.
            coverage to apply;
                                                                                       We also will not pay for losses arising from con-
       c.   freezing, thawing, pressure, or weight of water,                           densation or the presence of humidity, moisture,
            ice, snow, or sleet, whether driven by wind or
                                                                                       or vapor that occurs or develops over a period
            not, to:
                                                                                       of time;
            (1) a swimming pool, hot tub, or spa, including
                  their covers, filtration, and circulation sys-                 g.    wear, tear, decay, marring, scratching, deterio-
                  tems; or                                                             ration, inherent vice, latent defect, or mechani-
            (2) an awning, fence, pavement, patio, founda-                             cal breakdown;
                  tion (including slabs, basement walls, crawl                   h.    corrosion, electrolysis, or rust;
                  space walls, and footings), retaining wall,
                  bulkhead, pier, wharf, or dock;                                i.    wet or dry rot;

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     j.   contamination or pollution, meaning the pres-                              (1) This includes:
          ence, discharge, dispersal, seepage, migration,
                                                                                            (a) nesting, infestation, gnawing, feeding,
          release, or escape of contaminants or pollutants                                      breeding, or discharge or release of
          at or from any source. This does not apply if the                                     waste products or secretions by ani-
          presence, discharge, dispersal, seepage, migra-
                                                                                                mals, birds, or insects;
          tion, release, or escape is itself caused by a peril
          described in SECTION I – LOSSES INSURED,                                          (b) costs to remove animals, birds, or in-
          COVERAGE B – PERSONAL PROPERTY.                                                       sects from the covered property; and
          (1) Contaminants and pollutants include but                                       (c) costs to prevent the animals, birds, or
              are not limited to any:                                                           insects from returning to the property;
               (a) solid, liquid, gaseous, or thermal irritant,
                                                                                     (2) However, we will pay for:
                   including smoke from agricultural
                   smudging or industrial operations,                                       (a) losses caused by wild bears or deer;
                   smog, soot, vapor, fumes, acids, alka-                                       and
                   lis, chemicals, pathogens, noxious
                   substances, asbestos, or lead;                                           (b) the breakage of glass or safety glaz-
                                                                                                ing material that is a part of a building
               (b) contaminants or pollutants resulting                                         structure, when caused by animals,
                   from any natural resource extraction                                         birds, or insects; or
                   activities; or
                                                                               m. pressure from or presence of tree, shrub, or
               (c) fuel oil except as specifically provided                       plant roots.
                   in SECTION I – ADDITIONAL COV-                              However, we will pay for any resulting loss from items
                   ERAGES, Fuel Oil Release.                                   a. through l. unless the resulting loss is itself a Loss
          (2) We also will not pay for:                                        Not Insured as described in this Section.
               (a) losses arising from contamination or                 2.     We will not pay for, under any part of this policy, any
                   pollution caused by or resulting from                       loss that would not have occurred in the absence of
                   defective building materials, nuclear                       one or more of the following excluded events. We will
                   substances, and waste. Waste in-                            not pay for such loss regardless of: (a) the cause of
                   cludes materials to be recycled, re-                        the excluded event; or (b) other causes of the loss; or
                   conditioned, or reclaimed;                                  (c) whether other causes acted concurrently or in any
                                                                               sequence with the excluded event to produce the loss;
               (b) the cost to extract contaminants or pollu-                  or (d) whether the event occurs abruptly or gradually,
                   tants from land, water, or air, or the cost                 involves isolated or widespread damage, occurs on
                   to remove, restore, or replace contami-                     or off the residence premises, arises from any nat-
                   nated or polluted land, water, or air; or                   ural or external forces, or occurs as a result of any
                                                                               combination of these:
               (c) the cost of testing, monitoring, clean-
                   ing, removing, containing, treating,                        a.    Ordinance or Law, meaning enforcement of
                   detoxifying, neutralizing, remediating,                           any ordinance or law regulating the construction,
                   disposing of, or assessing the effects                            repair, or demolition of a building structure or
                   of contaminants or pollutants;                                    other structure.
                                                                               b.    Earth Movement, meaning the sinking, rising,
     k.   settling, cracking, shrinking, bulging, or expan-
          sion of pavements, patios, foundations, (includ-                           shifting, expanding, or contracting of earth, all
          ing slabs, basement walls, crawl space walls,                              regardless of whether combined with water,
                                                                                     sewage, or any material carried by, or otherwise
          and footings), walls, floors, roofs, or ceilings;
                                                                                     moved by the earth. Earth movement includes
     l.   all animals, birds, or insects.                                            but is not limited to:

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          (1)  earthquake;                                                              any other system designed to remove sub-
          (2)  landslide, mudslide, or mudflow;                                         surface water that is drained from the foun-
                                                                                        dation area;
          (3)  sinkhole or subsidence;
                                                                                    (8) water or sewage below the surface of the
          (4)  movement resulting from:                                                 ground, including water or sewage that ex-
               (a) improper compaction;                                                 erts pressure on, or seeps or leaks through
               (b) site selection;                                                      a building structure, sidewalk, driveway,
                                                                                        swimming pool, or other structure; or
               (c) natural resource extraction activities; or
                                                                                    (9) material carried or otherwise moved by any
               (d) excavation;                                                          of the water or sewage, as described in
          (5) erosion;                                                                  items c.(1) through c.(8) above.
          (6) pressure by surface or subsurface earth or fill;                      However, we will pay for any accidental direct
               or                                                                   physical loss by fire, explosion, or theft resulting
          (7) any volcanic activity, except as specifically                         from water, provided the resulting loss is itself a
               provided in SECTION I – ADDITIONAL                                   loss insured.
               COVERAGES, Volcanic Action.                                    d.    Neglect, meaning neglect of the insured to use
          However, we will pay for any accidental direct                            all reasonable means to save and preserve
          physical loss by fire resulting from earth move-                          property at and after the time of a loss, or when
          ment, provided the resulting fire loss is itself a                        property is endangered.
          loss insured.                                                       e.    War, including any undeclared war, civil war, in-
     c.   Water, meaning:                                                           surrection, rebellion, revolution, warlike act by a
          (1) flood;                                                                military force or military personnel, destruction or
                                                                                    seizure or use for a military purpose, and in-
          (2) surface water. This does not include water                            cluding any consequence of any of these. Dis-
              solely caused by the release of water from                            charge of a nuclear weapon will be considered
              a swimming pool, spigot, sprinkler system,                            a warlike act even if accidental.
              hose, or hydrant;                                               f.    Nuclear Hazard, meaning any nuclear reaction,
          (3) waves (including tidal wave, tsunami, and                             radiation, or radioactive contamination, all
              seiche);                                                              whether controlled or uncontrolled or however
          (4) tides or tidal water;                                                 caused, or any consequence of any of these.
                                                                                    Loss caused by the nuclear hazard will not be
          (5) overflow of any body of water (including                              considered loss caused by fire, explosion, or
              any release, escape, or rising of any body                            smoke.
              of water, or any water held, contained, con-                          However, we will pay for any accidental direct
              trolled, or diverted by a dam, levee, dike, or                        physical loss by fire resulting from the nuclear
              any type of water containment, diversion,                             hazard, provided the resulting fire loss is itself a
              or flood control device);                                             loss insured.
          (6) spray or surge from any of the items c.(1)                      g.    Fungus, including:
              through c.(5) described above, all whether
              driven by wind or not;                                                (1) any loss of use or delay in rebuilding, re-
                                                                                        pairing, or replacing covered property, in-
          (7) water or sewage from outside the resi-
              dence premises plumbing system that en-                                   cluding any associated cost or expense,
              ters through sewers or drains, or water or                                due to interference at the residence prem-
              sewage that enters into and overflows from                                ises or location of the rebuilding, repair, or
              within a sump pump, sump pump well, or                                    replacement, by fungus;

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          (2) any remediation of fungus, including the                                    received payment. In no event will we pay
              cost to:                                                                    more than the limit of liability.
               (a) remove the fungus from covered                                         If we pay an innocent coinsured for a loss
                   property or to repair, restore, or re-                                 described above, the rights of the innocent
                   place that property; or                                                coinsured to recover damages from the
                                                                                          perpetrator of the domestic violence are
               (b) tear out and replace any part of the                                   transferred to us to the extent of our pay-
                   building structure or other property                                   ment. Following the loss, the innocent co-
                   as needed to gain access to the fun-                                   insured may not waive such rights to
                   gus; or                                                                recover against the perpetrator in the do-
                                                                                          mestic violence.
          (3) the cost of any testing or monitoring of air
              or property to confirm the type, absence,               3.     We will not pay for, under any part of this policy, any
              presence, or level of fungus, whether per-                     loss consisting of one or more of the items below.
              formed prior to, during, or after removal, re-                 Further, we will not pay for any loss described in par-
              pair, restoration, or replacement of                           agraphs 1. and 2. immediately above regardless of
              covered property.                                              whether one or more of the following: (a) directly or
                                                                             indirectly cause, contribute to, or aggravate the loss;
     h.   Intentional Losses. If any insured intention-                      or (b) occur before, at the same time, or after the loss
          ally causes or procures a loss to property cov-                    or any other cause of the loss:
          ered under this policy, we will not pay any
          insured for this loss. This applies regardless of                  a.    conduct, act, failure to act, or decision of any
          whether the insured is charged with or con-                              person, group, organization, or governmental
          victed of a crime.                                                       body whether intentional, wrongful, negligent, or
                                                                                   without fault;
          This does not apply to an:
                                                                             b.    defect, weakness, inadequacy, fault, or un-
          a.   insured who did not participate in, cooper-                         soundness in:
               ate in, or contribute to causing or procuring
                                                                                   (1) planning, zoning, development, surveying,
               the loss; or
                                                                                        or siting;
          b.   innocent coinsured if the loss arose out of
                                                                                   (2) design, specifications, workmanship, re-
               domestic violence. Coverage will be pro-
               vided only if the innocent coinsured files a                             pair, construction, renovation, remodeling,
               police report and completes a sworn affida-                              grading, or compaction;
               vit indicating both:                                                (3) materials used in repair, construction, ren-
               (1) the cause of the loss; and                                          ovation, remodeling, grading, or compac-
                                                                                       tion; or
               (2) a pledge to cooperate in any criminal
                   prosecution of the person committing                            (4) maintenance;
                   the act causing the loss.                                       of any property (including land, structures, or im-
               Our payment to the innocent coinsured will                          provements of any kind) whether on or off the
               be limited to that insured’s ownership in-                          residence premises; or
               terest in the property as reduced by any
                                                                             c.    weather conditions.
               payment to a mortgagee or other secured
               interest. However, we will not be required                    However, we will pay for any resulting loss from items
               to make any subsequent payment for any                        3a., 3b., and 3c. unless the resulting loss is itself a
               loss for which the innocent coinsured has                     Loss Not Insured as described in this Section.


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                                       SECTION I – LOSS SETTLEMENT
  Only the Loss Settlement Provisions shown in the Dec-                  COVERAGE B – PERSONAL PROPERTY
  larations apply. We will settle covered property losses                1.     B1 – Limited Replacement Cost Loss Settlement.
  according to the following. However, the valuation of any
  covered property losses does not include, and we will not                     a.    We will pay the cost to repair or replace property
  pay, any amount for diminution in value.                                            covered under SECTION I – PROPERTY COV-
                                                                                      ERAGES, COVERAGE B – PERSONAL
  COVERAGE A – BUILDING PROPERTY                                                      PROPERTY, except for property listed in item b.
  1.   We will pay the cost to repair or replace with similar                         below, subject to the following:
       construction and for the same use on the premises                              (1) until repair or replacement is completed,
       shown in the Declarations, the damaged part of the                                 we will pay only the actual cash value of
       building property covered under SECTION I – PROP-                                  the damaged property;
       ERTY COVERAGES, COVERAGE A – BUILDING
       PROPERTY, except for wood fences, subject to the                               (2) after repair or replacement is completed,
       following:                                                                         we will pay the difference between the ac-
                                                                                          tual cash value and the cost you have ac-
       a.   until actual repair or replacement is completed,
                                                                                          tually and necessarily spent to repair or
            we will pay only the actual cash value of the
            damaged part of the property, up to the applica-                              replace the property; and
            ble limit of liability shown in the Declarations,                         (3) if property is not repaired or replaced within
            not to exceed the cost to repair or replace the                               two years after the date of loss, we will pay
            damaged part of the property;                                                 only the actual cash value.
       b.   when the repair or replacement is actually com-
                                                                                b.    We will pay market value at the time of loss for:
            pleted, we will pay the covered additional amount
            you actually and necessarily spend to repair or                           (1) antiques, fine arts, paintings, statuary, and
            replace the damaged part of the property, or an                               similar articles which by their inherent na-
            amount up to the applicable limit of liability                                ture cannot be replaced with new articles;
            shown in the Declarations, whichever is less;
                                                                                      (2) articles whose age or history contribute sub-
       c.   to receive any additional payments on a replace-
            ment cost basis, you must complete the actual                                 stantially to their value including, but not
            repair or replacement of the damaged part of the                              limited to, memorabilia, souvenirs, and col-
            property within two years after the date of loss,                             lectors items; and
            and notify us within 30 days after the work has                           (3) property not useful for its intended purpose.
            been completed; and
       d.   we will not pay for increased costs resulting from                  However, we will not pay an amount exceeding the
            enforcement of any ordinance or law regulating                      smallest of the following for items a. and b. above:
            the construction, repair, or demolition of a build-                       (1) our cost to replace at the time of loss;
            ing structure or other structure.
                                                                                      (2) the full cost of repair;
  2.   Wood Fences: We will pay the actual cash value for
                                                                                      (3) any special limit of liability described in this
       loss or damage to wood fences, not to exceed the
                                                                                          policy; or
       limit of liability shown in the Declarations for COV-
       ERAGE A – BUILDING PROPERTY.                                                   (4) any applicable Coverage B limit of liability.

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  2.   B2 – Depreciated Loss Settlement.                                                      not limited to, memorabilia, souvenirs, and
       a. We will pay the actual cash value for property                                      collectors items; and
           covered under SECTION I – PROPERTY COV-                                     (3) property not useful for its intended purpose.
           ERAGES, COVERAGE B – PERSONAL
           PROPERTY, except for property listed in item b.                       However, we will not pay an amount exceeding the
           below.                                                                smallest of the following for items a. and b. above:
       b. We will pay market value at the time of loss for:                            (1) our cost to replace at the time of loss;
           (1) antiques, fine arts, paintings, statuary, and                           (2) the full cost of repair;
               similar articles which by their inherent na-
                                                                                       (3) any special limit of liability described in this
               ture cannot be replaced with new articles;
                                                                                           policy; or
           (2) articles whose age or history contribute
               substantially to their value including, but                             (4) any applicable Coverage B limit of liability.

                                               SECTION I – CONDITIONS
  1.   Insurable Interest and Limit of Liability. Even if                              (2) attaching all bills, receipts, and related doc-
       more than one person has an insurable interest in the                               uments that substantiate the figures in the
       property covered, we will not be liable:                                            inventory;
       a.   to the insured for an amount greater than the                        d.    as often as we reasonably require:
            insured’s interest; or                                                     (1) exhibit the damaged property;
       b.   for more than the applicable limit of liability.                           (2) provide us with any requested records and
                                                                                           documents and allow us to make copies;
  2.   Your Duties After Loss. After a loss to which this
       insurance may apply, you must cooperate with us in                              (3) while not in the presence of any other in-
       the investigation of the claim and also see that the                                sured:
       following duties are performed:                                                        (a) give statements; and
       a.   give immediate notice to us or our agent and                                      (b) submit to examinations under oath;
            also notify:                                                                          and
            (1) the police if the loss is caused by theft, van-                        (4) produce employees, members of the in-
                dalism, or any other criminal act; and                                     sured’s household, or others for examina-
            (2) the credit card company or bank if the loss in-                            tion under oath to the extent it is within the
                volves a credit card or bank fund transfer                                 insured’s power to do so; and
                card;                                                            e.    submit to us, within 60 days after the loss, your
       b.   protect the property from further damage or loss                           signed, sworn proof of loss that sets forth, to the
            and also:                                                                  best of your knowledge and belief:
            (1) make reasonable and necessary temporary                                (1) the time and cause of loss;
                 repairs required to protect the property; and                         (2) interest of the insured and all others in the
            (2) keep an accurate record of repair expenses;                                property involved and all encumbrances on
       c.   prepare an inventory of damaged or stolen per-                                 the property;
            sonal property:                                                            (3) other insurance that may cover the loss;
            (1) showing in detail the quantity, description,
                                                                                       (4) changes in title or occupancy of the prop-
                 age, replacement cost, and amount of loss;
                 and                                                                       erty during the term of this policy;


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            (5) specifications of any damaged structure                               The written report of agreement will set the
                and detailed estimates for repair of the                              amount of the loss of each item in dispute and
                damage;                                                               will be binding upon you and us.
            (6) an inventory of damaged or stolen personal                      c.    If the two appraisers fail to agree upon the
                property described in 2.c.;                                           amount of the loss within 30 days, unless the pe-
                                                                                      riod of time is extended by mutual agreement, they
            (7) receipts for additional living expenses in-                           will select a competent, disinterested umpire and
                curred and records supporting the fair                                will submit their differences to the umpire. If the
                rental value loss; and                                                appraisers are unable to agree upon an umpire
                                                                                      within 15 days:
            (8) evidence or affidavit supporting a claim under
                SECTION I – ADDITIONAL COVERAGES,                                     (1) you or we may make a written application
                Credit Card, Bank Fund Transfer Card, For-                                for a judge of a court of record in the same
                gery, and Counterfeit Money coverage,                                     state and county (or city if the city is not
                stating the amount and cause of loss.                                     within a county) where the residence
                                                                                          premises is located to select an umpire;
  3.   Loss to a Pair or Set. In case of loss to a pair or set,
       we may choose to:                                                              (2) the party requesting the selection de-
                                                                                          scribed in item c.(1) must provide the other
       a.   repair or replace any part to restore the pair or                             party:
            set to its value before the loss; or
                                                                                             (a) written notice of the intent to file,
       b.   pay the difference between the depreciated                                           identifying the specific location and
            value of the property before the loss and the de-                                    identity of the court at least 10 days
            preciated value of the property after the loss.                                      prior to submission of the written ap-
  4.   Appraisal. If you and we fail to agree on the amount of                                   plication; and
       loss, either party can demand that the amount of the loss                             (b) a copy of the written application; and
       be set by appraisal. Only you or we may demand ap-
       praisal. A demand for appraisal must be in writing. You                        (3) a written report of agreement, as required
       must comply with SECTION I – CONDITIONS, Your                                      in item b., signed by any two (appraisers or
       Duties After Loss before making a demand for ap-                                   appraiser and umpire) will set the amount
       praisal. At least 10 days before demanding appraisal, the                          of the loss of each item in dispute and will
       party seeking appraisal must provide the other party with                          be binding upon you and us. In all in-
       written, itemized documentation of a specific dispute as                           stances the written report of agreement will
       to the amount of the loss, identifying separately each                             be itemized and state separately the actual
       item being disputed.                                                               cash value, replacement cost, and if appli-
                                                                                          cable, the market value of each item in dis-
       a.   Each party will select a competent, disinterested                             pute.
            appraiser and notify the other party of the ap-
            praiser’s identity within 20 days of receipt of the                 d.    To qualify as an appraiser or umpire for a loss to
                                                                                      building property, a person must be one of the
            written demand for appraisal.
                                                                                      following and be licensed or certified as re-
       b.   The appraisers will then attempt to set the                               quired by the applicable jurisdiction:
            amount of the loss of each item in dispute as                             (1) an engineer or architect with experience and
            specified by each party, and jointly submit to
                                                                                          training in building construction, repair, esti-
            each party a written report of agreement signed                               mating, or investigation of the type of prop-
            by them. In all instances the written report of                               erty damage in dispute;
            agreement will be itemized and state separately
            the actual cash value, replacement cost, and if                           (2) an adjuster or public adjuster with experi-
            applicable, the market value of each item in dis-                             ence and training in estimating the type of
            pute.                                                                         property damage in dispute; or
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            (3) a contractor with experience and training in                           our share of the loss. Our share is the propor-
                the construction, repair, and estimating of                            tion of the loss that the applicable limit under this
                the type of property damage in dispute.                                policy bears to the total amount of insurance
       e.   A person may not serve as an appraiser or um-                              covering the loss.
            pire if that person, any employee of that person,                          If, at the time of loss, there is other insurance in
            that person’s employer, or any employee of their                           the name of the condominium covering the
            employer:                                                                  same property covered by this policy, this insur-
            (1) has performed services for either party with                           ance will be excess over the amount recovera-
                respect to the claim at issue in the ap-                               ble under such other insurance.
                praisal; or                                                      b.    Other Insurance (with respect to COVERAGE D –
            (2) has a financial interest in the outcome of                             LOSS ASSESSMENT). If a loss covered by this
                the claim at issue in the appraisal.                                   policy is also covered by other insurance, this in-
                                                                                       surance shall be excess over other insurance in the
       f.   Each party will be responsible for the compen-                             name of the condominium covering the same
            sation of their selected appraiser. Reasonable                             property covered by this policy.
            expenses of the appraisal and the reasonable
                                                                          6.     Suit Against Us. No action will be brought against
            compensation of the umpire will be paid equally
            by you and us.                                                       us unless there has been full compliance with all of
                                                                                 the policy provisions. Any action by any party must
       g.   You and we do not waive any rights by demand-                        be started within ten years after the date of loss or
            ing or submitting to an appraisal, and retain all                    damage.
            contractual rights to determine if coverage applies
                                                                          7.     Our Option. We may repair or replace any part of
            to each item in dispute.
                                                                                 the property damaged or stolen with similar property.
       h.   Appraisal is only available to determine the                         Any property we pay for or replace becomes our
            amount of the loss of each item in dispute. The                      property.
            appraisers and the umpire have no authority to
            decide:                                                              However, when the peril of fire causes partial destruc-
                                                                                 tion or damage to covered property, pursuant to Sec-
            (1) any other questions of fact;                                     tion 379.150 RS Mo. 1986, we will pay for the damage
            (2) questions of law;                                                done to the property or repair the property to the extent
                                                                                 of the damage, at your option. Payment will not ex-
            (3) questions of coverage;                                           ceed the limits of liability of this policy, and the dam-
            (4) other contractual issues; or                                     aged property will be in as good condition as before the
                                                                                 fire.
            (5) to conduct appraisal on a class-wide basis.
                                                                          8.  Loss Payment. We will adjust all losses with you.
       i.   Appraisal is a non-judicial proceeding and does not               We will pay you unless some other person is named
            provide for or require arbitration. Neither party will            in the policy or is legally entitled to receive payment.
            be awarded attorney fees. The appraisal award                     Loss will be payable 60 days after we receive your
            may not be entered as a judgment in a court.                      proof of loss and:
       j.   A party may not demand appraisal after that                       a. reach agreement with you;
            party brings suit or action against the other party               b. there is an entry of a final judgment; or
            relating to the amount of loss.
                                                                              c. there is a filing of an appraisal award with us.
  5.   a.   Other Insurance (with respect to all coverages
                                                                          9. Abandonment of Property. We need not accept
            except COVERAGE D – LOSS ASSESS-
            MENT). If a loss covered by this policy is also                   any property abandoned by an insured.
            covered by other insurance, except insurance in               10. Mortgagee Clause. The word “mortgagee” includes
            the name of the condominium, we will pay only                     trustee.

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      a.   If a mortgagee is named in this policy, any loss pay-                      (2) at our option, we may pay to the mortgagee
           able under Coverage A will be paid to the mortga-                              the whole principal on the mortgage plus any
           gee and you, as interests appear. If more than one                             accrued interest. In this event, we will receive
           mortgagee is named, the order of payment will be                               a full assignment and transfer of the mortgage
           the same as the order of precedence of the mort-                               and all securities held as collateral to the
           gages.                                                                         mortgage debt.
      b.   If we deny your claim, that denial will not ap-                      f.    Subrogation does not impair the right of the
           ply to a valid claim of the mortgagee, if the                              mortgagee to recover the full amount of the
           mortgagee:
                                                                                      mortgagee’s claim.
           (1) notifies us of any change in ownership, oc-
                                                                         11. No Benefit to Bailee. We will not recognize an as-
                 cupancy, or substantial change in risk of
                                                                             signment or grant coverage for the benefit of a person
                 which the mortgagee is aware;
                                                                             or organization holding, storing, or transporting prop-
           (2) pays on demand any premium due under                          erty for a fee. This applies regardless of any other
               this policy, if you have not paid the premium;                provision of this policy.
               and                                                       12. Recovered Property. If either you or we recover
           (3) submits a signed, sworn statement of loss                     any property after loss settlement, that party must
                  within 60 days after receiving notice from                 give the other prompt notice. At your option, you
                  us of your failure to do so. Policy condi-                 may keep the property or we will return it to you. Oth-
                  tions relating to Appraisal, Suit Against                  erwise, it will become our property. If you choose to
                  Us, and Loss Payment apply to the mort-                    keep the property, the loss payment will be adjusted
                  gagee.                                                     based on the amount you received for the recovered
      c.   If we cancel this policy, the mortgagee will be                   property.
           notified at least 10 days before the date cancel-             13. Assignment of Claim. Assignment to another party
           lation takes effect. Proof of mailing will be proof
                                                                             of any of your rights or duties under this policy re-
           of notice.
                                                                             garding any claim, or any part of any claim, will be
      d.   If this policy is void as to an insured under the                 void and we will not recognize any such assignment,
           terms and conditions of this policy, the mortga-
                                                                             unless we give our written consent. However, once
           gee will be notified at least 10 days before the
           date coverage ceases for its interests. Proof of                  you have complied with all policy provisions, you
           mailing will be proof of notice.                                  may assign to another party, in writing, payment of
                                                                             claim proceeds otherwise payable to you.
      e.   If we pay the mortgagee for any loss and deny
           payment to you:                                               14. Glass Replacement. Loss for damage to glass
           (1) we are subrogated to all the rights of the                    caused by a loss insured will be settled on the basis
                  mortgagee granted under the mortgage on                    of replacement with safety glazing materials when re-
                  the property; or                                           quired by ordinance or law.

                                    SECTION II – LIABILITY COVERAGES
  COVERAGE L – PERSONAL LIABILITY                                        1.     pay up to our limit of liability for the damages for
                                                                                which the insured is legally liable. We will not pay
  If a claim is made or a suit is brought against an insured                    for criminal restitution; and
  for damages because of bodily injury or property damage                2.     provide a defense at our expense by counsel of our
  to which this coverage applies, caused by an occurrence,                      choice. We may make any investigation and settle
  we will:                                                                      any claim or suit that we decide is appropriate. Our


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       obligation to defend any suit ends when the amount                        c.    reasonable expenses an insured incurs at our
       we pay for damages, to effect settlement or satisfy a                           request. This includes actual loss of earnings
       judgment resulting from the occurrence, equals our                              (but not loss of other income) up to $250 per day
       limit of liability. We will not provide a defense to any                        for aiding us in the investigation or defense of
       insured for criminal prosecution or proceedings.                                claims or suits;
  COVERAGE M – MEDICAL PAYMENTS TO OTHERS
                                                                                 d.    interest the insured is legally liable to pay on
  We will pay the necessary medical expenses incurred or                               damages payable under Coverage L above be-
  medically ascertained within three years from the date of                            fore a judgment, but only the interest on the
  an accident causing bodily injury. Medical expenses                                  lesser of:
  means reasonable charges for medical, surgical, x-ray,
  dental, ambulance, hospital, professional nursing, rehabil-                          (1) that part of the damages we pay; or
  itation, pharmaceuticals, orthopedic devices, prosthetic
  devices, and funeral services. This coverage applies only:                           (2) the Coverage L limit; and
  1.   to a person on the insured location with the permis-                      e.    interest on the entire judgment that accrues after
       sion of an insured;                                                             entry of the judgment and before we pay or ten-
  2.   to a person off the insured location, if the bodily in-                         der, or deposit in court that part of the judgment
       jury:                                                                           that does not exceed the limit of liability that ap-
                                                                                       plies.
       a.     arises out of a condition on the insured location
              or the ways immediately adjoining;                          2.     First Aid Expenses. We will pay expenses for first
         b. is caused by the activities of an insured;                           aid to others incurred by an insured for bodily injury
                                                                                 covered under this policy. We will not pay for first aid
         c. is caused by a residence employee in the
                                                                                 to you or any other insured.
              course of the residence employee’s employ-
              ment by an insured; or                                      3.     Damage to Property of Others.
         d. is caused by an animal owned by or in the care                       a.    We will pay for property damage to property of
              of an insured; or
                                                                                       others caused by the activities of an insured.
  3. to a residence employee if the occurrence causing
         bodily injury occurs off the insured location and                       b.    We will not pay more than the smallest of the
         arises out of or in the course of the residence em-                           following amounts:
         ployee’s employment by an insured.
                                                                                       (1) replacement cost at the time of loss;
  SECTION II – ADDITIONAL COVERAGES
                                                                                       (2) full cost of repair; or
  The following Additional Coverages are subject to all the
  terms, provisions, exclusions, and conditions of this policy.                        (3) the limit of liability shown in the Declara-
  We will pay for the following in addition to the limits of lia-                          tions for Damage to Property of Others
  bility:                                                                                  for any one occurrence.
  1. Claim Expenses. We will pay:                                                c.    We will not pay for property damage:
       a.   expenses we incur and costs taxed against an                               (1) for a loss that is recoverable under Section
            insured in suits we defend. Taxed costs do not                                 I of this policy. We also will not pay for any
            include attorney fees;                                                         applicable deductible regardless of
       b.   premiums on bonds required in suits we defend,                                 whether the amount of the loss exceeds the
            but not for bond amounts greater than the Cov-                                 deductible;
            erage L limit. We are not obligated to apply for                           (2) caused intentionally by an insured 13
            or furnish any bond;                                                           years of age or older;
                                                                        24                                                          H6-2125
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            (3) to property, other than a rented golf cart, owned                             (c) a condition on the insured location or
                by, or rented to an insured, a tenant of an in-                                   the ways immediately adjoining; or
                sured, or a resident in your household;                                       (d) the ownership, maintenance, or use of
            (4) arising out of:                                                                   a motor vehicle, aircraft, or water-
                                                                                                  craft, including airboat, air cushion,
                 (a) business pursuits;                                                           personal watercraft, sail board, or sim-
                 (b) any act or omission in connection with                                       ilar type watercraft; or
                     a premises an insured owns, rents, or                             (5) if a payment is made under COVERAGE L –
                     controls, other than the insured loca-                                PERSONAL LIABILITY for the same
                     tion;                                                                 property damage.

                                              SECTION II – EXCLUSIONS
  1.   Coverage L and Coverage M do not apply to:                                b.    bodily injury or property damage arising out
                                                                                       of business pursuits of any insured, except as
       a.   bodily injury or property damage that:
                                                                                       provided in item c. below. This exclusion does
            (1) was a result of a:                                                     not apply to activities that are ordinarily incident
                 (a) willful and malicious; or                                         to non-business pursuits;

                 (b) criminal;                                                   c.    bodily injury or property damage arising out
                                                                                       of the rental of any part of any premises by any
                 act or omission of the insured;                                       insured. This exclusion does not apply:
            (2) was intended by the insured; or                                        (1) to the rental of the residence premises:
            (3) would have been expected by the insured                                       (a) either completely or in part, for exclu-
                based on a reasonable person standard.                                            sive use as a residence, for up to 30
            However, exclusions a.(2) and a.(3) above do                                          nights in the 12-month period prior to
            not apply to bodily injury or property damage                                         the date of the loss;
            resulting from the use of reasonable force to pro-                                (b) in part, for use as a permanent resi-
            tect persons or property.                                                             dence, by either one or two full-time
            Exclusions a.(1), a.(2), and a.(3) above apply to                                     roomers or boarders; or
            all bodily injury or property damage even if                                      (c) in part, as an office, school, studio, or
            the:                                                                                  private garage;
            (1) bodily injury or property damage was                                   (2) to farm land (without buildings), rented to
                sustained by a different person, entity, or                                others, but not to exceed a total of 500
                property than was expected or intended;                                    acres, regardless of the number of loca-
            (2) bodily injury or property damage was of                                    tions;
                a different kind, quality, or degree than was                          (3) with respect to loss under Coverage D; or
                expected or intended;
                                                                                       (4) to activities that are ordinarily incident to
            (3) insured lacked the mental capacity to con-                                 non-business pursuits;
                trol his or her conduct;
                                                                                 d.    bodily injury or property damage arising out
            (4) insured was not charged with or convicted                              of the rendering or failing to render professional
                of a criminal act or omission; or                                      services. This exclusion does not apply to Cov-
            (5) insured was impaired by drugs or alcohol;                              erage D;
                                                                        25                                                          H6-2125
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     e.   bodily injury or property damage arising out                                  (c) powered by one or more outboard mo-
          of any premises currently owned or rented to                                       tors with more than 25 total horse-
          any insured which is not an insured location.                                      power owned by any insured;
          This exclusion does not apply to bodily injury                                (d) designated as an airboat, air cushion,
          to a residence employee arising out of and in                                      or similar type of craft; or
          the course of the residence employee’s em-
          ployment by an insured;                                                       (e) owned by any insured if it is a per-
                                                                                             sonal watercraft using a water jet
     f.   bodily injury or property damage arising out                                       pump powered by an internal combus-
          of the ownership, maintenance, use, loading, or                                    tion engine as the primary source of
          unloading of:                                                                      propulsion.
          (1) an aircraft. This exclusion does not apply                           This exclusion does not apply to bodily injury
              to the ownership, maintenance, use, load-                            to a residence employee arising out of and in
              ing, or unloading of unmanned aircraft sys-                          the course of the residence employee’s em-
              tems used as model aircraft:                                         ployment by an insured. Exclusion f.(2) does
              (a) solely for recreational or hobby pur-                            not apply to an all-terrain vehicle or motorized
                  poses;                                                           bicycle owned by an insured while on an in-
                                                                                   sured location. Exclusion f.(3) does not apply
              (b) designed to be operated within the                               while the watercraft is on the residence prem-
                  visual line of sight of the operator and                         ises;
                  operated within the visual line of sight                   g.    bodily injury or property damage arising out
                  of the operator; and                                             of:
              (c) weighing not more than 55 pounds at                              (1) the entrustment by any insured to any per-
                  the time of operation;                                                son;
              unless the ownership, maintenance, use, load-                        (2) the supervision by any insured of any per-
              ing, or unloading of such aircraft results in:                            son;
              (a) property damage to any aircraft; or                              (3) any liability statutorily imposed on any in-
                                                                                        sured; or
              (b) bodily injury or property damage re-
                                                                                   (4) any liability assumed through an unwritten
                  sulting from interference with an air-                                or written agreement by any insured;
                  craft carrying people regardless of
                  whether the bodily injury or property                            with regard to the ownership, maintenance, or
                                                                                   use of any aircraft, watercraft, or motor vehicle
                  damage is sustained by people or
                                                                                   not covered under Section II of this policy;
                  property on the aircraft or not;
                                                                             h.    bodily injury or property damage caused di-
          (2) a motor vehicle owned or operated by or                              rectly or indirectly by war, including undeclared
              rented or loaned to any insured; or                                  war, or any warlike act including destruction, sei-
          (3) a watercraft:                                                        zure, or use for a military purpose, or any con-
                                                                                   sequence of these. Discharge of a nuclear
              (a) owned by or rented to any insured if it                          weapon will be considered a warlike act even if
                  has inboard or inboard-outdrive motor                            accidental;
                  power of more than 50 horsepower;
                                                                             i.    bodily injury to any insured within the meaning of
              (b) owned by or rented to any insured if                             part 11.a., 11.b., or 11.c. of the definition of in-
                  it is a sailing vessel, with or without                          sured.
                  auxiliary power, 26 feet or more in                              This exclusion also applies to any claim made or
                  overall length;                                                  suit brought against any insured within the
                                                                    26                                                          H6-2125
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          meaning of part 11.a., 11.b., or 11.c. of the defi-                       This exclusion does not apply to the legitimate
          nition of insured to share damages with or re-                            use of legally prescribed drugs, under either fed-
          pay someone else who may be obligated to pay                              eral or state law, by a person following orders of
          damages because of the bodily injury sus-                                 a licensed health care professional;
          tained by any insured within the meaning of part                    m. bodily injury or property damage arising out
          11.a., 11.b., or 11.c. of the definition of insured;                   of the actual, alleged, or threatened presence,
                                                                                 discharge, dispersal, seepage, migration, re-
     j.   any claim made or suit brought against any
          insured by:                                                            lease, escape of, or exposure to contaminants
                                                                                 or pollutants at or from any source or location.
          (1) any person in the care of any insured be-
              cause of child care services provided by or                           Contaminants and pollutants include but are not
              at the direction of:                                                  limited to any solid, liquid, gaseous, or thermal irri-
                                                                                    tant, including smoke from agricultural smudging or
               (a) any insured;                                                     industrial operations, smog, soot, vapor, fumes, ac-
               (b) any employee of any insured; or                                  ids, alkalis, chemicals, pathogens, noxious sub-
                                                                                    stances, fuel oil, asbestos, or lead.
               (c) any other person actually or appar-
                                                                                    This exclusion does not apply to bodily injury
                   ently acting on behalf of any insured;                           or property damage arising out of smoke or
                   or                                                               fumes caused by fire or explosion.
          (2) any person who makes a claim because of                               We also do not cover:
              bodily injury to any person in the care of
              any insured because of child care services                            (1) any loss, cost, or expense arising out of
              provided by or at the direction of:                                       any request, demand, order, or statutory or
                                                                                        regulatory requirement that any insured or
               (a) any insured;                                                         others test for, monitor, clean up, remove,
               (b) any employee of any insured; or                                      contain, treat, detoxify, neutralize, remedi-
                                                                                        ate, dispose of, or in any way respond to or
               (c) any other person actually or appar-                                  assess the effects of contaminants or pol-
                   ently acting on behalf of any insured.                               lutants;
          This exclusion does not apply to the occasional                           (2) any loss, cost, or expense arising out of
          child care services provided by any insured, or                               any claim or suit by or on behalf of a gov-
          to the part-time child care services provided by                              ernmental authority for damages because
          any insured under 19 years of age;                                            of testing for, monitoring, cleaning up, re-
     k.   bodily injury or property damage arising out                                  moving, containing, treating, detoxifying,
                                                                                        neutralizing, remediating, disposing of, or
          of an insured’s participation in, or preparation
                                                                                        in any way responding to or assessing the
          or practice for, any prearranged or organized                                 effects of contaminants or pollutants; or
          race, speed or demolition contest, or similar
          competition involving a motorized land vehicle                            (3) contamination or pollution arising out of ac-
                                                                                        tually or allegedly defective building mate-
          or motorized watercraft. This exclusion does not
                                                                                        rials, nuclear substances, or waste. Waste
          apply to a sailing vessel less than 26 feet in                                includes materials to be recycled, recondi-
          overall length with or without auxiliary power;                               tioned, or reclaimed;
     l.   bodily injury or property damage arising out                        n.    bodily injury or property damage arising out
          of the use, sale, manufacture, distribution, deliv-                       of any actual, alleged, or threatened:
          ery, transfer, or possession, by any insured, of
          any substance that is illegal or is a controlled                          (1) sexual harassment, sexual molestation, or
          substance under either federal or state law.                                  sexual misconduct;


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            (2) physical or mental abuse; or                                           (2) imposed on or assumed by any insured
            (3) corporal punishment;                                                       through any unwritten or written contract or
                                                                                           agreement. This exclusion does not apply
            by the insured;                                                                to liability for damages that the insured
       o.   bodily injury or property damage arising out                                   would have in absence of the contract or
            of the actual, alleged, or threatened inhalation                               agreement;
            of, ingestion of, contact with, exposure to, exist-
            ence of, or presence of any fungus at or from                        b.    property damage to property owned by any in-
            any source or location.                                                    sured at the time of the occurrence;
            We also do not cover any loss, cost, or expense                      c.    property damage to property rented to, used or
            arising out of any:                                                        occupied by, or in the care, custody, or control
            (1) request, demand, order, or statutory or reg-                           of any insured at the time of the occurrence.
                ulatory requirement that any insured or oth-                           This exclusion does not apply to property dam-
                ers test for, monitor, clean up, remove,                               age caused by fire, smoke, explosion, or abrupt
                contain, treat, detoxify, neutralize, remedi-                          and accidental damage from water;
                ate, dispose of, or in any way respond to or
                                                                                 d.    bodily injury to a person eligible to receive
                assess the effects of fungus; or
                                                                                       any benefits required to be provided or volun-
            (2) claim or suit for damages because of testing                           tarily provided by an insured or the condo-
                for, monitoring, cleaning up, removing, con-                           minium under a workers’ compensation, non-
                taining, treating, detoxifying, neutralizing, re-
                                                                                       occupational disability, or occupational dis-
                mediating, disposing of, or in any way
                                                                                       ease law;
                responding to or assessing the effects of
                fungus;                                                          e.    bodily injury or property damage for which an
                                                                                       insured under this policy is also an insured un-
       p.   bodily injury or property damage arising out
                                                                                       der a nuclear energy liability policy or would be
            of the ownership, maintenance, or use of sys-
                                                                                       an insured but for its termination upon exhaus-
            tems and equipment used to generate electrical
                                                                                       tion of its limit of liability. A nuclear energy lia-
            power exceeding 125 percent of the actual elec-
                                                                                       bility policy is a policy issued by Nuclear Energy
            trical power usage by the residence premises
                                                                                       Liability Insurance Association, Mutual Atomic
            in the 12-month period prior to the date of the
                                                                                       Energy Liability Underwriters, Nuclear Insur-
            loss; or
                                                                                       ance Association of Canada, or any of their suc-
       q.   liability assumed by any insured under any con-                            cessors; or
            tract or agreement to pay special assessments
                                                                                 f.    bodily injury or property damage arising out
            levied against the condominium owners by the
            association in accordance with the governing                               of any real property any insured has sold or
            rules of the condominium. This exclusion                                   transferred. This includes but is not limited to
            does not apply with respect to loss under Cov-                             bodily injury or property damage arising out
            erage D.                                                                   of known, unknown, hidden, or alleged property
                                                                                       conditions, problems, or defects.
  2.   Coverage L does not apply to:
       a.   liability:                                                                 This exclusion also applies to any property
                                                                                       damage to the sold or transferred real property
            (1) for your share of any loss assessment                                  itself.
                charged against all members of any type of
                association of property owners; or                                     However, this exclusion does not apply to:

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            (1) bodily injury arising out of fire, smoke, ex-                    b.    to a person eligible to receive any benefits required
                plosion, electrocution, or carbon monoxide                             to be provided or voluntarily provided under
                poisoning; or
                                                                                       any workers’ compensation, non-occupational
            (2) property damage arising out of fire,                                   disability, or occupational disease law;
                smoke, or explosion.
                                                                                 c.    to a person other than a residence employee
  3.   Coverage M does not apply to bodily injury:                                     of an insured, regularly residing on any part of
       a.   to a residence employee if it occurs off the                               the insured location; or
            insured location and does not arise out of or
                                                                                 d.    from nuclear reaction, radiation, or radioactive
            in the course of the residence employee’s
            employment by an insured. This exclusion                                   contamination, all whether controlled or uncon-
            does not apply with respect to loss under Cov-                             trolled or however caused, or any consequence
            erage D;                                                                   of any of these.



                                              SECTION II – CONDITIONS
  1.   Limit of Liability. The Coverage L limit is shown in                            (3) names and addresses of any claimants and
       the Declarations. This is the limit for all damages                                  available witnesses;
       from each occurrence for the policy period in which                       b.    immediately forward to us every notice, de-
       the bodily injury or property damage first occurs,                              mand, summons, or other process relating to the
       regardless of the number of insureds, claims made,                              accident or occurrence;
       or persons injured. No additional limits or coverage
       will be available for the occurrence under any addi-                      c.    at our request, assist in:
       tional policy periods while this policy remains in force.                       (1) making settlement;
       The Coverage M limit is shown in the Declarations.                              (2) the enforcement of any right of contribution or
       This is our limit for all medical expenses for bodily                               indemnity against a person or organization
       injury to one person as the result of one accident.
                                                                                           who may be liable to an insured;
  2.   Severability of Insurance. This insurance applies
       separately to each insured. This condition does not                             (3) the conduct of suits and attend hearings
       increase our limit of liability for any one occurrence.                             and trials; and
                                                                                       (4) securing and giving evidence and obtaining
  3.   Duties After Loss. In case of an accident or occur-
                                                                                           the attendance of witnesses;
       rence, the insured must cooperate with us in the in-
       vestigation, settlement, or defense of any claim or                       d.    under SECTION II – ADDITIONAL COVER-
       suit and also perform the following duties that apply.                          AGES, Damage to Property of Others, exhibit
       You must cooperate with us in seeing that these du-                             the damaged property if within the insured’s
                                                                                       control; and
       ties are performed:
                                                                                 e.    the insured must not, except at the insured’s
       a.   give written notice to us or our agent as soon as
                                                                                       own cost, voluntarily make payments, assume
            possible, which sets forth:                                                obligations, or incur expenses. This does not
            (1) the identity of this policy and the insured;                           apply to expense for first aid to others at the time
            (2) reasonably available information on the                                of the bodily injury.
                time, place, and circumstances of the acci-               4.     Coverage M Requirements. We may require the fol-
                dent or occurrence; and                                          lowing in regard to any Coverage M claim:

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       a.   written proof of claim, under oath if required, as                 No one will have the right to join us as a party to an
            soon as possible from the injured person, or                       action against an insured. Further, no action with re-
            when appropriate, someone acting on behalf of                      spect to Coverage L will be brought against us until
            that person;                                                       the obligation of the insured has been determined by
                                                                               final judgment on the merits, after an actual trial or by
       b.   the injured person’s submission to physical ex-
                                                                               an agreement signed by us; but we will not be liable
            aminations by a physician selected by us when
                                                                               for damages that are not payable under the terms of
            and as often as we reasonably require; and
                                                                               this policy or that are in excess of the applicable Limit
       c.   any authorizations from the injured person as                      of Liability.
            we may require.
                                                                        7.     Bankruptcy of an Insured. Bankruptcy or insolvency
  5.   Payment of Claim – Coverage M or Damage to                              of an insured will not relieve us of our obligation un-
       Property of Others. Payment under either of these                       der this policy.
       is not an admission of liability by an insured or us.            8.     Other Insurance – Coverage L. This insurance is
                                                                               excess over any other valid and collectible insur-
  6.   Suit Against Us. No action will be brought against                      ance except insurance written specifically to cover
       us unless there has been compliance with the policy                     as excess over the limits of liability that apply in this
       provisions.                                                             policy.

                               SECTION I AND SECTION II – CONDITIONS
  1.   Policy Period. This policy applies only to loss under                   b.    We may cancel this policy only for the reasons
       Section I or bodily injury or property damage under                           stated in this condition. We will notify you in writ-
       Section II that occurs during the period this policy is                       ing of the date cancellation takes effect, stating
       in effect.                                                                    the reason for cancellation. This cancellation no-
                                                                                     tice may be delivered to you, or mailed to you
  2.   Concealment or Fraud. This policy is void as to you
       and any other insured if you or any other insured                             at your last mailing address shown in the Dec-
       under this policy has intentionally concealed or mis-                         larations. Proof of mailing will be sufficient proof
                                                                                     of notice:
       represented any material fact or circumstance relat-
       ing to this insurance, whether before or after a loss.                        (1) When you have not paid the premium, we
                                                                                         may cancel at any time by notifying you at
  3.   Liberalization Clause. If we adopt any revision that
                                                                                         least 10 days before the date cancellation
       would broaden coverage under this policy without ad-                              takes effect. This condition applies whether
       ditional premium, within 60 days prior to or during the                           the premium is payable to us or our agent
       period this policy is in effect, the broadened coverage                           or under any finance or credit plan.
       will immediately apply to this policy.
                                                                                     (2) When this policy has been in effect for less
  4.   Waiver or Change of Policy Provisions. A waiver                                   than 60 days and is not a renewal with us,
       or change of any provision of this policy must be in                              we may cancel for any reason by notifying
       writing by us to be valid. Our request for an appraisal                           you at least 30 days before the date can-
       or examination does not waive any of our rights.
                                                                                         cellation takes effect.
  5.   Cancellation.
                                                                                     (3) When this policy has been in effect for 60
       a.   You may cancel this policy at any time by giving                             days or more, or at any time if it is a renewal
            us advance written notice of the date cancella-                              with us, we may cancel:
            tion is to take effect. We may waive the require-
            ment that the notice be in writing by confirming                                (a) for fraud or material misrepresentation
            the date and time of cancellation to you in writ-                                   affecting the policy or in the presenta-
            ing.                                                                                tion of a claim thereunder, or violation
                                                                      30                                                           H6-2125
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                       of any of the terms or conditions of the                                before a loss, an insured may waive in
                       policy;                                                                 writing all rights of recovery against any
                  (b) if the named insured or any occupant                                     person.
                      of the property has been convicted of                             (2) Applicable to SECTION II:
                      a crime arising out of acts increasing                                   If any insured has rights to recover all or
                      the hazard insured against; or                                           part of any payment we have made under
                  (c) if physical changes in the property in-                                  this policy, those rights are transferred to
                      sured increase the hazards originally                                    us. An insured must do nothing after loss
                      insured.                                                                 to impair them. At our request, an insured
                  We may cancel this policy by notifying you                                   will bring suit or transfer those rights to us
                  at least 30 days before the date cancella-                                   and help us enforce them.
                  tion takes effect.                                                    Subrogation does not apply under Section II to
       c.   When this policy is cancelled, the premium for                              Medical Payments to Others or Damage to
            the period from the date of cancellation to the                             Property of Others.
            expiration date will be refunded. The return pre-                     b.    Reimbursement.
            mium will be pro rata.
                                                                                        If we make payment under this policy and any
       d.   The return premium may not be refunded with                                 insured to or for whom we make payment re-
            the notice of cancellation or when this policy is                           covers or has recovered from another person or
            returned to us. In such cases, we will refund it                            organization, then the insured to or for whom
            within a reasonable time after the date cancella-                           we make payment must:
            tion takes effect.
                                                                                        (1) hold in trust for us the proceeds of any re-
  6.   Nonrenewal. We may elect not to renew this policy.                                   covery; and
       If we elect not to renew, a written notice will be deliv-
       ered to you, or mailed to you at your last mailing ad-                           (2) reimburse us to the extent of our payment.
       dress shown in the Declarations. The notice will                    9.     Death. If you die:
       state the reason for the refusal to renew and will be                      a.    we insure the legal representative of the de-
       mailed or delivered at least 30 days before the expi-                            ceased. This condition applies only with respect
       ration date of this policy. Proof of mailing will be suffi-                      to the premises and property of the deceased
       cient proof of notice.                                                           covered under this policy at the time of death;
  7.   Assignment of Policy. Assignment of this policy will                       b.    insured includes:
       be void and we will not recognize any such assign-                               (1) any member of your household who is an
       ment, unless we give our written consent.                                            insured at the time of your death, but only
  8.   Subrogation and Reimbursement.                                                       while a resident of the residence prem-
                                                                                            ises; and
       a.   Subrogation.
                                                                                        (2) with respect to your property, the person
            (1) Applicable to SECTION I:
                                                                                            having proper temporary custody of the
                  If any insured to or for whom we make                                     property until appointment and qualification
                  payment under this policy has rights to re-                               of a legal representative.
                  cover damages from another, those rights
                  are transferred to us to the extent of our               10. Conformity to State Law. When a policy provision
                  payment. That insured must do everything                     is in conflict with the applicable law of the state in
                  necessary to secure our rights and must do                   which this policy is issued, the law of the state will
                  nothing after loss to impair them. However                   apply.

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  11. Premium.                                                                             or quality of any product or service offered
     a.   Unless as otherwise provided by an alternative                                   or provided by that organization.
          payment plan in effect with the State Farm                   12. Right to Inspect.
          Companies with respect to the premium for this
          policy, the premium is due and payable in full on                   a.    We have the right but are not obligated to per-
          or before the first day of the policy period shown                        form the following:
          in the most recently issued Declarations.
                                                                                    (1) make inspections and surveys of the in-
     b.   The renewal premium for this policy will be                                   sured location at any time;
          based upon the rates in effect, the coverages
          carried, the applicable limits, deductibles, and                          (2) provide you with reports on conditions we
          other elements that affect the premium applica-                               find; or
          ble at the time of renewal.
                                                                                    (3) recommend changes.
     c.   The premium for this policy may vary based
          upon:                                                                     Any inspections, surveys, reports, or recom-
                                                                                    mendations relate only to insurability and the
          (1) the purchase of other products or services                            premiums to be charged.
              from the State Farm Companies;
                                                                              b.    We do not:
          (2) the purchase of products or services from an
              organization that has entered into an agree-                          (1) make safety inspections;
              ment or contract with the State Farm Com-                             (2) undertake to perform the duty of any per-
              panies. The State Farm Companies do not                                   son or organization to provide for the health
              warrant the merchantability, fitness, or quality                          or safety of workers or the public;
              of any product or service offered or provided
              by that organization; or                                          (3) warrant that conditions are safe or health-
                                                                                      ful; or
          (3) an agreement, concerning the insurance                            (4) warrant that conditions comply with laws,
              provided by this policy, that the State Farm                            regulations, codes, or standards.
              Companies has with an organization of
              which you are a member, employee, sub-                       This condition applies to us and to any rating, advi-
              scriber, licensee, or franchisee.                            sory, rate service, or similar organization that makes
                                                                           insurance inspections, surveys, reports, or recom-
     d.   Your purchase of this policy may allow:                          mendations on our behalf.
          (1) you to purchase or obtain certain coverages,             13. Joint and Individual Interests. When there are two
              coverage options, coverage deductibles,                      or more Named Insureds, each acts for all to cancel
              coverage limits, or coverage terms on other                  or change this policy.
              products from the State Farm Compa-
              nies, subject to their applicable eligibility            14. Change of Policy Address. We may change the
              rules; or                                                    Named Insured’s policy address as shown in the
                                                                           Declarations and in our records to the most recent
          (2) the premium or price for other products or                   address provided to us by:
              services purchased by you, including non-
                                                                              a.    you; or
              insurance products or services, to vary.
              Such other products or services must be                         b.    the United States Postal Service.
              provided by the State Farm Companies or                  15. Electronic Delivery. With your consent, we may
              by an organization that has entered into an                  electronically deliver any document or notice, includ-
              agreement or contract with the State Farm                    ing a notice to renew, nonrenew, or cancel, instead of
              Companies. The State Farm Companies                          mailing it or delivering it by other means. Proof of
              do not warrant the merchantability, fitness,                 transmission will be sufficient proof of notice.
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  16. Our Rights Regarding Claim Information.                                         (1) to enable performance of our business
       a.   We will collect, receive, obtain, use, and retain                             functions;
            all the items described in item b.(1) below and                           (2) to meet our reporting obligations to insur-
            use and retain the information described in item                              ance regulators;
            b.(3)(b) below, in accordance with applicable
            federal and state laws and regulations and con-                           (3) to meet our reporting obligations to insur-
            sistent with the performance of our business                                  ance data consolidators;
            functions.
                                                                                      (4) to meet other obligations required by law;
       b.   Subject to 16.a. above, we will not be restricted                             and
            in or prohibited from:
            (1) collecting, receiving, or obtaining records,                          (5) as otherwise permitted by law.
                receipts, invoices, medical bills, medical                      d.    Our rights under 16.a., 16.b., and 16.c. above
                records, wage information, salary infor-                              will not be impaired by any:
                mation, employment information, data, and                             (1) authorization related to any claim submit-
                any other information;                                                    ted under this policy; or
            (2) using any of the items described in item                              (2) act or omission of an insured or a legal
                b.(1) above; or                                                           representative acting on an insured’s be-
                                                                                          half.
            (3) retaining:
                 (a) any of the items in item b.(1) above; or            17. Duties Regarding Claim Information. An insured
                                                                             or a legal representative acting on an insured’s be-
                 (b) any other information we have in our                    half must provide us with any requested authoriza-
                     possession as a result of our processing,               tions related to the claim. Our rights as set forth
                     handling, or otherwise resolving claims                 under Our Rights Regarding Claim Information of
                     submitted under this policy.                            this policy will not be impaired by any:
       c.   We may disclose any of the items in b.(1) above                     a.    authorization related to the claim; or
            and any of the information described in item                        b.    act or omission of an insured or a legal repre-
            b.(3)(b) above:                                                           sentative acting on an insured’s behalf.

                                       OPTIONAL POLICY PROVISIONS
  Each Optional Policy Provision applies only as shown in                This option applies only with respect to the location shown
  the Declarations and is subject to all the terms, provi-               in the Declarations.
  sions, exclusions, and conditions of this policy.                      Option BP – Business Property. The COVERAGE B –
  Option AI – Additional Insured. The definition of insured is           PERSONAL PROPERTY, Special Limits of Liability,
  extended to include the person or organization shown in                item b., for property used or intended for use in a busi-
  the Declarations as an Additional Insured or whose name                ness, including merchandise held as samples or for sale
  is on file with us. Coverage is with respect to:                       or for delivery after sale, is changed as follows:
  1.   SECTION I – Coverage A, Coverage B, or Cover-                            The $1,500 limit is replaced with the amount shown
       age C; or                                                                in the Declarations for this option.
  2.   SECTION II – Coverage L and Coverage M but only                   Option BU – Business Pursuits. SECTION II – EXCLU-
       with respect to the residence premises. This cover-               SIONS, item 1.b. is modified as follows:
       age does not apply to bodily injury to an employee
       arising out of or in the course of the employee’s em-             1.     Section II coverage applies to the business pursuits
       ployment by the person or organization.                                  of an insured who is a:

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       a.   clerical office employee, salesperson, collector,                               by the insured for the purpose of instruc-
            messenger; or                                                                   tion in the use thereof; or
       b.   teacher (except college, university, and profes-                         (2) under Coverage M for bodily injury to a
            sional athletic coaches), school principal, or                               student arising out of corporal punishment
            school administrator;                                                        administered by or at the direction of the in-
                                                                                         sured.
       while acting within the scope of the above listed oc-
       cupations.                                                       Option FA – Firearms. Firearms are covered for acci-
                                                                        dental direct physical loss or damage.
  2.   However, no coverage is provided:
                                                                        The limits for this option are shown in the Declarations.
       a.   for bodily injury or property damage arising                The first amount is the limit for any one article; the sec-
            out of a business owned or financially con-                 ond amount is the aggregate limit for each loss.
            trolled by the insured or by a partnership of
            which the insured is a partner or member;                   The following additional provisions apply:
       b.   for bodily injury or property damage arising                1.     We will not pay for any loss to the property described in
            out of the rendering of or failure to render pro-                  this option either consisting of, or directly and imme-
            fessional services of any nature (other than                       diately caused by, one or more of the following:
            teaching or school administration). This exclu-
            sion includes but is not limited to:                               a.    mechanical breakdown, wear and tear, or
                                                                                     gradual deterioration;
            (1) computer programming, architectural, en-
                gineering, or industrial design services;                      b.    all animals, birds, or insects, including nesting,
                                                                                     infestation, gnawing, feeding, breeding, or dis-
            (2) medical, surgical, dental, or other services                         charge or release of waste products or secre-
                or treatment conducive to the health of per-                         tions by animals, birds, or insects. However, we
                sons or animals; and                                                 will pay for losses caused by wild bears or deer;
            (3) beauty or barber services or treatment;                        c.    any process of refinishing, renovating, or repair-
       c.   for bodily injury to a fellow employee of the in-                        ing;
            sured injured in the course of employment; or                      d.    dampness of atmosphere or extremes of tem-
       d.   when the insured is a member of the faculty or                           peratures;
            teaching staff of a school or college:                             e.    inherent defect or faulty manufacture;
            (1) for bodily injury or property damage aris-                     f.    rust, fouling, or explosion of firearms;
                ing out of the maintenance, use, loading, or
                unloading of:                                                  g.    breakage, marring, scratching, tearing, or dent-
                                                                                     ing unless caused by fire, thieves, or accidents
                 (a) draft or saddle animals, including ve-                          to conveyances; or
                     hicles for use with them; or
                                                                               h.    infidelity of an insured’s employees or persons
                 (b) aircraft, motor vehicles, recreational                          to whom the insured property may be entrusted
                     motor vehicles or watercraft, air-                              or rented;
                     boats, air cushions, or personal water-
                     craft which use a water jet pump                   2.     Our limit for loss by any Coverage B peril except theft
                     powered by an internal combustion                         is the limit shown in the Declarations for Coverage
                     engine as the primary source of pro-                      B, plus the aggregate limit;
                     pulsion;                                           3.     Our limits for loss by theft are those shown in the
                 owned, operated, or hired by or for the in-                   Declarations for this option. These limits apply in
                 sured or employer of the insured or used                      lieu of the Coverage B theft limit; and


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  4.   Our limits for loss by any covered peril except those                   c.    liability arising out of any acts, errors, or omis-
       in items 2. and 3. above are those shown in the Dec-                          sions of an insured, or any other person for
       larations for this option.                                                    whose acts an insured is liable, resulting from
                                                                                     the preparation or approval of data, plans, de-
  Option IO – Incidental Business. The coverage provided                             signs, opinions, reports, programs, specifications,
  by this option applies only to that incidental business oc-                        supervisory inspections, or engineering services in
  cupancy on file with us.                                                           the conduct of an insured’s incidental business
                                                                                     involving data processing, computer consulting,
  1.   COVERAGE B – PERSONAL PROPERTY is ex-
       tended to include equipment, supplies, and furnish-                           or computer programming; or
       ings usual and incidental to this business                              d.    any claim made or suit brought against any in-
       occupancy. This Optional Policy Provision does not                            sured by:
       include electronic data processing system equipment                           (1) any person in the care of any insured be-
       or the recording or storage media used with that                                     cause of child care services provided by or
       equipment or merchandise held as samples or for                                      at the direction of:
       sale or for delivery after sale.
                                                                                            (a) any insured;
       The Option IO limits are shown in the Declarations.
       The first limit applies to property on the residence                                 (b) any employee of any insured; or
       premises. The second limit applies to property while                                 (c) any other person actually or appar-
       off the residence premises. These limits are in ad-                                      ently acting on behalf of any insured;
       dition to the COVERAGE B – PERSONAL PROP-                                                or
       ERTY, Special Limits of Liability on property used or
                                                                                     (2) any person who makes a claim because of
       intended for use in a business.
                                                                                         bodily injury to any person in the care of
  2.   Under Section II, the residence premises is not con-                              any insured because of child care services
       sidered business property because an insured oc-                                  provided by or at the direction of:
       cupies a part of it as an incidental business.
                                                                                        (a) any insured;
  3.   SECTION II – EXCLUSIONS, item 1.b. is replaced
       with the following:                                                              (b) any employee of any insured; or
                                                                                        (c) any other person actually or appar-
            b.   bodily injury or property damage arising                                    ently acting on behalf of any insured.
                 out of business pursuits of any insured,
                 except as provided in item c. below. This                         Coverage M does not apply to any person indi-
                 exclusion does not apply to activities that                       cated in d.(1) and d.(2) above.
                 are ordinarily incident to non-business                           This exclusion does not apply to the occasional
                 pursuits or to business pursuits of an in-                        child care services provided by any insured, or
                 sured that are necessary or incidental to                         to the part-time child care services provided by
                 the use of the residence premises as an                           any insured under 19 years of age.
                 incidental business;                                   Option JF – Jewelry and Furs. Jewelry, watches, fur
  4.   This insurance does not apply to:                                garments and garments trimmed with fur, precious and
       a. bodily injury to an employee of an insured                    semi-precious stones, gold other than goldware, silver
                                                                        other than silverware, and platinum are covered for acci-
            arising out of the residence premises as an in-
                                                                        dental direct physical loss or damage.
            cidental business other than to a residence
            employee while engaged in the employee’s em-                The limits for this option are shown in the Declarations.
                                                                        The first amount is the limit for any one article; the second
            ployment by an insured;
                                                                        amount is the aggregate limit for each loss. All provisions
       b.   bodily injury to a student arising out of corporal          and exclusions of SECTION I – LOSSES INSURED, COV-
            punishment administered by or at the direction              ERAGE B – PERSONAL PROPERTY, Theft apply to Op-
            of the insured;                                             tion JF.
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  The following additional provisions apply:                              2.     Our limit for loss by any Coverage B peril except theft
  1. We will not pay for any loss to the property described in                   is the limit shown in the Declarations for Coverage
       this option either consisting of, or directly and immedi-                 B, plus the aggregate limit;
       ately caused by, one or more of the following:                     3.     Our limits for loss by theft are those shown in the
       a. mechanical breakdown, wear and tear, or                                Declarations for this option. These limits apply in
             gradual deterioration;                                              lieu of the Coverage B theft limit; and
       b. all animals, birds or insects, including nesting,               4.     Our limits for loss by any covered peril except those
             infestation, gnawing, feeding, breeding, or dis-                    in items 2. and 3. above are those shown in the Dec-
                                                                                 larations for this option.
             charge or release of waste products or secre-
             tions by animals, birds, or insects. However, we             Option SG – Silverware and Goldware Theft. The COV-
             will pay for losses caused by wild bears or deer;            ERAGE B – PERSONAL PROPERTY, Special Limits of
       c. inherent vice; or                                               Liability, item i., for theft of silverware and goldware is in-
       d. seizure or destruction under quarantine or cus-                 creased to be the amount shown in the Declarations for
             toms regulations;                                            this option.




   MISSOURI PROPERTY AND CASUALTY INSURANCE GUARANTY ASSOCIATION
                        COVERAGE LIMITATIONS
  1.   Subject to the provisions of the Missouri Property                                the date the insurer becomes insolvent; pro-
       and Casualty Insurance Guaranty Association Act                                   vided that an insured’s net worth on such date
       (to be referred to as the Act), if we are a member of                             shall be deemed to include the aggregate net
       the Missouri Property and Casualty Insurance Guar-                                worth of the insured and all of its affiliates as
       anty Association (to be referred to as the Associa-                               calculated on a consolidated basis.
       tion), the Association will pay claims covered under
                                                                                  b.     Payments made by the Association for covered
       the Act if we become insolvent.
                                                                                         claims will include only that amount of each
  2.   The Act contains various exclusions, conditions and                               claim which is less than $300,000.
       limitations that govern a claimant’s eligibility to col-
       lect payment from the Association and affect the                                  However, the Association will not:
       amount of any payment. The following limitations                                  (1) Pay an amount in excess of the applicable
       apply subject to all other provisions of the Act:                                     limit of insurance of the policy from which
       a.   Claims covered by the Association do not in-                                     a claim arises; or
            clude a claim by or against an insured of an
            insolvent insurer, if the insured has a net worth                            (2) Return to an insured any unearned pre-
            of more than $25 million on the later of the end                                 mium in excess of $25,000.
            of the insured’s most recent fiscal year or the                 These limitations have no effect on the coverage we will
            December thirty-first of the year next preceding                provide under this policy.




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AMENDATORY ENDORSEMENT – SECTION I – CONDITIONS – SUIT AGAINST US (Missouri)

This endorsement modifies insurance provided under the HOMEOWNERS POLICY, CONDOMINIUM UNITOWNERS POLICY,
and RENTERS POLICY
Under SECTION I – CONDITIONS, Suit Against Us is replaced by the following:
    Suit Against Us. No action will be brought against us unless there has been full compliance with all of the policy provisions.
    Any action by any party must be started within ten years after the cause of action accrues.
All other policy provisions apply.
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                                    Certified Policy Record

I, the undersigned, do hereby confirm that I am custodian of the records pertaining to the issuance of
policies by State Farm Fire and Casualty Company.

I certify that the attached documents represent a true and accurate record of the terms and conditions
of Policy Number 25-L9-6846-2 including any endorsements, if applicable, for the policy term(s)
03/09/2023 to 03/09/2024 and insuring DOUGHERTY, SEAN P based on available records.




                                                      _________________________________
                                                      Codie Harris
                                                      Underwriter
                                                      Date:___________________
                                                           02/03/2025




                                                                                                      Page 1 of 1

1011493                                                                                2000 157822 200 02-09-2022
                 State Farm Fire and Casualty Company
                 A Stock Company WithCase:    4:25-cv-00729-JMB
                                      Home Offices in Bloomington, Illinois   Doc. #: 1-2 Filed: 05/19/25          Page: 113 of 162 PageID
                                                                                         #: 172
                 Po Box 2356
                 Bloomington IL 61702-2356                                                                                                          ____


                                                                                    DECLARATIONS
                 AT1                  H-14-6239-FBC5 F H 6
                           000914 3201       3201
                 DOUGHERTY, SEAN P
                 2578 COPPERGATE SQ DR APT K                                        AMENDED DEC 1 2023
                 SAINT LOUIS MO 63129-6197

                                                                                    AMOUNT DUE:                                   enoN
____                                                                                                                                                ____
                                                                                    Payment is due by BILLED THRU SFPP                              ____
____                                                                                                                                                ____
                                                                                    Policy Number:       25-L9-6846-2
0102-0004




                                                                                    Policy Period: 12 Months
                                                                                    Effective Dates: MAR 9 2023 to MAR 9 2024
ST-




                                                                                    The policy period begins and ends at 12:01 am standard
                                                                                    time at the residence premises.

            CONDOMINIUM UNITOWNERS POLICY                                           Your State Farm Agent
                                                                                    KEVIN J THOMAS
            Location of Residence Premises                                          3434 MCKELVEY RD
            2578 COPPERGATE SQ DR APT K                                             BRIDGETON MO 63044-2525
            SAINT LOUIS MO 63129-6197




                                                                                                                                                     3201 14
                                                                                    Phone: (314) 291-5353
            Construction:                Frame
            Year Built:                  2003
            Automatic Renewal




                                                                                                                                                     000914 H
            If the POLICY PERIOD is shown as 12 MONTHS, this policy will be renewed automatically subject to the premiums, rules,
            and forms in effect for each succeeding policy period. If this policy is terminated, we will give you and the Mortgagee/Lien-




                                                                                                                                                     60
            holder written notice in compliance with the policy provisions or as required by law.


            IMPORTANT MESSAGES
            Your policy is amended DEC 1 2023
            HOME/AUTO DISCOUNT CHANGED

            State Farm Customer Call Center Telephone Number: 800-782-8332

            PREMIUM
            Endorsement Premium                                                                                                     ENON
            Your premium has already been adjusted by the following:
            Home Alert
            Home/Auto
            Claim Record
            Loyal Customer




            Prepared NOV 29 2023                                                                                                      Page 1 of 3
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            004522 260 I                                                                                                (o1F1080B) 04-04-2016
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           NAMED INSURED                                             MORTGAGEE AND ADDITIONAL INTERESTS
           DOUGHERTY, SEAN P




           SECTION I - PROPERTY COVERAGES AND LIMITS
           Coverage                                                                                        Limit of Liability
           A Building Property                                                                             $        009,311
           B Personal Property                                                                             $        006,54
           C Loss of Use                                                                                   $        040,14
           D Loss Assessment                                                                               $        000,01
           Additional Coverages
           Arson Reward                                                           000,1$
           Credit Card, Bank Fund Transfer Card, Forgery, and Counterfeit Money   000,1$
           Debris Removal                                                         sirbed eert 000,1$/elbaliava %5 lanoitiddA
           Fire Department Service Charge                                         ecnerrucco rep 005$
           Fuel Oil Release                                                       000,01$
           Locks and Remote Devices                                               000,1$
           Trees, Shrubs, and Landscaping                                         meti rep 057$/tnuoma B egarevoC fo %5
           SECTION II - LIABILITY COVERAGES AND LIMITS
           Coverage                                                                                        Limit of Liability




                                                                                                                                 NOV 29 2023
           L Personal Liability (Each Occurrence)                                                          $        000,003
           Damage to the Property of Others                                                                $        000,1
           M Medical Payments to Others (Each Person)                                                      $        000,1
           INFLATION
           Inflation Coverage Index: 298.0
           DEDUCTIBLES
           Section I Deductible                                                                         Deductible Amount
o1F1081A




           Earthquake 20%
           Other Losses
           LOSS SETTLEMENT PROVISIONS
           Replacement Cost - Similar Construction - Coverage A
           B1 Limited Replacement Cost - Coverage B




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                       FORMS, OPTIONS, AND ENDORSEMENTS
                       H6-2125                Condominium Unitowners Policy
                       HO-2355                Amendatory Endorsement
                       HO-2274.1              Amendatory Endorsement
                       HO-2415.1              Earthquake Endorsement
                       HO-2445.2              Back-Up Of Sewer Or Drain -
                                              15% of Coverage B/$ 6,840


                                              Other limits and exclusions may apply - refer to your policy
    0202-0004
    ST-
o1F1083A




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This policy is one of the broadest
forms available today, and provides
you with outstanding value for your in-
surance dollars. However, we want
to point out that every policy contains
limitations and exclusions.      Please
read your policy carefully, especially
“Losses Not Insured” and all exclusions.


                                                State Farm®
                                                Condominium
                                                Unitowners
                                                Policy




                                                Missouri
                                                H6-2125
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                                             CONDOMINIUM UNITOWNERS POLICY


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                                   CONDOMINIUM UNITOWNERS POLICY
                                                            AGREEMENT
  We agree to provide the insurance described in this policy:              3.     we insure you on the basis your statements are true;
                                                                                  and
  1.   based on your payment of premium, in a form ac-
       ceptable to us, for the coverages you chose;                        4.     this policy contains all of the agreements between
                                                                                  you and us and any of our agents.
  2.   based on your compliance with all applicable provi-
       sions of this policy; and                                           Unless otherwise indicated in the application, you state
                                                                           that during the five years preceding the time of your appli-
  3.   based on the information you have given us and                      cation for this insurance you have not had any losses, in-
       your statements in this agreement.                                  sured or not.
  You agree, by acceptance of this policy, that:                           When you request changes to this policy, or the infor-
                                                                           mation or factors used to calculate the premium for this
  1.   you will pay premiums when due and comply with the                  policy changes during the policy period, we may adjust the
       provisions of this policy;                                          premium in accordance with the change during the policy
  2.   the statements in this agreement are your state-                    period and you must pay any additional premium due
       ments and are true;                                                 within the time we specify.

                                                            DEFINITIONS
  We define the following words and phrases for use                               of the damaged part of the property.
  throughout this policy. These definitions apply to the sin-              2.     “association” means the management body of the
  gular, plural, and possessive forms of these words and
                                                                                  unitowners collectively.
  phrases. Defined words and phrases are printed in bold
  italics.                                                                 3.     “bodily injury” means physical injury, sickness, or
  1. “actual cash value” means the value of the dam-                              disease to a person. This includes required care,
        aged part of the property at the time of loss, calcu-                     loss of services, and death resulting therefrom.
        lated as the estimated cost to repair or replace such                     Bodily injury does not include:
        property, less a deduction to account for pre-loss de-
        preciation. For this calculation, all components of this                  a.    any of the following which are communicable:
        estimated cost including, but not limited to:                                   disease, bacteria, parasite, virus, or other or-
        a. materials, including any tax;                                                ganism, any of which are transmitted by any in-
                                                                                        sured to any other person;
        b. labor, including any tax; and
        c. overhead and profit;                                                   b.    the actual or alleged exposure to any such dis-
                                                                                        ease, bacteria, parasite, virus, or other organism
        are subject to depreciation.
                                                                                        by any insured to any other person; or
        The depreciation deduction may include such consid-
        erations as:                                                              c.    emotional distress, mental anguish, humiliation,
                                                                                        mental distress, mental injury, or any similar in-
       a.   age;
                                                                                        jury unless it arises out of actual physical injury
       b.   condition;                                                                  to some person.
       c.   reduction in useful life;                                      4.     “building structure” means a structure fully en-
       d.   obsolescence; and                                                     closed with permanent walls and a roof. A permanent
                                                                                  wall or roof does not include any kind of temporary
       e.   any pre-loss damage including wear, tear, or de-                      materials including but not limited to tarps, plastic
            terioration;                                                          sheeting, or other similar material. A structure that is

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       otherwise fully enclosed with permanent walls and a                           of age, including but not limited to, child care,
       roof, that is undergoing repairs due to a recent loss                         lawn mowing, or paper delivery;
       insured, using materials such as tarps, plastic sheet-
       ing, or other similar material, is still considered a                   d.    the ownership, maintenance, or use of systems
       building structure.                                                           and equipment used to generate electrical
                                                                                     power up to but not exceeding 125 percent of
       A building structure includes:
                                                                                     the actual electrical power usage by the resi-
       a.   the foundation supporting the structure, includ-                         dence premises in the 12-month period prior to
            ing:                                                                     the date of the loss; or
            (1) slabs;                                                         e.    ownership of the residence premises by the
            (2) basement walls;                                                      person or organization shown in the Declara-
                                                                                     tions as Additional Insured.
            (3) crawl space walls;
                                                                        6.     “condominium” means the condominium, home-
            (4) footings; and                                                  owners development, planned unit development,
            (5) gravel, stone, or sand, used as fill material                  townhouse development, cooperative development,
                and located not more than 12 inches di-                        or any similar unit development, governed by the as-
                rectly below a slab described in item a.(1),                   sociation of all unitowners of which you are a mem-
                including water supply lines, domestic wa-                     ber and in which the residence premises is located.
                ter pipes, and sewer pipes located within               7.     “Declarations” means the policy Declarations, any
                this fill material; and                                        amended Declarations, the most recent renewal
       b.   wall-to-wall carpeting attached to the structure.                  Declarations, an Evidence of Insurance form, or any
                                                                               endorsement changing any of these.
  5.   “business” means any full-time or part-time activity,
       trade, profession, employment, or occupation or a                8.     “diminution in value” means any reduction in the
       commercial, mercantile, or industrial undertaking                       value of any covered property prior to or following re-
       of an economic nature. It does not matter whether                       pair or replacement as compared to the value of that
       it is continuous or regular, is a secondary or sup-                     property immediately before the loss.
       plemental source of income, or is an insured's prin-             9.     “dwelling” means that part of the building structure
       cipal means of livelihood. Profit and profit motive are                 on the residence premises used as the primary pri-
       irrelevant.                                                             vate residence.
       Business does not include:                                       10. “fungus” means any type or form of fungus, includ-
       a.   volunteer activities for a not-for-profit or non-               ing mold, mildew, mycotoxins, spores, scents, or by-
            profit organization or public agency for which no               products produced or released by fungi.
            money is received other than payment of ex-                 11. “insured” means:
            penses;
                                                                               a.    you;
       b.   incidental and infrequent personal economic ac-
                                                                               b.    your relatives; and
            tivity such as a hobby, garage or yard sale, or
            traditional farm activities when the farm products                 c.    any other person under the age of 21 in the care
            are intended only for the personal use of the in-                        of a person described above.
            sured;                                                            Under Section II, insured also means:
       c.   any occasional or part-time self-employed ac-                      d.    the person or organization legally responsible
            tivity by a person under 19 years of age that in-                        for animals or watercraft to which this policy ap-
            volves no employees or subcontracted                                     plies. However, the animal or watercraft must
            independent contractors and is a type of activity                        be owned by you or a person included in 11.b
            normally performed by persons under 19 years                             or 11.c. above. A person or organization using

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           or having custody of these animals or watercraft                    INSURED, COVERAGE B – PERSONAL PROP-
           in the course of a business, or without permis-                     ERTY.
           sion of the owner, is not an insured; and                    14. “motor vehicle”, when used in Section II of this pol-
      e.   with respect to any vehicle to which this policy                 icy, means:
           applies, any person while engaged in your em-                       a.    a land motor vehicle designed for travel on
           ployment or the employment of a person in-                                public roads or subject to motor vehicle registra-
           cluded in 11.b or 11.c. above.
                                                                                     tion;
  12. “insured location” means:                                                b.    a trailer or semi-trailer designed for travel on
      a.   the residence premises;                                                   public roads and subject to motor vehicle regis-
      b.   the part of any other premises, other structures,                         tration;
           and grounds used by you as a residence. This                        c.    a “recreational or utility vehicle” while off an in-
           includes premises, structures, and grounds you                            sured location. “Recreational or utility vehicle”
           acquire while this policy is in effect for your use                       means a motorized vehicle designed for recre-
           as a residence;                                                           ation or utility purposes, used principally off
      c.   any premises used by you in connection with                               public roads, and that is owned or leased by an
                                                                                     insured. This includes, but is not limited to, a
           the premises included in 12.a. or 12.b. above;
                                                                                     motorized all-terrain vehicle, side-by-side vehi-
      d.   any part of a premises not owned by an in-                                cle, utility work vehicle, amphibious vehicle,
           sured but where an insured is temporarily re-                             dune buggy, go-cart, golf cart, snowmobile,
           siding;                                                                   trailbike, minibike, and personal assistive mobil-
      e.   land owned by or rented to an insured on which                            ity device. “Leased” does not include temporary
           a one or two family dwelling is being constructed                         rental;
           as a residence for an insured;                                      d.    a “locomotive” while off an insured location.
      f.   individual or family cemetery plots or burial                             “Locomotive” means a self-propelled vehicle for
           vaults owned by an insured;                                               pulling or pushing freight or passenger cars on
                                                                                     tracks that is large enough to carry a person and
      g.   any part of a premises occasionally rented to an                          is owned or leased by an insured. “Leased”
           insured for purposes other than business;                                 does not include temporary rental;
      h.   vacant land owned by or rented to an insured.                       e.    a bulldozer, track loader, backhoe, high-hoe,
           For the purposes of this definition, vacant land                          trencher, grader, crane, self-propelled scraper,
           does not include:                                                         excavator, pipe-layer, cherry picker, telehandler,
           (1) farm land;                                                            logging vehicle, mining vehicle, or road building
                                                                                     vehicle that is owned or leased by an insured
           (2) land containing a residence; or                                       while off an insured location. “Leased does
           (3) land containing fences, corrals, boat docks,                          not include temporary rental; and
               tool sheds, barns, grain bins, and similar                      f.    any vehicle while being towed or pushed by or
               structures, unless they are used solely for                           carried on a vehicle included in 14.a. through
               the personal use of the insured; or                                   14.e. above.
      i.   farm land (without buildings), rented or held for                  The following are not motor vehicles:
           rental to others, but not to exceed a total of 500                  a.    a boat, camper, home, or utility trailer not being
           acres, regardless of the number of locations.                             towed or pushed by or carried on a vehicle in-
                                                                                     cluded in 14.a. through 14.e. above;
  13. “loss insured” means a loss as described under
      SECTION I – LOSSES INSURED, COVERAGE A –                                 b.    a motorized land vehicle in storage on an in-
      BUILDING PROPERTY and SECTION I – LOSSES                                       sured location not intended to be operated for

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            an extended period of time and rendered inop-                       insured and the labor leasing firm, who performs du-
            erable by placing the vehicle on blocks or re-                      ties, including household or domestic services, in
            moving parts essential for its operation;                           connection with the maintenance or use of the resi-
       c.   a motorized golf cart while used for golfing pur-                   dence premises. This includes employees who per-
                                                                                form similar duties elsewhere for you. This does not
            poses;
                                                                                include employees while performing duties in con-
       d.   a motorized vehicle or trailer designed to assist                   nection with the business of an insured.
            persons with disabilities that is not designed for
            travel on public roads or subject to motor vehicle                  Any employee of the association in the course of
            registration; or                                                    employment by the association is not a residence
                                                                                employee. This limitation does not apply to SEC-
       e.   a commercially manufactured two, three, or four                     TION I – PROPERTY COVERAGES, COVERAGE D –
            wheeled personal conveyance powered only by                         LOSS ASSESSMENT.
            or assisted by an unmodified motor or engine
            with a manufacturer’s power rating of no more                19. “residence premises” means the described prem-
            than 1 horsepower and capable of a top speed                     ises shown in the Declarations, other structures, and
                                                                             grounds reserved for your exclusive use and occu-
            of no more than 20 miles per hour.
                                                                             pancy.
  15. “occurrence”, when used in Section II of this policy,
                                                                         20. “State Farm Companies” means one or more of the
      means an accident, including accidental exposure to
      conditions, which first results in:                                    following:
                                                                                a.    State Farm Mutual Automobile Insurance Com-
       a.   bodily injury; or
                                                                                      pany;
       b.   property damage;
                                                                                b.    State Farm Fire and Casualty Company; and
       during the policy period. All bodily injury and prop-                    c.    subsidiaries or affiliates of either 20.a. or 20.b.
       erty damage resulting from one accident, series of                             above.
       related accidents, or from continuous and repeated
       exposure to the same general conditions is consid-                21. “vacant dwelling” means:
       ered to be one occurrence.                                            a. a dwelling:
  16. “property damage” means physical damage to or                              (1) that has not been occupied as a residence
      destruction of tangible property, including loss of use                          for more than 60 consecutive days immedi-
      of this property. Theft or conversion of property by                             ately before the loss; and
      any insured is not property damage.                                        (2) where a predominant amount of personal
  17. “relative” means any person related to you by:                                   property has been removed or is absent
                                                                                       such that the dwelling is not functional as a
       a.   blood;                                                                     habitual place of residence.
       b.   adoption;                                                            A dwelling will be considered occupied only if it
       c.   marriage; or                                                         is being used as a habitual place of residence
                                                                                 with your knowledge and approval.
       d.   civil union, domestic partnership, or other sub-
            stantially similar legal relationship that is recog-             b. A dwelling that is under active construction will
            nized and valid in the state where, and at the                       not be considered a vacant dwelling. A dwell-
            time when, the legal relationship was estab-                         ing is under active construction when it is:
            lished;                                                              (1) being built as a new structure;
       and who resides primarily with you.                                            (2) being repaired due to damage otherwise
                                                                                          covered by this policy; or
  18. “residence employee” means an employee of an
      insured, or an employee leased to an insured by a                               (3) undergoing substantial improvements, ren-
      labor leasing firm under an agreement between an                                    ovations, remodeling, or modifications;
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            and the construction results in substantial con-                   a.    a spouse of a “Named Insured”;
            tinuing activities by persons associated with the
            construction project at the premises during the                    b.    a party to a civil union with a “Named Insured”;
            relevant time periods.                                             c.    a domestic partner of a “Named Insured”; or
  22. “we”, “us”, and “our” mean the Company shown in                          d.    a person in a substantially similar legal relation-
      the Declarations.                                                              ship with a “Named Insured”;
  23. “you” and “your” mean the person or persons                              if such relationship is recognized and valid in the state
      shown as “Named Insured” in the Declarations. If a                       where, and at the time when, the legal relationship was
      “Named Insured” shown in the Declarations is a hu-                       established, so long as the person in the above relation-
      man being, then you and your include:                                    ship resides primarily with that “Named Insured”.

                                                         DEDUCTIBLE
  In case of loss under this policy, we will pay, subject to            Declarations. Deductibles will be applied per occurrence.
  specified policy limits, only that part of the amount of the          Deductibles apply to specific losses as described in this
  loss that exceeds the deductible amount shown in the                  policy.

                                   SECTION I – PROPERTY COVERAGES
  COVERAGE A – BUILDING PROPERTY                                               b.    trees, shrubs, live or artificial plants, lawns, or
                                                                                     artificial grass, except as provided in SECTION
  1.   Building Property. We cover:
                                                                                     I – ADDITIONAL COVERAGES, Trees,
       a.   alterations, appliances, fixtures, and improve-                          Shrubs, and Landscaping; or
            ments that are part of the building contained                      c.    systems and equipment used to generate elec-
            within your unit;                                                        trical power exceeding 125 percent of the actual
       b.   items of real property that pertain exclusively to                       electrical power usage by the residence prem-
            your unit; or                                                            ises in the 12-month period prior to the date of
                                                                                     the loss.
       c.   property that is your insurance responsibility un-
                                                                        COVERAGE B – PERSONAL PROPERTY
            der the governing rules of the condominium.
                                                                        1.     Property Covered.
       This coverage also includes your share of any asso-
                                                                               a. We cover personal property owned or used by
       ciation deductible but only when the deductible is not                      an insured while it is anywhere in the world.
       assessed against all unitowners.                                            This includes structures not permanently at-
  2.   Property Not Covered. We do not cover:                                      tached to or otherwise forming a part of the re-
                                                                                   alty. At your request, we will cover personal
       a.   land, including the land necessary to support                          property:
            any Coverage A property. We also do not                                  (1) owned by others while the property is on
            cover:                                                                       the part of the residence premises occu-
                                                                                         pied exclusively by an insured;
            (1) any costs required to replace, rebuild, sta-
                bilize, or otherwise restore the land; or                            (2) owned by a guest or a residence em-
                                                                                         ployee, while the property is in any other
            (2) the costs of repair techniques designed to                               residence occupied by an insured; and
                compensate for or prevent land instability                           (3) owned by roomers, boarders, tenants, and
                to any property, whether or not insured un-                              other residents, any of whom are related to
                der Coverage A;                                                          you.

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     b.   We cover personal property usually located at                               cards, rechargeable debit cards, phone cards and
          an insured’s residence, other than the resi-                                other negotiable instruments, accounts, deeds, ev-
          dence premises, for up to $1,000 or 10% of the                              idences of debt, letters of credit, notes other than
          Coverage B limit, whichever is greater. This lim-                           bank notes, manuscripts, passports, and tickets;
          itation does not apply to personal property:
                                                                                e.    $1,500 on watercraft of all types and outboard
          (1) in a newly acquired principal residence for                             motors, including their trailers, furnishings, and
              the first 30 days after you start moving the                            equipment;
              property there. If the residence premises is
              a newly acquired principal residence, per-                        f.    $1,500 on trailers not used with watercraft;
              sonal property in your immediate past prin-                       g.    $2,500 on stamps, trading cards, and comic
              cipal residence is not subject to this
              limitation for the first 30 days after the in-                          books, including any of these that are a part of a
              ception of this policy; and                                             collection;
          (2) of a student who is an insured while lo-                          h.    $2,500 for loss by theft of firearms;
              cated at a residence away from the resi-
              dence premises.                                                   i.    $2,500 for loss by theft of silverware and
                                                                                      goldware;
     Special Limits of Liability. These limits do not in-
     crease the Coverage B limit. The special limit for                         j.    $5,000 on any one article and $10,000 in the ag-
     each of the following categories is the total limit for                          gregate for loss by theft of any rug, carpet (ex-
     each loss for all property in that category:                                     cept wall-to-wall carpet), tapestry, wall-hanging,
     a.   $200 on money, coins, and medals, including                                 or other similar article;
          any of these that are a part of a collection, bank
                                                                                k.    $1,000 on commercially manufactured two,
          notes, bullion, gold other than goldware, silver
                                                                                      three, or four wheeled personal conveyances
          other than silverware, and platinum;
                                                                                      powered only by or assisted by an unmodified
     b.   $1,500 on property used or intended for use in a                            motor or engine with a manufacturer’s power
          business, including merchandise held as sam-                                rating of no more than 1 horsepower and capa-
          ples or for sale or for delivery after sale, while on
                                                                                      ble of a top speed of no more than 20 miles per
          the residence premises. This coverage is lim-
                                                                                      hour. This does not include such conveyances
          ited to $750 on such property away from the res-
          idence premises.                                                            that are:

          Electronic data processing system equipment or                              (1) designed for assisting persons with disabil-
          the recording or storage media used with that                                   ities;
          equipment is not included under this coverage,
          and is addressed in item c. below;                                          (2) not designed for travel on public roads; and

     c.   $10,000 on electronic data processing system                                (3) not subject to motor vehicle registration; and
          equipment used or intended for use in a business,                     l.    $1,000 for loss by theft of jewelry, watches, fur
          including but not limited to computers, tablets, mo-                        garments and garments trimmed with fur, and
          bile personal communication equipment, global po-                           precious and semi-precious stones.
          sitioning systems, mobile personal electronic
          devices used for the reproduction of sound, and                2.     Property Not Covered. We do not cover:
          standard media or non-media equipment for use                         a.    articles separately described and specifically in-
          with the above devices;
                                                                                      sured in this or any other insurance;
     d.   $1,500 on securities, checks, cashiers checks,
          travelers checks, money orders, gift certificates, gift               b.    animals, birds, or fish;

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     c.   any engine-propelled or motor-propelled vehicle                                  nights in the 12-month period prior to the
          or machine, including parts, designed for move-                                  date of the loss;
          ment on land, except as provided in Special Lim-                    h.    property rented or held for rental to others away
          its of Liability, item k. However, we do cover                            from the residence premises;
          those vehicles or machines:
                                                                              i.    any radio devices or transmitters, global positioning
          (1) that are:                                                             systems, radar or laser detectors, antennas, and all
               (a) not designed for travel on public                                other similar equipment that is permanently installed
                   roads; and                                                       in or permanently fastened to an engine-propelled
                                                                                    or motor-propelled vehicle or that is hard-wired di-
               (b) not subject to motor vehicle registra-
                   tion;                                                            rectly to the vehicle’s electrical system;
                                                                              j.    books or records of accounts receivable, abstracts
          (2) and that are:
                                                                                    or other journals, architectural or technical draw-
               (a) used primarily to service the insured                            ings, card index systems, or other records. This
                   location; or                                                     does not apply to any recording or storage media
               (b) designed for assisting persons with                              for electronic data processing. We will cover the
                                                                                    cost of blank books, cards, or other blank material
                   disabilities;
                                                                                    plus the cost of labor you incur for transcribing or
     d.   any electronic equipment, devices, or accessories                         copying such records;
          designed for the recording, reproduction, or stor-                  k.    recording or storage media for electronic data
          age of audio, video, photos, or other data that is
                                                                                    processing that cannot be replaced with prop-
          permanently installed in or permanently fastened to                       erty of like kind and quality on the current retail
          an engine-propelled or motor-propelled vehicle or                         market;
          hard-wired directly to the vehicle’s electrical sys-
          tem. We also do not cover removable products                        l.    purchased or created audio, video, photos, or
          that may be used with the equipment or devices                            other data that cannot be replaced with like kind
          described above, including but not limited to tapes,                      and quality on the current retail market and
          discs, videos, or memory cards while in an engine-                        that is transferred or downloaded onto mobile
          propelled or motor-propelled vehicle;                                     communication equipment, global positioning
                                                                                    systems, or electronic devices designed for the
     e.   aircraft and parts. This does not apply to un-                            recording, reproduction, or storage of audio,
          manned aircraft systems used as model aircraft                            video, photos, or other data;
          and operated solely for recreational or hobby
          purposes;                                                           m. contraband, or any property used in the course
     f.   property of roomers, boarders, tenants, and                            of illegal consumption, possession, import, ex-
          other residents not related to you;                                    port, or trade;
     g.   property regularly rented or held for rental to oth-                n.    outdoor hardscape property used for aesthetic
          ers by an insured. This does not apply to prop-                           purposes except as provided in SECTION I –
          erty of an insured:                                                       ADDITIONAL COVERAGES, Trees, Shrubs,
          (1) in a sleeping room when the dwelling is                               and Landscaping;
              rented in part, for use as a permanent res-
              idence, by either one or two full-time room-                    o.    electronic currency, digital currency, virtual cur-
              ers or boarders; or                                                   rency, crypto-currency, and other similar mediums
                                                                                    of exchange; or
          (2) on the residence premises if it is rented,
              either completely or in part, for exclusive                     p.    personal property collectively owned by unit-
              use as a residence, for no more than 30                               owners of the condominium.


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  COVERAGE C – LOSS OF USE                                                             that would be a loss insured under this policy if
  The most we will pay for the sum of all losses combined                              the damage had occurred to property on the res-
  under Additional Living Expense, Fair Rental Value,                                  idence premises;
  and Prohibited Use is the limit of liability shown in the                      b.    the residence premises is within one mile of
  Declarations for Coverage C – Loss of Use.                                           property damaged by a cause of loss identified
  1.   Additional Living Expense. When a loss insured                                  in 3.a. above; and
       causes the residence premises to become uninhab-                          c.    the action of the civil authority is taken in re-
       itable, we will pay the reasonable and necessary in-                            sponse to:
       crease in cost incurred by an insured to maintain
       their normal standard of living for up to 24 months.                            (1) dangerous physical conditions resulting
       Our payment is limited to incurred costs for the short-                             from the continuation of the cause of loss
       est of:                                                                             identified in 3.a. above;
       a.   the time required to repair or replace the prem-                           (2) dangerous physical conditions resulting
            ises;                                                                          from the damage caused by the cause of
                                                                                           loss identified in 3.a. above; or
       b.   the time required for your household to settle
            elsewhere; or                                                              (3) the need to gain free access to property
                                                                                           damaged by the cause of loss identified in
       c.   24 months.                                                                     3.a. above.
       This period of time is not limited by the expiration of            We will not pay for loss or expense due to cancellation of
       this policy.                                                       a lease or agreement.
       We will not pay more than the limit of liability shown             COVERAGE D – LOSS ASSESSMENT
       in the Declarations for Coverage C – Loss of Use.
       Any normal expenses that are reduced or discontin-                 We will pay for your share of any assessment charged
       ued due to a loss insured will be subtracted from any              against all unitowners by the association, when the as-
       amount owed.                                                       sessment is made as a result of:
  2.   Fair Rental Value. When a loss insured causes                      1.     a direct physical loss to condominium property (in-
       that part of the residence premises rented to others                      cluding personal property) owned by all unitowners
       or held for rental by you to become uninhabitable, we                     collectively that occurs during the policy period to
       will pay its fair rental value. Payment will be for the                   which Section I of this policy would apply, unless the
       shortest time required to repair or replace the part of                   loss is excluded or limited in SECTION I – LOSSES
       the premises rented or held for rental, but not to ex-                    NOT INSURED. Any Earthquake and Volcanic Explo-
       ceed 12 months. This period of time is not limited by                     sion Endorsement applicable to Coverage A shall also
       the expiration of this policy. Fair rental value will not                 apply to Coverage D;
       include any expense that does not continue while that              2.     an occurrence during the policy period to which Sec-
       part of the residence premises rented or held for                         tion II of this policy would apply;
       rental is uninhabitable.
                                                                          3.     damages that occur during the policy period that the
  3.   Prohibited Use. We will pay Additional Living Ex-                         association may be obligated to pay because of per-
       pense and Fair Rental Value, for a continuous period                      sonal injury due to false arrest, false imprisonment,
       not to exceed two weeks, beginning when a civil au-                       wrongful eviction, wrongful entry, wrongful detention,
                                                                                 malicious prosecution, misrepresentation, or humilia-
       thority issues an order of evacuation or prohibits your                   tion;
       use of the residence premises, provided that:
                                                                          4.     illegal discrimination (unless coverage is prohibited
       a.   direct physical damage occurs to any property,                       by law) that occurs during the policy period, but only
            other than covered property located on the res-                      with respect to liability other than fines and penalties
            idence premises, arising from a cause of loss                        imposed by law; or

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  5.   libel, slander, defamation of character, or invasion of          2.     Temporary Repairs. If damage is caused by a loss
       rights of privacy that occur during the policy period.                  insured, we will pay the reasonable and necessary
  We will not pay your share of any assessment charged                         cost you incur for temporary repairs to covered prop-
  against all unitowners by the association made as a result                   erty to protect the property from further immediate dam-
                                                                               age or loss. This coverage does not increase the limit
  of items 1. through 5. above that does not occur within the
  policy period.                                                               applying to the property being repaired.
                                                                        3.     Trees, Shrubs, and Landscaping. We will pay for
  Limit of Liability. The COVERAGE D – LOSS ASSESS-
  MENT limit is shown in the Declarations. The most we                         accidental direct physical loss to outdoor:
  will pay for all assessments arising out of the same event                   a.    trees, shrubs, live or artificial plants, and lawns;
  from items 1. through 5. above is the amount shown in the                    b.    artificial grass; and
  Declarations.
                                                                               c.    hardscape property used for aesthetic purposes
  SECTION I – ADDITIONAL COVERAGES                                                   not permanently affixed to realty;
  The following Additional Coverages are subject to all the
                                                                               on the residence premises, caused by the following
  terms, provisions, exclusions, and conditions of this pol-                   perils: Fire or lightning, Explosion, Riot or civil
  icy.                                                                         commotion, Aircraft, Vehicles (not owned or oper-
  1.   Debris Removal. We will pay the reasonable ex-                          ated by a resident of the residence premises), Van-
       penses you incur in the removal of debris of covered                    dalism or malicious mischief, or Theft.
       property damaged by a loss insured. This expense
                                                                               The limit for this coverage, including the removal of
       is included in the limit applying to the damaged prop-                  debris, will not exceed 5% of the amount shown in the
       erty. The following coverages and limits also apply:                    Declarations for COVERAGE B – PERSONAL
       a.   When the amount payable for the property dam-                      PROPERTY. We will not pay more than $750 for any
            age plus the debris removal exceeds the limit for                  one outdoor tree, shrub, plant, or hardscape item, in-
            damaged property, an additional 5% of that limit                   cluding debris removal expense. This coverage may
            is available for debris removal expense. This                      increase the limit otherwise applicable. We will not
            additional amount of insurance does not apply                      pay for any loss to property grown for business pur-
                                                                               poses.
            to SECTION I – ADDITIONAL COVERAGES,
            Trees, Shrubs, and Landscaping.                             4.     Fire Department Service Charge. We will pay up to
                                                                               $500 per occurrence for fire department charges in-
       b.   We will also pay up to $1,000 total for each loss                  curred when the fire department is called to save or
            to cover the reasonable expenses you incur in                      protect Coverage A property from fire, lightning, or
            the removal of tree debris and stumps from the                     explosion. No deductible applies to this coverage.
            residence premises, unless otherwise ex-                           This coverage may increase the limit otherwise appli-
            cluded. This coverage applies when:                                cable.
            (1) the tree has caused a loss insured to Cov-              5.     Property Removed. We will pay for any accidental
                erage A property; or                                           direct physical loss to covered property while being
            (2) the tree debris felled by windstorm, hail, or                  removed from a premises endangered by a loss in-
                weight of snow or ice blocks:                                  sured. This coverage also applies to the property for
                 (a) the driveway, on the residence prem-                      up to 30 days while removed. We will also pay for
                     ises, and prevents land motor vehi-                       reasonable expenses incurred by you for the removal
                     cle access to or from the dwelling; or                    and return of the covered property. This coverage
                 (b) a ramp designed to assist persons                         does not increase the limit applying to the property
                     with disabilities, on the residence                       being removed.
                     premises, and prevents access to or                6.     Credit Card, Bank Fund Transfer Card, Forgery,
                     from a building structure.                                and Counterfeit Money.

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       a.   We will pay up to $1,000 for:                                       occurring on the residence premises. The power
            (1) the legal obligation of an insured to pay be-                   lines off the residence premises must remain ener-
                cause of the theft or unauthorized use of                       gized. This coverage does not increase the limit ap-
                credit cards and bank fund transfer cards is-                   plying to the damaged property.
                sued to or registered in an insured’s name.              8.     Refrigerated Products. Coverage B is extended to
                If an insured has not complied with all terms                   cover the contents of deep freeze or refrigerated units
                and conditions under which the cards are is-                    on the residence premises for loss due to power fail-
                sued, we will not pay for use by an insured                     ure or mechanical failure. If mechanical failure or
                or anyone else;                                                 power failure is known to you, all reasonable means
            (2) loss to an insured caused by forgery or al-                     must be used to protect the property insured from fur-
                teration of any check or negotiable instru-                     ther damage or this coverage is void. Power failure
                ment; and                                                       or mechanical failure does not include:
            (3) loss to an insured through acceptance in                        a.   removal of a plug from an electrical outlet; or
                good faith of counterfeit United States or                      b.   turning off an electrical switch unless caused by
                Canadian paper currency.                                             a loss insured.
            No deductible applies to this coverage.                             This coverage does not increase the limit applying to
                                                                                the damaged property.
            We will not pay more than the limit stated above
            for forgery or alteration committed by any one               9.     Arson Reward. We will pay $1,000 for information that
            person. This limit applies when the forgery or                      leads to an arson conviction in connection with a fire loss
            alteration involves one or more instruments in                      to property covered by this policy. This coverage may
            the same loss.                                                      increase the limit otherwise applicable. However, the
                                                                                $1,000 limit will not be increased regardless of the num-
       b.   We will not pay for loss arising out of business                    ber of persons providing information.
            pursuits or dishonesty of an insured.
                                                                         10. Volcanic Action. We will pay for accidental direct
       c.   Defense:
                                                                             physical loss to a covered building structure or cov-
            (1) We may make any investigation and settle                     ered property contained in a building structure re-
                any claim or suit that we decide is appro-                   sulting from the eruption of a volcano when the loss
                priate. Our obligation to defend claims or                   is directly and immediately caused by:
                suits ends when the amount we pay for the
                loss equals our limit of liability.                             a.    airborne volcanic shock waves;
            (2) If claim is made or a suit is brought against an                b.    ash, dust, or particulate matter; or
                insured for liability under the Credit Card or                  c.    lava flow.
                Bank Fund Transfer Card coverage, we will
                provide a defense. This defense is at our ex-                   We will also pay for the removal of that ash, dust, or
                pense by counsel of our choice.                                 particulate matter that has caused accidental direct
            (3) We have the option to defend at our ex-                         physical loss to a covered building structure or cov-
                pense an insured or an insured’s bank                           ered property contained in a building structure.
                against any suit for the enforcement of pay-                    All volcanic eruptions that occur within any 168-hour
                ment under the Forgery coverage.
                                                                                period will be considered one volcanic eruption.
  7.   Power Interruption. We will pay for accidental direct
       physical loss caused directly or indirectly by a change                  This coverage does not increase the limit applying to
       of temperature that results from power interruption                      the damaged property.
       that takes place on the residence premises. The                   11. Collapse. We will pay for accidental direct physical
       power interruption must be caused by a loss insured                   loss to covered property involving the abrupt, entire
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     collapse of a building structure or any part of a                                (5) use of defective material or methods in the
     building structure.                                                                  construction (includes remodeling or reno-
     a. Collapse means the abrupt and entire falling down,                                vation) of the building structure, if the col-
          caving in, or falling into pieces of a building struc-                          lapse occurs during the course of the
          ture or any part of a building structure. Collapse                              construction of the building structure.
          does not include any of the following:                                      Loss to awnings, fences, patios, pavement,
          (1) settling, cracking, crumbling, deterioration,                           swimming pools, underground pipes, flues,
               shrinking, bulging, expansion, sagging,                                drains, cesspools, septic tanks, foundations (in-
               bowing, leaning, or bending;                                           cluding slabs, basement walls, and crawl space
                                                                                      walls), retaining walls, bulkheads, piers, wharfs,
          (2) substantial structural impairment;                                      docks, trellises, or antennas and their support-
          (3) imminent or threatened collapse;                                        ing structures is not included under items (2),
          (4) a building structure or any part of a build-                            (3), and (4) immediately above unless the loss
               ing structure that is in danger of falling                             is the direct and immediate result of the collapse
               down or caving in; or                                                  of a building structure or any part of a building
                                                                                      structure.
          (5) a part of a building structure that is stand-
               ing even if:                                                     This coverage does not increase the limit applying to
                                                                                the damaged property.
               (a) it has separated from another part of
                     the building structure; or                          12. Locks and Remote Devices. We will pay up to
                                                                             $1,000 for each loss for the reasonable expenses
                (b) it shows evidence of settling, cracking,
                    crumbling, deterioration, shrinking,                     you incur to rekey, replace, recode, program, or re-
                    bulging, expansion, sagging, bowing,                     program locks on exterior doors to the dwelling or
                    leaning, or bending.                                     other structures located on the residence premises
                                                                             when the keys or remote devices used with those
     b.   The collapse must be directly and immediately
                                                                             doors are part of a covered theft loss. This coverage
          caused by one or more of the following:
                                                                             includes remote devices designed solely for locking,
          (1) perils described in SECTION I – LOSSES                         unlocking, opening, or closing doors, including gar-
              INSURED, COVERAGE B – PERSONAL                                 age doors and gates.
              PROPERTY. These perils apply to build-
              ing structures covered under Coverage A                           No deductible applies to this coverage.
              or Coverage B for loss insured by this Ad-                 13. Fuel Oil Release. We will pay up to $10,000 for each
              ditional Coverage;
                                                                             loss for accidental direct physical loss to covered prop-
          (2) decay or deterioration of, or damage from                      erty caused by the abrupt and accidental escape of
              animals, birds, or insects to:                                 liquid fuel oil from a fixed household tank, apparatus,
                (a) a connector; or                                          or pipes that are part of a heating unit for the dwell-
                                                                             ing. This includes damage to covered property re-
                (b) a structural member of a building
                    structure;                                               sulting from an accidental spill or overflow of fuel oil
                                                                             in the course of filling a fixed household tank.
                The decay, deterioration, or damage must
                be hidden from view and unknown to all in-                      This coverage includes surface clean up only. We
                sureds prior to the collapse;                                   will not pay for:
          (3) weight of contents, equipment, animals, or                        a.    the cost to repair or replace the fuel oil tank, ap-
              people;                                                                 paratus, and pipes; or
          (4) weight of ice, snow, sleet, or rain that col-                     b.    the cost of testing, monitoring, removing, treating,
              lects on a roof, porch, or deck; or                                     or detoxifying of soil, air, or water.

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       This coverage does not increase the limit applying to               1.     divide the Index on that date by the Index as of the
       the damaged property.                                                      effective date of this Inflation Coverage provision;
  14. Tear Out. If a loss insured to Coverage A property                          then
      is caused by water, steam, or sewage escaping from                   2.     multiply the resulting factor by the limits of liability for
      a system or appliance, we will also pay the reasona-                        Coverage A and Coverage B separately.
      ble cost you incur to tear out and replace only that                 The limits of liability will not be reduced to less than the
      particular part of the building structure or condo-                  amounts shown in the Declarations.
      minium unit owned by you necessary to gain access
      to the specific point of that system or appliance from               If during the term of this policy the Coverage B limit of lia-
      which the water, steam, or sewage escaped. We will                   bility is changed at your request, the effective date of this
      not pay for the cost of repairing or replacing the sys-              Inflation Coverage provision is changed to coincide with
      tem or appliance itself. This coverage does not in-                  the effective date of such change.
      crease the limit applying to Coverage A property.
                                                                           This Inflation Coverage provision does not apply to the
  INFLATION COVERAGE                                                       limit of liability of Coverage A when both:
  The limits of liability shown in the Declarations for Cover-             1.     the limit of liability of Coverage B is less than $10,000;
  age A and Coverage B will be increased at the same rate
  as the increase in the Inflation Coverage Index shown in                        and
  the Declarations.                                                        2.     the limit of liability of Coverage A is no more than
  To find the limits on a given date:                                             $1,000.

                                           SECTION I – LOSSES INSURED
  COVERAGE A – BUILDING PROPERTY AND                                              the rain, snow, sleet, sand, or dust enters through this
  COVERAGE D – LOSS ASSESSMENT                                                    opening.
  We will pay for accidental direct physical loss to the prop-                    This peril includes loss to watercraft of all types and
  erty described in Coverage A and Coverage D, unless the                         their trailers, furnishings, equipment, and outboard
  loss is excluded or limited in SECTION I – LOSSES NOT                           motors, only while inside a building structure.
  INSURED or otherwise excluded or limited in this policy.
  However, loss does not include and we will not pay for,                  3.     Explosion.
  any diminution in value.
                                                                           4.     Riot or civil commotion.
  COVERAGE B – PERSONAL PROPERTY
                                                                           5.     Aircraft, including self-propelled missiles and space-
  We will pay for accidental direct physical loss to the property                 craft.
  described in Coverage B caused by the following perils, un-
  less the loss is excluded or limited in SECTION I –                      6.     Vehicles, meaning accidental direct physical loss to
  LOSSES NOT INSURED or otherwise excluded or limited                             covered property caused by the weight, force, power,
  in this policy. However, loss does not include and we will                      or movement of a vehicle.
  not pay for, any diminution in value.
                                                                                  a.    This includes:
  1.   Fire or lightning.
                                                                                        (1) the impact of a vehicle;
  2.   Windstorm or hail. This peril does not include loss
                                                                                        (2) an object propelled from the tire or body of
       to property contained in a structure caused by rain,
                                                                                            a vehicle;
       snow, sleet, sand, or dust. This limitation does not
       apply when the direct force of wind or hail damages                              (3) the upset or collision of a vehicle with a sta-
       the structure causing an opening in a roof or wall and                               tionary object or other vehicle, including

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                 damage to personal property carried on the                           (3) from the part of a residence premises
                 exterior of the vehicle; or                                              rented to others:
            (4) a vehicle door or trunk lid being closed on                                  (a) caused by a tenant, members of the
                personal property.                                                               tenant’s household, or the tenant’s
                                                                                                 employees unless the residence
       b.   This peril does not include loss:
                                                                                                 premises is rented, either completely
            (1) to personal property that falls off a vehicle                                    or in part, for exclusive use as a resi-
                and strikes the ground, any other surface,                                       dence, for no more than 30 nights in
                or any object;                                                                   the 12-month period prior to the date
            (2) caused by shifting of the load being carried                                     of the loss;
                in or on a vehicle; or                                                       (b) of money, bank notes, bullion, gold,
            (3) to the vehicle itself unless the vehicle is                                      goldware, silver, silverware, pewter-
                property covered under COVERAGE B –                                              ware, platinum, coins, and medals;
                PERSONAL PROPERTY and the loss is                                            (c) of securities, checks, cashiers checks,
                caused by the weight, force, power, or                                           travelers checks, money orders, gift cer-
                movement of another vehicle.                                                     tificates, gift cards, rechargeable debit
  7.   Smoke, meaning abrupt and accidental damage from                                          cards, phone cards, and other negotia-
       smoke.                                                                                    ble instruments, accounts, deeds, evi-
                                                                                                 dences of debt, letters of credit, notes
       This peril does not include loss caused by smoke
       from agricultural smudging or industrial operations.                                      other than bank notes, manuscripts,
                                                                                                 passports, tickets, and stamps; or
  8.   Vandalism or malicious mischief, meaning only
       willful and malicious damage to or destruction of                                     (d) of jewelry, watches, fur garments and
       property.                                                                                 garments trimmed with fur, and precious
                                                                                                 and semi-precious stones; or
  9.   Theft, including attempted theft and loss of property
       from a known location when it is probable that the                       c.    loss caused by theft that occurs away from the
       property has been stolen.                                                      residence premises of:
       This peril does not include:                                                   (1) property while at any other residence owned,
       a.   loss of a precious or semi-precious stone from                                rented to, or occupied by an insured, except
            its setting;                                                                  while an insured is temporarily residing there.
                                                                                          Property of a student who is an insured is
       b.   loss caused by theft:                                                         covered while at a residence away from the
            (1) committed by an insured or by any other                                   residence premises;
                person regularly residing on the insured                              (2) watercraft of all types, including their fur-
                location. Property of a student who is an                                 nishings, equipment, and outboard motors; or
                insured is covered while located at a resi-
                dence away from the residence premises, if                            (3) trailers and campers designed to be pulled
                the theft is committed by a person who is                                 by or carried on a vehicle.
                not an insured;                                                       If the residence premises is a newly acquired
            (2) in or to a dwelling under construction or of                          principal residence, property in the immediate
                materials and supplies for use in the con-                            past principal residence will not be considered
                struction until the dwelling is completed and                         property away from the residence premises for
                occupied; or                                                          the first 30 days after the inception of this policy.
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  10. Falling objects. This peril does not include loss to                    heating system, an air conditioning system, an au-
      property contained in a structure unless the roof or an                 tomatic fire protective sprinkler system, or an appli-
      exterior wall of the structure is first damaged by a fall-              ance for heating water.
      ing object. Damage to the falling object itself is not                  This peril does not include loss:
      included.
                                                                              a. caused by or resulting from freezing; or
  11. Weight of ice, snow, or sleet that causes damage
      to property contained in a structure.                                   b. that occurs or develops over a period of time and
                                                                                   is caused by or resulting from:
  12. Abrupt and accidental discharge or overflow of
      water, steam, or sewage from within a plumbing,                              (1) condensation or the presence of humidity,
                                                                                         moisture, or vapor; or
      heating, air conditioning, or automatic fire protec-
      tive sprinkler system, or from within a household                            (2) seepage or leakage of water or steam that
      appliance.                                                                         is:
       This peril does not include loss:                                                 (a) continuous;
       a.   to the system or appliance from which the water,                             (b) repeating;
            steam, or sewage escaped;                                                    (c) gradual;
       b.   caused by or resulting from:                                                 (d) intermittent;
            (1) freezing;                                                                (e) slow; or
            (2) water or sewage from outside the resi-                                   (f) trickling.
                dence premises plumbing system that en-                   14. Freezing of a plumbing, heating, air conditioning, or
                ters through sewers or drains, or water that                  automatic fire protective sprinkler system, or of a
                enters into and overflows from within a                       household appliance.
                sump pump, sump pump well, or any other
                                                                              This peril does not include:
                system designed to remove subsurface
                water that is drained from the foundation                     a. loss to a portable hot tub or portable spa unless
                area; or                                                           you have used reasonable care to prevent
                                                                                   freezing; or
          (3) the pressure from or presence of tree,
               shrub, or plant roots; or                                      b. loss on the residence premises unless you
                                                                                   have used reasonable care to:
      c. that occurs or develops over a period of time and
          is caused by or resulting from:                                          (1) maintain heat in the building structure at
                                                                                         55 degrees Fahrenheit or higher; or
          (1) condensation or the presence of humidity,
               moisture, or vapor; or                                              (2) shut off the water supply and drain the sys-
                                                                                         tem and appliances of water.
          (2) seepage or leakage of water, steam, or
               sewage that is:                                                     However, if the building structure is protected
                                                                                   by an automatic fire protective sprinkler system,
               (a) continuous;
                                                                                   you must use reasonable care to continue the
               (b) repeating;                                                      water supply and maintain heat in the building
               (c) gradual;                                                        structure at 55 degrees Fahrenheit or higher for
                                                                                   coverage to apply.
               (d) intermittent;
                                                                          15. Abrupt and accidental damage to electrical appli-
               (e) slow; or
                                                                              ances, devices, fixtures, and wiring from an increase
               (f) trickling.                                                 or decrease of artificially generated electrical current.
  13. Abrupt and accidental tearing asunder, cracking,                        We will pay up to $3,000 under this peril for each
      burning, or bulging of a steam or hot water                             damaged item described above.

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  16. Breakage of glass, meaning damage to personal                       17. Wild bears or deer, meaning damage caused by
      property caused by breakage of glass that is a part of
      a structure on the residence premises. We will not                      wild bears or deer to property located in a building
      pay for loss or damage to the glass.                                    structure.

                                     SECTION I – LOSSES NOT INSURED

  1.   We will not pay for any loss to the property de-                          d.    theft in or to a dwelling under construction, or of
       scribed in Coverage A and Coverage D that con-                                  materials and supplies for use in the construction,
       sists of, or is directly and immediately caused                                 until the dwelling is completed and occupied;
       by, one or more of the perils listed in items a.                          e.    theft, vandalism, malicious mischief, or break-
       through m. below, regardless of whether the loss                                age of glass and safety glazing materials if the
       occurs abruptly or gradually, involves isolated or                              dwelling is a vacant dwelling;
       widespread damage, arises from natural or ex-                             f.    seepage or leakage of water, steam, or sewage
       ternal forces, or occurs as a result of any combination                         that occurs or develops over a period of time:
       of these:                                                                       (1) and is:
       a.   collapse, except as specifically provided in SEC-                                 (a) continuous;
            TION I – ADDITIONAL COVERAGES, Col-
            lapse;                                                                            (b) repeating;
       b.   freezing of a plumbing, heating, air conditioning, or                             (c) gradual;
            automatic fire protective sprinkler system or of a                                (d) intermittent;
            household appliance; or discharge, leakage, or
            overflow from within the system or appliance                                      (e) slow; or
            caused by freezing. This does not apply if you                                    (f)   trickling; and
            have used reasonable care to:
                                                                                       (2) from a:
            (1) maintain heat in the building structure at
                 55 degrees Fahrenheit or higher; or                                          (a) heating, air conditioning, or automatic
                                                                                                  fire protective sprinkler system;
            (2) shut off the water supply and drain the sys-
                tem and appliances of water.                                                  (b) household appliance; or
            However, if the building structure is protected                                   (c) plumbing system, including from,
            by an automatic fire protective sprinkler system,                                     within or around any shower stall,
            you must use reasonable care to continue the                                          shower bath, tub installation, or other
            water supply and maintain heat in the building                                        plumbing fixture, including their walls,
            structure at 55 degrees Fahrenheit or higher for                                      ceilings, or floors.
            coverage to apply;
                                                                                       We also will not pay for losses arising from con-
       c.   freezing, thawing, pressure, or weight of water,                           densation or the presence of humidity, moisture,
            ice, snow, or sleet, whether driven by wind or
                                                                                       or vapor that occurs or develops over a period
            not, to:
                                                                                       of time;
            (1) a swimming pool, hot tub, or spa, including
                  their covers, filtration, and circulation sys-                 g.    wear, tear, decay, marring, scratching, deterio-
                  tems; or                                                             ration, inherent vice, latent defect, or mechani-
            (2) an awning, fence, pavement, patio, founda-                             cal breakdown;
                  tion (including slabs, basement walls, crawl                   h.    corrosion, electrolysis, or rust;
                  space walls, and footings), retaining wall,
                  bulkhead, pier, wharf, or dock;                                i.    wet or dry rot;

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     j.   contamination or pollution, meaning the pres-                              (1) This includes:
          ence, discharge, dispersal, seepage, migration,
                                                                                            (a) nesting, infestation, gnawing, feeding,
          release, or escape of contaminants or pollutants                                      breeding, or discharge or release of
          at or from any source. This does not apply if the                                     waste products or secretions by ani-
          presence, discharge, dispersal, seepage, migra-
                                                                                                mals, birds, or insects;
          tion, release, or escape is itself caused by a peril
          described in SECTION I – LOSSES INSURED,                                          (b) costs to remove animals, birds, or in-
          COVERAGE B – PERSONAL PROPERTY.                                                       sects from the covered property; and
          (1) Contaminants and pollutants include but                                       (c) costs to prevent the animals, birds, or
              are not limited to any:                                                           insects from returning to the property;
               (a) solid, liquid, gaseous, or thermal irritant,
                                                                                     (2) However, we will pay for:
                   including smoke from agricultural
                   smudging or industrial operations,                                       (a) losses caused by wild bears or deer;
                   smog, soot, vapor, fumes, acids, alka-                                       and
                   lis, chemicals, pathogens, noxious
                   substances, asbestos, or lead;                                           (b) the breakage of glass or safety glaz-
                                                                                                ing material that is a part of a building
               (b) contaminants or pollutants resulting                                         structure, when caused by animals,
                   from any natural resource extraction                                         birds, or insects; or
                   activities; or
                                                                               m. pressure from or presence of tree, shrub, or
               (c) fuel oil except as specifically provided                       plant roots.
                   in SECTION I – ADDITIONAL COV-                              However, we will pay for any resulting loss from items
                   ERAGES, Fuel Oil Release.                                   a. through l. unless the resulting loss is itself a Loss
          (2) We also will not pay for:                                        Not Insured as described in this Section.
               (a) losses arising from contamination or                 2.     We will not pay for, under any part of this policy, any
                   pollution caused by or resulting from                       loss that would not have occurred in the absence of
                   defective building materials, nuclear                       one or more of the following excluded events. We will
                   substances, and waste. Waste in-                            not pay for such loss regardless of: (a) the cause of
                   cludes materials to be recycled, re-                        the excluded event; or (b) other causes of the loss; or
                   conditioned, or reclaimed;                                  (c) whether other causes acted concurrently or in any
                                                                               sequence with the excluded event to produce the loss;
               (b) the cost to extract contaminants or pollu-                  or (d) whether the event occurs abruptly or gradually,
                   tants from land, water, or air, or the cost                 involves isolated or widespread damage, occurs on
                   to remove, restore, or replace contami-                     or off the residence premises, arises from any nat-
                   nated or polluted land, water, or air; or                   ural or external forces, or occurs as a result of any
                                                                               combination of these:
               (c) the cost of testing, monitoring, clean-
                   ing, removing, containing, treating,                        a.    Ordinance or Law, meaning enforcement of
                   detoxifying, neutralizing, remediating,                           any ordinance or law regulating the construction,
                   disposing of, or assessing the effects                            repair, or demolition of a building structure or
                   of contaminants or pollutants;                                    other structure.
                                                                               b.    Earth Movement, meaning the sinking, rising,
     k.   settling, cracking, shrinking, bulging, or expan-
          sion of pavements, patios, foundations, (includ-                           shifting, expanding, or contracting of earth, all
          ing slabs, basement walls, crawl space walls,                              regardless of whether combined with water,
                                                                                     sewage, or any material carried by, or otherwise
          and footings), walls, floors, roofs, or ceilings;
                                                                                     moved by the earth. Earth movement includes
     l.   all animals, birds, or insects.                                            but is not limited to:

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          (1)  earthquake;                                                              any other system designed to remove sub-
          (2)  landslide, mudslide, or mudflow;                                         surface water that is drained from the foun-
                                                                                        dation area;
          (3)  sinkhole or subsidence;
                                                                                    (8) water or sewage below the surface of the
          (4)  movement resulting from:                                                 ground, including water or sewage that ex-
               (a) improper compaction;                                                 erts pressure on, or seeps or leaks through
               (b) site selection;                                                      a building structure, sidewalk, driveway,
                                                                                        swimming pool, or other structure; or
               (c) natural resource extraction activities; or
                                                                                    (9) material carried or otherwise moved by any
               (d) excavation;                                                          of the water or sewage, as described in
          (5) erosion;                                                                  items c.(1) through c.(8) above.
          (6) pressure by surface or subsurface earth or fill;                      However, we will pay for any accidental direct
               or                                                                   physical loss by fire, explosion, or theft resulting
          (7) any volcanic activity, except as specifically                         from water, provided the resulting loss is itself a
               provided in SECTION I – ADDITIONAL                                   loss insured.
               COVERAGES, Volcanic Action.                                    d.    Neglect, meaning neglect of the insured to use
          However, we will pay for any accidental direct                            all reasonable means to save and preserve
          physical loss by fire resulting from earth move-                          property at and after the time of a loss, or when
          ment, provided the resulting fire loss is itself a                        property is endangered.
          loss insured.                                                       e.    War, including any undeclared war, civil war, in-
     c.   Water, meaning:                                                           surrection, rebellion, revolution, warlike act by a
          (1) flood;                                                                military force or military personnel, destruction or
                                                                                    seizure or use for a military purpose, and in-
          (2) surface water. This does not include water                            cluding any consequence of any of these. Dis-
              solely caused by the release of water from                            charge of a nuclear weapon will be considered
              a swimming pool, spigot, sprinkler system,                            a warlike act even if accidental.
              hose, or hydrant;                                               f.    Nuclear Hazard, meaning any nuclear reaction,
          (3) waves (including tidal wave, tsunami, and                             radiation, or radioactive contamination, all
              seiche);                                                              whether controlled or uncontrolled or however
          (4) tides or tidal water;                                                 caused, or any consequence of any of these.
                                                                                    Loss caused by the nuclear hazard will not be
          (5) overflow of any body of water (including                              considered loss caused by fire, explosion, or
              any release, escape, or rising of any body                            smoke.
              of water, or any water held, contained, con-                          However, we will pay for any accidental direct
              trolled, or diverted by a dam, levee, dike, or                        physical loss by fire resulting from the nuclear
              any type of water containment, diversion,                             hazard, provided the resulting fire loss is itself a
              or flood control device);                                             loss insured.
          (6) spray or surge from any of the items c.(1)                      g.    Fungus, including:
              through c.(5) described above, all whether
              driven by wind or not;                                                (1) any loss of use or delay in rebuilding, re-
                                                                                        pairing, or replacing covered property, in-
          (7) water or sewage from outside the resi-
              dence premises plumbing system that en-                                   cluding any associated cost or expense,
              ters through sewers or drains, or water or                                due to interference at the residence prem-
              sewage that enters into and overflows from                                ises or location of the rebuilding, repair, or
              within a sump pump, sump pump well, or                                    replacement, by fungus;

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          (2) any remediation of fungus, including the                                    received payment. In no event will we pay
              cost to:                                                                    more than the limit of liability.
               (a) remove the fungus from covered                                         If we pay an innocent coinsured for a loss
                   property or to repair, restore, or re-                                 described above, the rights of the innocent
                   place that property; or                                                coinsured to recover damages from the
                                                                                          perpetrator of the domestic violence are
               (b) tear out and replace any part of the                                   transferred to us to the extent of our pay-
                   building structure or other property                                   ment. Following the loss, the innocent co-
                   as needed to gain access to the fun-                                   insured may not waive such rights to
                   gus; or                                                                recover against the perpetrator in the do-
                                                                                          mestic violence.
          (3) the cost of any testing or monitoring of air
              or property to confirm the type, absence,               3.     We will not pay for, under any part of this policy, any
              presence, or level of fungus, whether per-                     loss consisting of one or more of the items below.
              formed prior to, during, or after removal, re-                 Further, we will not pay for any loss described in par-
              pair, restoration, or replacement of                           agraphs 1. and 2. immediately above regardless of
              covered property.                                              whether one or more of the following: (a) directly or
                                                                             indirectly cause, contribute to, or aggravate the loss;
     h.   Intentional Losses. If any insured intention-                      or (b) occur before, at the same time, or after the loss
          ally causes or procures a loss to property cov-                    or any other cause of the loss:
          ered under this policy, we will not pay any
          insured for this loss. This applies regardless of                  a.    conduct, act, failure to act, or decision of any
          whether the insured is charged with or con-                              person, group, organization, or governmental
          victed of a crime.                                                       body whether intentional, wrongful, negligent, or
                                                                                   without fault;
          This does not apply to an:
                                                                             b.    defect, weakness, inadequacy, fault, or un-
          a.   insured who did not participate in, cooper-                         soundness in:
               ate in, or contribute to causing or procuring
                                                                                   (1) planning, zoning, development, surveying,
               the loss; or
                                                                                        or siting;
          b.   innocent coinsured if the loss arose out of
                                                                                   (2) design, specifications, workmanship, re-
               domestic violence. Coverage will be pro-
               vided only if the innocent coinsured files a                             pair, construction, renovation, remodeling,
               police report and completes a sworn affida-                              grading, or compaction;
               vit indicating both:                                                (3) materials used in repair, construction, ren-
               (1) the cause of the loss; and                                          ovation, remodeling, grading, or compac-
                                                                                       tion; or
               (2) a pledge to cooperate in any criminal
                   prosecution of the person committing                            (4) maintenance;
                   the act causing the loss.                                       of any property (including land, structures, or im-
               Our payment to the innocent coinsured will                          provements of any kind) whether on or off the
               be limited to that insured’s ownership in-                          residence premises; or
               terest in the property as reduced by any
                                                                             c.    weather conditions.
               payment to a mortgagee or other secured
               interest. However, we will not be required                    However, we will pay for any resulting loss from items
               to make any subsequent payment for any                        3a., 3b., and 3c. unless the resulting loss is itself a
               loss for which the innocent coinsured has                     Loss Not Insured as described in this Section.


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                                       SECTION I – LOSS SETTLEMENT
  Only the Loss Settlement Provisions shown in the Dec-                  COVERAGE B – PERSONAL PROPERTY
  larations apply. We will settle covered property losses                1.     B1 – Limited Replacement Cost Loss Settlement.
  according to the following. However, the valuation of any
  covered property losses does not include, and we will not                     a.    We will pay the cost to repair or replace property
  pay, any amount for diminution in value.                                            covered under SECTION I – PROPERTY COV-
                                                                                      ERAGES, COVERAGE B – PERSONAL
  COVERAGE A – BUILDING PROPERTY                                                      PROPERTY, except for property listed in item b.
  1.   We will pay the cost to repair or replace with similar                         below, subject to the following:
       construction and for the same use on the premises                              (1) until repair or replacement is completed,
       shown in the Declarations, the damaged part of the                                 we will pay only the actual cash value of
       building property covered under SECTION I – PROP-                                  the damaged property;
       ERTY COVERAGES, COVERAGE A – BUILDING
       PROPERTY, except for wood fences, subject to the                               (2) after repair or replacement is completed,
       following:                                                                         we will pay the difference between the ac-
                                                                                          tual cash value and the cost you have ac-
       a.   until actual repair or replacement is completed,
                                                                                          tually and necessarily spent to repair or
            we will pay only the actual cash value of the
            damaged part of the property, up to the applica-                              replace the property; and
            ble limit of liability shown in the Declarations,                         (3) if property is not repaired or replaced within
            not to exceed the cost to repair or replace the                               two years after the date of loss, we will pay
            damaged part of the property;                                                 only the actual cash value.
       b.   when the repair or replacement is actually com-
                                                                                b.    We will pay market value at the time of loss for:
            pleted, we will pay the covered additional amount
            you actually and necessarily spend to repair or                           (1) antiques, fine arts, paintings, statuary, and
            replace the damaged part of the property, or an                               similar articles which by their inherent na-
            amount up to the applicable limit of liability                                ture cannot be replaced with new articles;
            shown in the Declarations, whichever is less;
                                                                                      (2) articles whose age or history contribute sub-
       c.   to receive any additional payments on a replace-
            ment cost basis, you must complete the actual                                 stantially to their value including, but not
            repair or replacement of the damaged part of the                              limited to, memorabilia, souvenirs, and col-
            property within two years after the date of loss,                             lectors items; and
            and notify us within 30 days after the work has                           (3) property not useful for its intended purpose.
            been completed; and
       d.   we will not pay for increased costs resulting from                  However, we will not pay an amount exceeding the
            enforcement of any ordinance or law regulating                      smallest of the following for items a. and b. above:
            the construction, repair, or demolition of a build-                       (1) our cost to replace at the time of loss;
            ing structure or other structure.
                                                                                      (2) the full cost of repair;
  2.   Wood Fences: We will pay the actual cash value for
                                                                                      (3) any special limit of liability described in this
       loss or damage to wood fences, not to exceed the
                                                                                          policy; or
       limit of liability shown in the Declarations for COV-
       ERAGE A – BUILDING PROPERTY.                                                   (4) any applicable Coverage B limit of liability.

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  2.   B2 – Depreciated Loss Settlement.                                                      not limited to, memorabilia, souvenirs, and
       a. We will pay the actual cash value for property                                      collectors items; and
           covered under SECTION I – PROPERTY COV-                                     (3) property not useful for its intended purpose.
           ERAGES, COVERAGE B – PERSONAL
           PROPERTY, except for property listed in item b.                       However, we will not pay an amount exceeding the
           below.                                                                smallest of the following for items a. and b. above:
       b. We will pay market value at the time of loss for:                            (1) our cost to replace at the time of loss;
           (1) antiques, fine arts, paintings, statuary, and                           (2) the full cost of repair;
               similar articles which by their inherent na-
                                                                                       (3) any special limit of liability described in this
               ture cannot be replaced with new articles;
                                                                                           policy; or
           (2) articles whose age or history contribute
               substantially to their value including, but                             (4) any applicable Coverage B limit of liability.

                                               SECTION I – CONDITIONS
  1.   Insurable Interest and Limit of Liability. Even if                              (2) attaching all bills, receipts, and related doc-
       more than one person has an insurable interest in the                               uments that substantiate the figures in the
       property covered, we will not be liable:                                            inventory;
       a.   to the insured for an amount greater than the                        d.    as often as we reasonably require:
            insured’s interest; or                                                     (1) exhibit the damaged property;
       b.   for more than the applicable limit of liability.                           (2) provide us with any requested records and
                                                                                           documents and allow us to make copies;
  2.   Your Duties After Loss. After a loss to which this
       insurance may apply, you must cooperate with us in                              (3) while not in the presence of any other in-
       the investigation of the claim and also see that the                                sured:
       following duties are performed:                                                        (a) give statements; and
       a.   give immediate notice to us or our agent and                                      (b) submit to examinations under oath;
            also notify:                                                                          and
            (1) the police if the loss is caused by theft, van-                        (4) produce employees, members of the in-
                dalism, or any other criminal act; and                                     sured’s household, or others for examina-
            (2) the credit card company or bank if the loss in-                            tion under oath to the extent it is within the
                volves a credit card or bank fund transfer                                 insured’s power to do so; and
                card;                                                            e.    submit to us, within 60 days after the loss, your
       b.   protect the property from further damage or loss                           signed, sworn proof of loss that sets forth, to the
            and also:                                                                  best of your knowledge and belief:
            (1) make reasonable and necessary temporary                                (1) the time and cause of loss;
                 repairs required to protect the property; and                         (2) interest of the insured and all others in the
            (2) keep an accurate record of repair expenses;                                property involved and all encumbrances on
       c.   prepare an inventory of damaged or stolen per-                                 the property;
            sonal property:                                                            (3) other insurance that may cover the loss;
            (1) showing in detail the quantity, description,
                                                                                       (4) changes in title or occupancy of the prop-
                 age, replacement cost, and amount of loss;
                 and                                                                       erty during the term of this policy;


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            (5) specifications of any damaged structure                               The written report of agreement will set the
                and detailed estimates for repair of the                              amount of the loss of each item in dispute and
                damage;                                                               will be binding upon you and us.
            (6) an inventory of damaged or stolen personal                      c.    If the two appraisers fail to agree upon the
                property described in 2.c.;                                           amount of the loss within 30 days, unless the pe-
                                                                                      riod of time is extended by mutual agreement, they
            (7) receipts for additional living expenses in-                           will select a competent, disinterested umpire and
                curred and records supporting the fair                                will submit their differences to the umpire. If the
                rental value loss; and                                                appraisers are unable to agree upon an umpire
                                                                                      within 15 days:
            (8) evidence or affidavit supporting a claim under
                SECTION I – ADDITIONAL COVERAGES,                                     (1) you or we may make a written application
                Credit Card, Bank Fund Transfer Card, For-                                for a judge of a court of record in the same
                gery, and Counterfeit Money coverage,                                     state and county (or city if the city is not
                stating the amount and cause of loss.                                     within a county) where the residence
                                                                                          premises is located to select an umpire;
  3.   Loss to a Pair or Set. In case of loss to a pair or set,
       we may choose to:                                                              (2) the party requesting the selection de-
                                                                                          scribed in item c.(1) must provide the other
       a.   repair or replace any part to restore the pair or                             party:
            set to its value before the loss; or
                                                                                             (a) written notice of the intent to file,
       b.   pay the difference between the depreciated                                           identifying the specific location and
            value of the property before the loss and the de-                                    identity of the court at least 10 days
            preciated value of the property after the loss.                                      prior to submission of the written ap-
  4.   Appraisal. If you and we fail to agree on the amount of                                   plication; and
       loss, either party can demand that the amount of the loss                             (b) a copy of the written application; and
       be set by appraisal. Only you or we may demand ap-
       praisal. A demand for appraisal must be in writing. You                        (3) a written report of agreement, as required
       must comply with SECTION I – CONDITIONS, Your                                      in item b., signed by any two (appraisers or
       Duties After Loss before making a demand for ap-                                   appraiser and umpire) will set the amount
       praisal. At least 10 days before demanding appraisal, the                          of the loss of each item in dispute and will
       party seeking appraisal must provide the other party with                          be binding upon you and us. In all in-
       written, itemized documentation of a specific dispute as                           stances the written report of agreement will
       to the amount of the loss, identifying separately each                             be itemized and state separately the actual
       item being disputed.                                                               cash value, replacement cost, and if appli-
                                                                                          cable, the market value of each item in dis-
       a.   Each party will select a competent, disinterested                             pute.
            appraiser and notify the other party of the ap-
            praiser’s identity within 20 days of receipt of the                 d.    To qualify as an appraiser or umpire for a loss to
                                                                                      building property, a person must be one of the
            written demand for appraisal.
                                                                                      following and be licensed or certified as re-
       b.   The appraisers will then attempt to set the                               quired by the applicable jurisdiction:
            amount of the loss of each item in dispute as                             (1) an engineer or architect with experience and
            specified by each party, and jointly submit to
                                                                                          training in building construction, repair, esti-
            each party a written report of agreement signed                               mating, or investigation of the type of prop-
            by them. In all instances the written report of                               erty damage in dispute;
            agreement will be itemized and state separately
            the actual cash value, replacement cost, and if                           (2) an adjuster or public adjuster with experi-
            applicable, the market value of each item in dis-                             ence and training in estimating the type of
            pute.                                                                         property damage in dispute; or
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            (3) a contractor with experience and training in                           our share of the loss. Our share is the propor-
                the construction, repair, and estimating of                            tion of the loss that the applicable limit under this
                the type of property damage in dispute.                                policy bears to the total amount of insurance
       e.   A person may not serve as an appraiser or um-                              covering the loss.
            pire if that person, any employee of that person,                          If, at the time of loss, there is other insurance in
            that person’s employer, or any employee of their                           the name of the condominium covering the
            employer:                                                                  same property covered by this policy, this insur-
            (1) has performed services for either party with                           ance will be excess over the amount recovera-
                respect to the claim at issue in the ap-                               ble under such other insurance.
                praisal; or                                                      b.    Other Insurance (with respect to COVERAGE D –
            (2) has a financial interest in the outcome of                             LOSS ASSESSMENT). If a loss covered by this
                the claim at issue in the appraisal.                                   policy is also covered by other insurance, this in-
                                                                                       surance shall be excess over other insurance in the
       f.   Each party will be responsible for the compen-                             name of the condominium covering the same
            sation of their selected appraiser. Reasonable                             property covered by this policy.
            expenses of the appraisal and the reasonable
                                                                          6.     Suit Against Us. No action will be brought against
            compensation of the umpire will be paid equally
            by you and us.                                                       us unless there has been full compliance with all of
                                                                                 the policy provisions. Any action by any party must
       g.   You and we do not waive any rights by demand-                        be started within ten years after the date of loss or
            ing or submitting to an appraisal, and retain all                    damage.
            contractual rights to determine if coverage applies
                                                                          7.     Our Option. We may repair or replace any part of
            to each item in dispute.
                                                                                 the property damaged or stolen with similar property.
       h.   Appraisal is only available to determine the                         Any property we pay for or replace becomes our
            amount of the loss of each item in dispute. The                      property.
            appraisers and the umpire have no authority to
            decide:                                                              However, when the peril of fire causes partial destruc-
                                                                                 tion or damage to covered property, pursuant to Sec-
            (1) any other questions of fact;                                     tion 379.150 RS Mo. 1986, we will pay for the damage
            (2) questions of law;                                                done to the property or repair the property to the extent
                                                                                 of the damage, at your option. Payment will not ex-
            (3) questions of coverage;                                           ceed the limits of liability of this policy, and the dam-
            (4) other contractual issues; or                                     aged property will be in as good condition as before the
                                                                                 fire.
            (5) to conduct appraisal on a class-wide basis.
                                                                          8.  Loss Payment. We will adjust all losses with you.
       i.   Appraisal is a non-judicial proceeding and does not               We will pay you unless some other person is named
            provide for or require arbitration. Neither party will            in the policy or is legally entitled to receive payment.
            be awarded attorney fees. The appraisal award                     Loss will be payable 60 days after we receive your
            may not be entered as a judgment in a court.                      proof of loss and:
       j.   A party may not demand appraisal after that                       a. reach agreement with you;
            party brings suit or action against the other party               b. there is an entry of a final judgment; or
            relating to the amount of loss.
                                                                              c. there is a filing of an appraisal award with us.
  5.   a.   Other Insurance (with respect to all coverages
                                                                          9. Abandonment of Property. We need not accept
            except COVERAGE D – LOSS ASSESS-
            MENT). If a loss covered by this policy is also                   any property abandoned by an insured.
            covered by other insurance, except insurance in               10. Mortgagee Clause. The word “mortgagee” includes
            the name of the condominium, we will pay only                     trustee.

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      a.   If a mortgagee is named in this policy, any loss pay-                      (2) at our option, we may pay to the mortgagee
           able under Coverage A will be paid to the mortga-                              the whole principal on the mortgage plus any
           gee and you, as interests appear. If more than one                             accrued interest. In this event, we will receive
           mortgagee is named, the order of payment will be                               a full assignment and transfer of the mortgage
           the same as the order of precedence of the mort-                               and all securities held as collateral to the
           gages.                                                                         mortgage debt.
      b.   If we deny your claim, that denial will not ap-                      f.    Subrogation does not impair the right of the
           ply to a valid claim of the mortgagee, if the                              mortgagee to recover the full amount of the
           mortgagee:
                                                                                      mortgagee’s claim.
           (1) notifies us of any change in ownership, oc-
                                                                         11. No Benefit to Bailee. We will not recognize an as-
                 cupancy, or substantial change in risk of
                                                                             signment or grant coverage for the benefit of a person
                 which the mortgagee is aware;
                                                                             or organization holding, storing, or transporting prop-
           (2) pays on demand any premium due under                          erty for a fee. This applies regardless of any other
               this policy, if you have not paid the premium;                provision of this policy.
               and                                                       12. Recovered Property. If either you or we recover
           (3) submits a signed, sworn statement of loss                     any property after loss settlement, that party must
                  within 60 days after receiving notice from                 give the other prompt notice. At your option, you
                  us of your failure to do so. Policy condi-                 may keep the property or we will return it to you. Oth-
                  tions relating to Appraisal, Suit Against                  erwise, it will become our property. If you choose to
                  Us, and Loss Payment apply to the mort-                    keep the property, the loss payment will be adjusted
                  gagee.                                                     based on the amount you received for the recovered
      c.   If we cancel this policy, the mortgagee will be                   property.
           notified at least 10 days before the date cancel-             13. Assignment of Claim. Assignment to another party
           lation takes effect. Proof of mailing will be proof
                                                                             of any of your rights or duties under this policy re-
           of notice.
                                                                             garding any claim, or any part of any claim, will be
      d.   If this policy is void as to an insured under the                 void and we will not recognize any such assignment,
           terms and conditions of this policy, the mortga-
                                                                             unless we give our written consent. However, once
           gee will be notified at least 10 days before the
           date coverage ceases for its interests. Proof of                  you have complied with all policy provisions, you
           mailing will be proof of notice.                                  may assign to another party, in writing, payment of
                                                                             claim proceeds otherwise payable to you.
      e.   If we pay the mortgagee for any loss and deny
           payment to you:                                               14. Glass Replacement. Loss for damage to glass
           (1) we are subrogated to all the rights of the                    caused by a loss insured will be settled on the basis
                  mortgagee granted under the mortgage on                    of replacement with safety glazing materials when re-
                  the property; or                                           quired by ordinance or law.

                                    SECTION II – LIABILITY COVERAGES
  COVERAGE L – PERSONAL LIABILITY                                        1.     pay up to our limit of liability for the damages for
                                                                                which the insured is legally liable. We will not pay
  If a claim is made or a suit is brought against an insured                    for criminal restitution; and
  for damages because of bodily injury or property damage                2.     provide a defense at our expense by counsel of our
  to which this coverage applies, caused by an occurrence,                      choice. We may make any investigation and settle
  we will:                                                                      any claim or suit that we decide is appropriate. Our


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       obligation to defend any suit ends when the amount                        c.    reasonable expenses an insured incurs at our
       we pay for damages, to effect settlement or satisfy a                           request. This includes actual loss of earnings
       judgment resulting from the occurrence, equals our                              (but not loss of other income) up to $250 per day
       limit of liability. We will not provide a defense to any                        for aiding us in the investigation or defense of
       insured for criminal prosecution or proceedings.                                claims or suits;
  COVERAGE M – MEDICAL PAYMENTS TO OTHERS
                                                                                 d.    interest the insured is legally liable to pay on
  We will pay the necessary medical expenses incurred or                               damages payable under Coverage L above be-
  medically ascertained within three years from the date of                            fore a judgment, but only the interest on the
  an accident causing bodily injury. Medical expenses                                  lesser of:
  means reasonable charges for medical, surgical, x-ray,
  dental, ambulance, hospital, professional nursing, rehabil-                          (1) that part of the damages we pay; or
  itation, pharmaceuticals, orthopedic devices, prosthetic
  devices, and funeral services. This coverage applies only:                           (2) the Coverage L limit; and
  1.   to a person on the insured location with the permis-                      e.    interest on the entire judgment that accrues after
       sion of an insured;                                                             entry of the judgment and before we pay or ten-
  2.   to a person off the insured location, if the bodily in-                         der, or deposit in court that part of the judgment
       jury:                                                                           that does not exceed the limit of liability that ap-
                                                                                       plies.
       a.     arises out of a condition on the insured location
              or the ways immediately adjoining;                          2.     First Aid Expenses. We will pay expenses for first
         b. is caused by the activities of an insured;                           aid to others incurred by an insured for bodily injury
                                                                                 covered under this policy. We will not pay for first aid
         c. is caused by a residence employee in the
                                                                                 to you or any other insured.
              course of the residence employee’s employ-
              ment by an insured; or                                      3.     Damage to Property of Others.
         d. is caused by an animal owned by or in the care                       a.    We will pay for property damage to property of
              of an insured; or
                                                                                       others caused by the activities of an insured.
  3. to a residence employee if the occurrence causing
         bodily injury occurs off the insured location and                       b.    We will not pay more than the smallest of the
         arises out of or in the course of the residence em-                           following amounts:
         ployee’s employment by an insured.
                                                                                       (1) replacement cost at the time of loss;
  SECTION II – ADDITIONAL COVERAGES
                                                                                       (2) full cost of repair; or
  The following Additional Coverages are subject to all the
  terms, provisions, exclusions, and conditions of this policy.                        (3) the limit of liability shown in the Declara-
  We will pay for the following in addition to the limits of lia-                          tions for Damage to Property of Others
  bility:                                                                                  for any one occurrence.
  1. Claim Expenses. We will pay:                                                c.    We will not pay for property damage:
       a.   expenses we incur and costs taxed against an                               (1) for a loss that is recoverable under Section
            insured in suits we defend. Taxed costs do not                                 I of this policy. We also will not pay for any
            include attorney fees;                                                         applicable deductible regardless of
       b.   premiums on bonds required in suits we defend,                                 whether the amount of the loss exceeds the
            but not for bond amounts greater than the Cov-                                 deductible;
            erage L limit. We are not obligated to apply for                           (2) caused intentionally by an insured 13
            or furnish any bond;                                                           years of age or older;
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            (3) to property, other than a rented golf cart, owned                             (c) a condition on the insured location or
                by, or rented to an insured, a tenant of an in-                                   the ways immediately adjoining; or
                sured, or a resident in your household;                                       (d) the ownership, maintenance, or use of
            (4) arising out of:                                                                   a motor vehicle, aircraft, or water-
                                                                                                  craft, including airboat, air cushion,
                 (a) business pursuits;                                                           personal watercraft, sail board, or sim-
                 (b) any act or omission in connection with                                       ilar type watercraft; or
                     a premises an insured owns, rents, or                             (5) if a payment is made under COVERAGE L –
                     controls, other than the insured loca-                                PERSONAL LIABILITY for the same
                     tion;                                                                 property damage.

                                              SECTION II – EXCLUSIONS
  1.   Coverage L and Coverage M do not apply to:                                b.    bodily injury or property damage arising out
                                                                                       of business pursuits of any insured, except as
       a.   bodily injury or property damage that:
                                                                                       provided in item c. below. This exclusion does
            (1) was a result of a:                                                     not apply to activities that are ordinarily incident
                 (a) willful and malicious; or                                         to non-business pursuits;

                 (b) criminal;                                                   c.    bodily injury or property damage arising out
                                                                                       of the rental of any part of any premises by any
                 act or omission of the insured;                                       insured. This exclusion does not apply:
            (2) was intended by the insured; or                                        (1) to the rental of the residence premises:
            (3) would have been expected by the insured                                       (a) either completely or in part, for exclu-
                based on a reasonable person standard.                                            sive use as a residence, for up to 30
            However, exclusions a.(2) and a.(3) above do                                          nights in the 12-month period prior to
            not apply to bodily injury or property damage                                         the date of the loss;
            resulting from the use of reasonable force to pro-                                (b) in part, for use as a permanent resi-
            tect persons or property.                                                             dence, by either one or two full-time
            Exclusions a.(1), a.(2), and a.(3) above apply to                                     roomers or boarders; or
            all bodily injury or property damage even if                                      (c) in part, as an office, school, studio, or
            the:                                                                                  private garage;
            (1) bodily injury or property damage was                                   (2) to farm land (without buildings), rented to
                sustained by a different person, entity, or                                others, but not to exceed a total of 500
                property than was expected or intended;                                    acres, regardless of the number of loca-
            (2) bodily injury or property damage was of                                    tions;
                a different kind, quality, or degree than was                          (3) with respect to loss under Coverage D; or
                expected or intended;
                                                                                       (4) to activities that are ordinarily incident to
            (3) insured lacked the mental capacity to con-                                 non-business pursuits;
                trol his or her conduct;
                                                                                 d.    bodily injury or property damage arising out
            (4) insured was not charged with or convicted                              of the rendering or failing to render professional
                of a criminal act or omission; or                                      services. This exclusion does not apply to Cov-
            (5) insured was impaired by drugs or alcohol;                              erage D;
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     e.   bodily injury or property damage arising out                                  (c) powered by one or more outboard mo-
          of any premises currently owned or rented to                                       tors with more than 25 total horse-
          any insured which is not an insured location.                                      power owned by any insured;
          This exclusion does not apply to bodily injury                                (d) designated as an airboat, air cushion,
          to a residence employee arising out of and in                                      or similar type of craft; or
          the course of the residence employee’s em-
          ployment by an insured;                                                       (e) owned by any insured if it is a per-
                                                                                             sonal watercraft using a water jet
     f.   bodily injury or property damage arising out                                       pump powered by an internal combus-
          of the ownership, maintenance, use, loading, or                                    tion engine as the primary source of
          unloading of:                                                                      propulsion.
          (1) an aircraft. This exclusion does not apply                           This exclusion does not apply to bodily injury
              to the ownership, maintenance, use, load-                            to a residence employee arising out of and in
              ing, or unloading of unmanned aircraft sys-                          the course of the residence employee’s em-
              tems used as model aircraft:                                         ployment by an insured. Exclusion f.(2) does
              (a) solely for recreational or hobby pur-                            not apply to an all-terrain vehicle or motorized
                  poses;                                                           bicycle owned by an insured while on an in-
                                                                                   sured location. Exclusion f.(3) does not apply
              (b) designed to be operated within the                               while the watercraft is on the residence prem-
                  visual line of sight of the operator and                         ises;
                  operated within the visual line of sight                   g.    bodily injury or property damage arising out
                  of the operator; and                                             of:
              (c) weighing not more than 55 pounds at                              (1) the entrustment by any insured to any per-
                  the time of operation;                                                son;
              unless the ownership, maintenance, use, load-                        (2) the supervision by any insured of any per-
              ing, or unloading of such aircraft results in:                            son;
              (a) property damage to any aircraft; or                              (3) any liability statutorily imposed on any in-
                                                                                        sured; or
              (b) bodily injury or property damage re-
                                                                                   (4) any liability assumed through an unwritten
                  sulting from interference with an air-                                or written agreement by any insured;
                  craft carrying people regardless of
                  whether the bodily injury or property                            with regard to the ownership, maintenance, or
                                                                                   use of any aircraft, watercraft, or motor vehicle
                  damage is sustained by people or
                                                                                   not covered under Section II of this policy;
                  property on the aircraft or not;
                                                                             h.    bodily injury or property damage caused di-
          (2) a motor vehicle owned or operated by or                              rectly or indirectly by war, including undeclared
              rented or loaned to any insured; or                                  war, or any warlike act including destruction, sei-
          (3) a watercraft:                                                        zure, or use for a military purpose, or any con-
                                                                                   sequence of these. Discharge of a nuclear
              (a) owned by or rented to any insured if it                          weapon will be considered a warlike act even if
                  has inboard or inboard-outdrive motor                            accidental;
                  power of more than 50 horsepower;
                                                                             i.    bodily injury to any insured within the meaning of
              (b) owned by or rented to any insured if                             part 11.a., 11.b., or 11.c. of the definition of in-
                  it is a sailing vessel, with or without                          sured.
                  auxiliary power, 26 feet or more in                              This exclusion also applies to any claim made or
                  overall length;                                                  suit brought against any insured within the
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          meaning of part 11.a., 11.b., or 11.c. of the defi-                       This exclusion does not apply to the legitimate
          nition of insured to share damages with or re-                            use of legally prescribed drugs, under either fed-
          pay someone else who may be obligated to pay                              eral or state law, by a person following orders of
          damages because of the bodily injury sus-                                 a licensed health care professional;
          tained by any insured within the meaning of part                    m. bodily injury or property damage arising out
          11.a., 11.b., or 11.c. of the definition of insured;                   of the actual, alleged, or threatened presence,
                                                                                 discharge, dispersal, seepage, migration, re-
     j.   any claim made or suit brought against any
          insured by:                                                            lease, escape of, or exposure to contaminants
                                                                                 or pollutants at or from any source or location.
          (1) any person in the care of any insured be-
              cause of child care services provided by or                           Contaminants and pollutants include but are not
              at the direction of:                                                  limited to any solid, liquid, gaseous, or thermal irri-
                                                                                    tant, including smoke from agricultural smudging or
               (a) any insured;                                                     industrial operations, smog, soot, vapor, fumes, ac-
               (b) any employee of any insured; or                                  ids, alkalis, chemicals, pathogens, noxious sub-
                                                                                    stances, fuel oil, asbestos, or lead.
               (c) any other person actually or appar-
                                                                                    This exclusion does not apply to bodily injury
                   ently acting on behalf of any insured;                           or property damage arising out of smoke or
                   or                                                               fumes caused by fire or explosion.
          (2) any person who makes a claim because of                               We also do not cover:
              bodily injury to any person in the care of
              any insured because of child care services                            (1) any loss, cost, or expense arising out of
              provided by or at the direction of:                                       any request, demand, order, or statutory or
                                                                                        regulatory requirement that any insured or
               (a) any insured;                                                         others test for, monitor, clean up, remove,
               (b) any employee of any insured; or                                      contain, treat, detoxify, neutralize, remedi-
                                                                                        ate, dispose of, or in any way respond to or
               (c) any other person actually or appar-                                  assess the effects of contaminants or pol-
                   ently acting on behalf of any insured.                               lutants;
          This exclusion does not apply to the occasional                           (2) any loss, cost, or expense arising out of
          child care services provided by any insured, or                               any claim or suit by or on behalf of a gov-
          to the part-time child care services provided by                              ernmental authority for damages because
          any insured under 19 years of age;                                            of testing for, monitoring, cleaning up, re-
     k.   bodily injury or property damage arising out                                  moving, containing, treating, detoxifying,
                                                                                        neutralizing, remediating, disposing of, or
          of an insured’s participation in, or preparation
                                                                                        in any way responding to or assessing the
          or practice for, any prearranged or organized                                 effects of contaminants or pollutants; or
          race, speed or demolition contest, or similar
          competition involving a motorized land vehicle                            (3) contamination or pollution arising out of ac-
                                                                                        tually or allegedly defective building mate-
          or motorized watercraft. This exclusion does not
                                                                                        rials, nuclear substances, or waste. Waste
          apply to a sailing vessel less than 26 feet in                                includes materials to be recycled, recondi-
          overall length with or without auxiliary power;                               tioned, or reclaimed;
     l.   bodily injury or property damage arising out                        n.    bodily injury or property damage arising out
          of the use, sale, manufacture, distribution, deliv-                       of any actual, alleged, or threatened:
          ery, transfer, or possession, by any insured, of
          any substance that is illegal or is a controlled                          (1) sexual harassment, sexual molestation, or
          substance under either federal or state law.                                  sexual misconduct;


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            (2) physical or mental abuse; or                                           (2) imposed on or assumed by any insured
            (3) corporal punishment;                                                       through any unwritten or written contract or
                                                                                           agreement. This exclusion does not apply
            by the insured;                                                                to liability for damages that the insured
       o.   bodily injury or property damage arising out                                   would have in absence of the contract or
            of the actual, alleged, or threatened inhalation                               agreement;
            of, ingestion of, contact with, exposure to, exist-
            ence of, or presence of any fungus at or from                        b.    property damage to property owned by any in-
            any source or location.                                                    sured at the time of the occurrence;
            We also do not cover any loss, cost, or expense                      c.    property damage to property rented to, used or
            arising out of any:                                                        occupied by, or in the care, custody, or control
            (1) request, demand, order, or statutory or reg-                           of any insured at the time of the occurrence.
                ulatory requirement that any insured or oth-                           This exclusion does not apply to property dam-
                ers test for, monitor, clean up, remove,                               age caused by fire, smoke, explosion, or abrupt
                contain, treat, detoxify, neutralize, remedi-                          and accidental damage from water;
                ate, dispose of, or in any way respond to or
                                                                                 d.    bodily injury to a person eligible to receive
                assess the effects of fungus; or
                                                                                       any benefits required to be provided or volun-
            (2) claim or suit for damages because of testing                           tarily provided by an insured or the condo-
                for, monitoring, cleaning up, removing, con-                           minium under a workers’ compensation, non-
                taining, treating, detoxifying, neutralizing, re-
                                                                                       occupational disability, or occupational dis-
                mediating, disposing of, or in any way
                                                                                       ease law;
                responding to or assessing the effects of
                fungus;                                                          e.    bodily injury or property damage for which an
                                                                                       insured under this policy is also an insured un-
       p.   bodily injury or property damage arising out
                                                                                       der a nuclear energy liability policy or would be
            of the ownership, maintenance, or use of sys-
                                                                                       an insured but for its termination upon exhaus-
            tems and equipment used to generate electrical
                                                                                       tion of its limit of liability. A nuclear energy lia-
            power exceeding 125 percent of the actual elec-
                                                                                       bility policy is a policy issued by Nuclear Energy
            trical power usage by the residence premises
                                                                                       Liability Insurance Association, Mutual Atomic
            in the 12-month period prior to the date of the
                                                                                       Energy Liability Underwriters, Nuclear Insur-
            loss; or
                                                                                       ance Association of Canada, or any of their suc-
       q.   liability assumed by any insured under any con-                            cessors; or
            tract or agreement to pay special assessments
                                                                                 f.    bodily injury or property damage arising out
            levied against the condominium owners by the
            association in accordance with the governing                               of any real property any insured has sold or
            rules of the condominium. This exclusion                                   transferred. This includes but is not limited to
            does not apply with respect to loss under Cov-                             bodily injury or property damage arising out
            erage D.                                                                   of known, unknown, hidden, or alleged property
                                                                                       conditions, problems, or defects.
  2.   Coverage L does not apply to:
       a.   liability:                                                                 This exclusion also applies to any property
                                                                                       damage to the sold or transferred real property
            (1) for your share of any loss assessment                                  itself.
                charged against all members of any type of
                association of property owners; or                                     However, this exclusion does not apply to:

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            (1) bodily injury arising out of fire, smoke, ex-                    b.    to a person eligible to receive any benefits required
                plosion, electrocution, or carbon monoxide                             to be provided or voluntarily provided under
                poisoning; or
                                                                                       any workers’ compensation, non-occupational
            (2) property damage arising out of fire,                                   disability, or occupational disease law;
                smoke, or explosion.
                                                                                 c.    to a person other than a residence employee
  3.   Coverage M does not apply to bodily injury:                                     of an insured, regularly residing on any part of
       a.   to a residence employee if it occurs off the                               the insured location; or
            insured location and does not arise out of or
                                                                                 d.    from nuclear reaction, radiation, or radioactive
            in the course of the residence employee’s
            employment by an insured. This exclusion                                   contamination, all whether controlled or uncon-
            does not apply with respect to loss under Cov-                             trolled or however caused, or any consequence
            erage D;                                                                   of any of these.



                                              SECTION II – CONDITIONS
  1.   Limit of Liability. The Coverage L limit is shown in                            (3) names and addresses of any claimants and
       the Declarations. This is the limit for all damages                                  available witnesses;
       from each occurrence for the policy period in which                       b.    immediately forward to us every notice, de-
       the bodily injury or property damage first occurs,                              mand, summons, or other process relating to the
       regardless of the number of insureds, claims made,                              accident or occurrence;
       or persons injured. No additional limits or coverage
       will be available for the occurrence under any addi-                      c.    at our request, assist in:
       tional policy periods while this policy remains in force.                       (1) making settlement;
       The Coverage M limit is shown in the Declarations.                              (2) the enforcement of any right of contribution or
       This is our limit for all medical expenses for bodily                               indemnity against a person or organization
       injury to one person as the result of one accident.
                                                                                           who may be liable to an insured;
  2.   Severability of Insurance. This insurance applies
       separately to each insured. This condition does not                             (3) the conduct of suits and attend hearings
       increase our limit of liability for any one occurrence.                             and trials; and
                                                                                       (4) securing and giving evidence and obtaining
  3.   Duties After Loss. In case of an accident or occur-
                                                                                           the attendance of witnesses;
       rence, the insured must cooperate with us in the in-
       vestigation, settlement, or defense of any claim or                       d.    under SECTION II – ADDITIONAL COVER-
       suit and also perform the following duties that apply.                          AGES, Damage to Property of Others, exhibit
       You must cooperate with us in seeing that these du-                             the damaged property if within the insured’s
                                                                                       control; and
       ties are performed:
                                                                                 e.    the insured must not, except at the insured’s
       a.   give written notice to us or our agent as soon as
                                                                                       own cost, voluntarily make payments, assume
            possible, which sets forth:                                                obligations, or incur expenses. This does not
            (1) the identity of this policy and the insured;                           apply to expense for first aid to others at the time
            (2) reasonably available information on the                                of the bodily injury.
                time, place, and circumstances of the acci-               4.     Coverage M Requirements. We may require the fol-
                dent or occurrence; and                                          lowing in regard to any Coverage M claim:

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       a.   written proof of claim, under oath if required, as                 No one will have the right to join us as a party to an
            soon as possible from the injured person, or                       action against an insured. Further, no action with re-
            when appropriate, someone acting on behalf of                      spect to Coverage L will be brought against us until
            that person;                                                       the obligation of the insured has been determined by
                                                                               final judgment on the merits, after an actual trial or by
       b.   the injured person’s submission to physical ex-
                                                                               an agreement signed by us; but we will not be liable
            aminations by a physician selected by us when
                                                                               for damages that are not payable under the terms of
            and as often as we reasonably require; and
                                                                               this policy or that are in excess of the applicable Limit
       c.   any authorizations from the injured person as                      of Liability.
            we may require.
                                                                        7.     Bankruptcy of an Insured. Bankruptcy or insolvency
  5.   Payment of Claim – Coverage M or Damage to                              of an insured will not relieve us of our obligation un-
       Property of Others. Payment under either of these                       der this policy.
       is not an admission of liability by an insured or us.            8.     Other Insurance – Coverage L. This insurance is
                                                                               excess over any other valid and collectible insur-
  6.   Suit Against Us. No action will be brought against                      ance except insurance written specifically to cover
       us unless there has been compliance with the policy                     as excess over the limits of liability that apply in this
       provisions.                                                             policy.

                               SECTION I AND SECTION II – CONDITIONS
  1.   Policy Period. This policy applies only to loss under                   b.    We may cancel this policy only for the reasons
       Section I or bodily injury or property damage under                           stated in this condition. We will notify you in writ-
       Section II that occurs during the period this policy is                       ing of the date cancellation takes effect, stating
       in effect.                                                                    the reason for cancellation. This cancellation no-
                                                                                     tice may be delivered to you, or mailed to you
  2.   Concealment or Fraud. This policy is void as to you
       and any other insured if you or any other insured                             at your last mailing address shown in the Dec-
       under this policy has intentionally concealed or mis-                         larations. Proof of mailing will be sufficient proof
                                                                                     of notice:
       represented any material fact or circumstance relat-
       ing to this insurance, whether before or after a loss.                        (1) When you have not paid the premium, we
                                                                                         may cancel at any time by notifying you at
  3.   Liberalization Clause. If we adopt any revision that
                                                                                         least 10 days before the date cancellation
       would broaden coverage under this policy without ad-                              takes effect. This condition applies whether
       ditional premium, within 60 days prior to or during the                           the premium is payable to us or our agent
       period this policy is in effect, the broadened coverage                           or under any finance or credit plan.
       will immediately apply to this policy.
                                                                                     (2) When this policy has been in effect for less
  4.   Waiver or Change of Policy Provisions. A waiver                                   than 60 days and is not a renewal with us,
       or change of any provision of this policy must be in                              we may cancel for any reason by notifying
       writing by us to be valid. Our request for an appraisal                           you at least 30 days before the date can-
       or examination does not waive any of our rights.
                                                                                         cellation takes effect.
  5.   Cancellation.
                                                                                     (3) When this policy has been in effect for 60
       a.   You may cancel this policy at any time by giving                             days or more, or at any time if it is a renewal
            us advance written notice of the date cancella-                              with us, we may cancel:
            tion is to take effect. We may waive the require-
            ment that the notice be in writing by confirming                                (a) for fraud or material misrepresentation
            the date and time of cancellation to you in writ-                                   affecting the policy or in the presenta-
            ing.                                                                                tion of a claim thereunder, or violation
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                       of any of the terms or conditions of the                                before a loss, an insured may waive in
                       policy;                                                                 writing all rights of recovery against any
                  (b) if the named insured or any occupant                                     person.
                      of the property has been convicted of                             (2) Applicable to SECTION II:
                      a crime arising out of acts increasing                                   If any insured has rights to recover all or
                      the hazard insured against; or                                           part of any payment we have made under
                  (c) if physical changes in the property in-                                  this policy, those rights are transferred to
                      sured increase the hazards originally                                    us. An insured must do nothing after loss
                      insured.                                                                 to impair them. At our request, an insured
                  We may cancel this policy by notifying you                                   will bring suit or transfer those rights to us
                  at least 30 days before the date cancella-                                   and help us enforce them.
                  tion takes effect.                                                    Subrogation does not apply under Section II to
       c.   When this policy is cancelled, the premium for                              Medical Payments to Others or Damage to
            the period from the date of cancellation to the                             Property of Others.
            expiration date will be refunded. The return pre-                     b.    Reimbursement.
            mium will be pro rata.
                                                                                        If we make payment under this policy and any
       d.   The return premium may not be refunded with                                 insured to or for whom we make payment re-
            the notice of cancellation or when this policy is                           covers or has recovered from another person or
            returned to us. In such cases, we will refund it                            organization, then the insured to or for whom
            within a reasonable time after the date cancella-                           we make payment must:
            tion takes effect.
                                                                                        (1) hold in trust for us the proceeds of any re-
  6.   Nonrenewal. We may elect not to renew this policy.                                   covery; and
       If we elect not to renew, a written notice will be deliv-
       ered to you, or mailed to you at your last mailing ad-                           (2) reimburse us to the extent of our payment.
       dress shown in the Declarations. The notice will                    9.     Death. If you die:
       state the reason for the refusal to renew and will be                      a.    we insure the legal representative of the de-
       mailed or delivered at least 30 days before the expi-                            ceased. This condition applies only with respect
       ration date of this policy. Proof of mailing will be suffi-                      to the premises and property of the deceased
       cient proof of notice.                                                           covered under this policy at the time of death;
  7.   Assignment of Policy. Assignment of this policy will                       b.    insured includes:
       be void and we will not recognize any such assign-                               (1) any member of your household who is an
       ment, unless we give our written consent.                                            insured at the time of your death, but only
  8.   Subrogation and Reimbursement.                                                       while a resident of the residence prem-
                                                                                            ises; and
       a.   Subrogation.
                                                                                        (2) with respect to your property, the person
            (1) Applicable to SECTION I:
                                                                                            having proper temporary custody of the
                  If any insured to or for whom we make                                     property until appointment and qualification
                  payment under this policy has rights to re-                               of a legal representative.
                  cover damages from another, those rights
                  are transferred to us to the extent of our               10. Conformity to State Law. When a policy provision
                  payment. That insured must do everything                     is in conflict with the applicable law of the state in
                  necessary to secure our rights and must do                   which this policy is issued, the law of the state will
                  nothing after loss to impair them. However                   apply.

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  11. Premium.                                                                             or quality of any product or service offered
     a.   Unless as otherwise provided by an alternative                                   or provided by that organization.
          payment plan in effect with the State Farm                   12. Right to Inspect.
          Companies with respect to the premium for this
          policy, the premium is due and payable in full on                   a.    We have the right but are not obligated to per-
          or before the first day of the policy period shown                        form the following:
          in the most recently issued Declarations.
                                                                                    (1) make inspections and surveys of the in-
     b.   The renewal premium for this policy will be                                   sured location at any time;
          based upon the rates in effect, the coverages
          carried, the applicable limits, deductibles, and                          (2) provide you with reports on conditions we
          other elements that affect the premium applica-                               find; or
          ble at the time of renewal.
                                                                                    (3) recommend changes.
     c.   The premium for this policy may vary based
          upon:                                                                     Any inspections, surveys, reports, or recom-
                                                                                    mendations relate only to insurability and the
          (1) the purchase of other products or services                            premiums to be charged.
              from the State Farm Companies;
                                                                              b.    We do not:
          (2) the purchase of products or services from an
              organization that has entered into an agree-                          (1) make safety inspections;
              ment or contract with the State Farm Com-                             (2) undertake to perform the duty of any per-
              panies. The State Farm Companies do not                                   son or organization to provide for the health
              warrant the merchantability, fitness, or quality                          or safety of workers or the public;
              of any product or service offered or provided
              by that organization; or                                          (3) warrant that conditions are safe or health-
                                                                                      ful; or
          (3) an agreement, concerning the insurance                            (4) warrant that conditions comply with laws,
              provided by this policy, that the State Farm                            regulations, codes, or standards.
              Companies has with an organization of
              which you are a member, employee, sub-                       This condition applies to us and to any rating, advi-
              scriber, licensee, or franchisee.                            sory, rate service, or similar organization that makes
                                                                           insurance inspections, surveys, reports, or recom-
     d.   Your purchase of this policy may allow:                          mendations on our behalf.
          (1) you to purchase or obtain certain coverages,             13. Joint and Individual Interests. When there are two
              coverage options, coverage deductibles,                      or more Named Insureds, each acts for all to cancel
              coverage limits, or coverage terms on other                  or change this policy.
              products from the State Farm Compa-
              nies, subject to their applicable eligibility            14. Change of Policy Address. We may change the
              rules; or                                                    Named Insured’s policy address as shown in the
                                                                           Declarations and in our records to the most recent
          (2) the premium or price for other products or                   address provided to us by:
              services purchased by you, including non-
                                                                              a.    you; or
              insurance products or services, to vary.
              Such other products or services must be                         b.    the United States Postal Service.
              provided by the State Farm Companies or                  15. Electronic Delivery. With your consent, we may
              by an organization that has entered into an                  electronically deliver any document or notice, includ-
              agreement or contract with the State Farm                    ing a notice to renew, nonrenew, or cancel, instead of
              Companies. The State Farm Companies                          mailing it or delivering it by other means. Proof of
              do not warrant the merchantability, fitness,                 transmission will be sufficient proof of notice.
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  16. Our Rights Regarding Claim Information.                                         (1) to enable performance of our business
       a.   We will collect, receive, obtain, use, and retain                             functions;
            all the items described in item b.(1) below and                           (2) to meet our reporting obligations to insur-
            use and retain the information described in item                              ance regulators;
            b.(3)(b) below, in accordance with applicable
            federal and state laws and regulations and con-                           (3) to meet our reporting obligations to insur-
            sistent with the performance of our business                                  ance data consolidators;
            functions.
                                                                                      (4) to meet other obligations required by law;
       b.   Subject to 16.a. above, we will not be restricted                             and
            in or prohibited from:
            (1) collecting, receiving, or obtaining records,                          (5) as otherwise permitted by law.
                receipts, invoices, medical bills, medical                      d.    Our rights under 16.a., 16.b., and 16.c. above
                records, wage information, salary infor-                              will not be impaired by any:
                mation, employment information, data, and                             (1) authorization related to any claim submit-
                any other information;                                                    ted under this policy; or
            (2) using any of the items described in item                              (2) act or omission of an insured or a legal
                b.(1) above; or                                                           representative acting on an insured’s be-
                                                                                          half.
            (3) retaining:
                 (a) any of the items in item b.(1) above; or            17. Duties Regarding Claim Information. An insured
                                                                             or a legal representative acting on an insured’s be-
                 (b) any other information we have in our                    half must provide us with any requested authoriza-
                     possession as a result of our processing,               tions related to the claim. Our rights as set forth
                     handling, or otherwise resolving claims                 under Our Rights Regarding Claim Information of
                     submitted under this policy.                            this policy will not be impaired by any:
       c.   We may disclose any of the items in b.(1) above                     a.    authorization related to the claim; or
            and any of the information described in item                        b.    act or omission of an insured or a legal repre-
            b.(3)(b) above:                                                           sentative acting on an insured’s behalf.

                                       OPTIONAL POLICY PROVISIONS
  Each Optional Policy Provision applies only as shown in                This option applies only with respect to the location shown
  the Declarations and is subject to all the terms, provi-               in the Declarations.
  sions, exclusions, and conditions of this policy.                      Option BP – Business Property. The COVERAGE B –
  Option AI – Additional Insured. The definition of insured is           PERSONAL PROPERTY, Special Limits of Liability,
  extended to include the person or organization shown in                item b., for property used or intended for use in a busi-
  the Declarations as an Additional Insured or whose name                ness, including merchandise held as samples or for sale
  is on file with us. Coverage is with respect to:                       or for delivery after sale, is changed as follows:
  1.   SECTION I – Coverage A, Coverage B, or Cover-                            The $1,500 limit is replaced with the amount shown
       age C; or                                                                in the Declarations for this option.
  2.   SECTION II – Coverage L and Coverage M but only                   Option BU – Business Pursuits. SECTION II – EXCLU-
       with respect to the residence premises. This cover-               SIONS, item 1.b. is modified as follows:
       age does not apply to bodily injury to an employee
       arising out of or in the course of the employee’s em-             1.     Section II coverage applies to the business pursuits
       ployment by the person or organization.                                  of an insured who is a:

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       a.   clerical office employee, salesperson, collector,                               by the insured for the purpose of instruc-
            messenger; or                                                                   tion in the use thereof; or
       b.   teacher (except college, university, and profes-                         (2) under Coverage M for bodily injury to a
            sional athletic coaches), school principal, or                               student arising out of corporal punishment
            school administrator;                                                        administered by or at the direction of the in-
                                                                                         sured.
       while acting within the scope of the above listed oc-
       cupations.                                                       Option FA – Firearms. Firearms are covered for acci-
                                                                        dental direct physical loss or damage.
  2.   However, no coverage is provided:
                                                                        The limits for this option are shown in the Declarations.
       a.   for bodily injury or property damage arising                The first amount is the limit for any one article; the sec-
            out of a business owned or financially con-                 ond amount is the aggregate limit for each loss.
            trolled by the insured or by a partnership of
            which the insured is a partner or member;                   The following additional provisions apply:
       b.   for bodily injury or property damage arising                1.     We will not pay for any loss to the property described in
            out of the rendering of or failure to render pro-                  this option either consisting of, or directly and imme-
            fessional services of any nature (other than                       diately caused by, one or more of the following:
            teaching or school administration). This exclu-
            sion includes but is not limited to:                               a.    mechanical breakdown, wear and tear, or
                                                                                     gradual deterioration;
            (1) computer programming, architectural, en-
                gineering, or industrial design services;                      b.    all animals, birds, or insects, including nesting,
                                                                                     infestation, gnawing, feeding, breeding, or dis-
            (2) medical, surgical, dental, or other services                         charge or release of waste products or secre-
                or treatment conducive to the health of per-                         tions by animals, birds, or insects. However, we
                sons or animals; and                                                 will pay for losses caused by wild bears or deer;
            (3) beauty or barber services or treatment;                        c.    any process of refinishing, renovating, or repair-
       c.   for bodily injury to a fellow employee of the in-                        ing;
            sured injured in the course of employment; or                      d.    dampness of atmosphere or extremes of tem-
       d.   when the insured is a member of the faculty or                           peratures;
            teaching staff of a school or college:                             e.    inherent defect or faulty manufacture;
            (1) for bodily injury or property damage aris-                     f.    rust, fouling, or explosion of firearms;
                ing out of the maintenance, use, loading, or
                unloading of:                                                  g.    breakage, marring, scratching, tearing, or dent-
                                                                                     ing unless caused by fire, thieves, or accidents
                 (a) draft or saddle animals, including ve-                          to conveyances; or
                     hicles for use with them; or
                                                                               h.    infidelity of an insured’s employees or persons
                 (b) aircraft, motor vehicles, recreational                          to whom the insured property may be entrusted
                     motor vehicles or watercraft, air-                              or rented;
                     boats, air cushions, or personal water-
                     craft which use a water jet pump                   2.     Our limit for loss by any Coverage B peril except theft
                     powered by an internal combustion                         is the limit shown in the Declarations for Coverage
                     engine as the primary source of pro-                      B, plus the aggregate limit;
                     pulsion;                                           3.     Our limits for loss by theft are those shown in the
                 owned, operated, or hired by or for the in-                   Declarations for this option. These limits apply in
                 sured or employer of the insured or used                      lieu of the Coverage B theft limit; and


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  4.   Our limits for loss by any covered peril except those                   c.    liability arising out of any acts, errors, or omis-
       in items 2. and 3. above are those shown in the Dec-                          sions of an insured, or any other person for
       larations for this option.                                                    whose acts an insured is liable, resulting from
                                                                                     the preparation or approval of data, plans, de-
  Option IO – Incidental Business. The coverage provided                             signs, opinions, reports, programs, specifications,
  by this option applies only to that incidental business oc-                        supervisory inspections, or engineering services in
  cupancy on file with us.                                                           the conduct of an insured’s incidental business
                                                                                     involving data processing, computer consulting,
  1.   COVERAGE B – PERSONAL PROPERTY is ex-
       tended to include equipment, supplies, and furnish-                           or computer programming; or
       ings usual and incidental to this business                              d.    any claim made or suit brought against any in-
       occupancy. This Optional Policy Provision does not                            sured by:
       include electronic data processing system equipment                           (1) any person in the care of any insured be-
       or the recording or storage media used with that                                     cause of child care services provided by or
       equipment or merchandise held as samples or for                                      at the direction of:
       sale or for delivery after sale.
                                                                                            (a) any insured;
       The Option IO limits are shown in the Declarations.
       The first limit applies to property on the residence                                 (b) any employee of any insured; or
       premises. The second limit applies to property while                                 (c) any other person actually or appar-
       off the residence premises. These limits are in ad-                                      ently acting on behalf of any insured;
       dition to the COVERAGE B – PERSONAL PROP-                                                or
       ERTY, Special Limits of Liability on property used or
                                                                                     (2) any person who makes a claim because of
       intended for use in a business.
                                                                                         bodily injury to any person in the care of
  2.   Under Section II, the residence premises is not con-                              any insured because of child care services
       sidered business property because an insured oc-                                  provided by or at the direction of:
       cupies a part of it as an incidental business.
                                                                                        (a) any insured;
  3.   SECTION II – EXCLUSIONS, item 1.b. is replaced
       with the following:                                                              (b) any employee of any insured; or
                                                                                        (c) any other person actually or appar-
            b.   bodily injury or property damage arising                                    ently acting on behalf of any insured.
                 out of business pursuits of any insured,
                 except as provided in item c. below. This                         Coverage M does not apply to any person indi-
                 exclusion does not apply to activities that                       cated in d.(1) and d.(2) above.
                 are ordinarily incident to non-business                           This exclusion does not apply to the occasional
                 pursuits or to business pursuits of an in-                        child care services provided by any insured, or
                 sured that are necessary or incidental to                         to the part-time child care services provided by
                 the use of the residence premises as an                           any insured under 19 years of age.
                 incidental business;                                   Option JF – Jewelry and Furs. Jewelry, watches, fur
  4.   This insurance does not apply to:                                garments and garments trimmed with fur, precious and
       a. bodily injury to an employee of an insured                    semi-precious stones, gold other than goldware, silver
                                                                        other than silverware, and platinum are covered for acci-
            arising out of the residence premises as an in-
                                                                        dental direct physical loss or damage.
            cidental business other than to a residence
            employee while engaged in the employee’s em-                The limits for this option are shown in the Declarations.
                                                                        The first amount is the limit for any one article; the second
            ployment by an insured;
                                                                        amount is the aggregate limit for each loss. All provisions
       b.   bodily injury to a student arising out of corporal          and exclusions of SECTION I – LOSSES INSURED, COV-
            punishment administered by or at the direction              ERAGE B – PERSONAL PROPERTY, Theft apply to Op-
            of the insured;                                             tion JF.
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  The following additional provisions apply:                              2.     Our limit for loss by any Coverage B peril except theft
  1. We will not pay for any loss to the property described in                   is the limit shown in the Declarations for Coverage
       this option either consisting of, or directly and immedi-                 B, plus the aggregate limit;
       ately caused by, one or more of the following:                     3.     Our limits for loss by theft are those shown in the
       a. mechanical breakdown, wear and tear, or                                Declarations for this option. These limits apply in
             gradual deterioration;                                              lieu of the Coverage B theft limit; and
       b. all animals, birds or insects, including nesting,               4.     Our limits for loss by any covered peril except those
             infestation, gnawing, feeding, breeding, or dis-                    in items 2. and 3. above are those shown in the Dec-
                                                                                 larations for this option.
             charge or release of waste products or secre-
             tions by animals, birds, or insects. However, we             Option SG – Silverware and Goldware Theft. The COV-
             will pay for losses caused by wild bears or deer;            ERAGE B – PERSONAL PROPERTY, Special Limits of
       c. inherent vice; or                                               Liability, item i., for theft of silverware and goldware is in-
       d. seizure or destruction under quarantine or cus-                 creased to be the amount shown in the Declarations for
             toms regulations;                                            this option.




   MISSOURI PROPERTY AND CASUALTY INSURANCE GUARANTY ASSOCIATION
                        COVERAGE LIMITATIONS
  1.   Subject to the provisions of the Missouri Property                                the date the insurer becomes insolvent; pro-
       and Casualty Insurance Guaranty Association Act                                   vided that an insured’s net worth on such date
       (to be referred to as the Act), if we are a member of                             shall be deemed to include the aggregate net
       the Missouri Property and Casualty Insurance Guar-                                worth of the insured and all of its affiliates as
       anty Association (to be referred to as the Associa-                               calculated on a consolidated basis.
       tion), the Association will pay claims covered under
                                                                                  b.     Payments made by the Association for covered
       the Act if we become insolvent.
                                                                                         claims will include only that amount of each
  2.   The Act contains various exclusions, conditions and                               claim which is less than $300,000.
       limitations that govern a claimant’s eligibility to col-
       lect payment from the Association and affect the                                  However, the Association will not:
       amount of any payment. The following limitations                                  (1) Pay an amount in excess of the applicable
       apply subject to all other provisions of the Act:                                     limit of insurance of the policy from which
       a.   Claims covered by the Association do not in-                                     a claim arises; or
            clude a claim by or against an insured of an
            insolvent insurer, if the insured has a net worth                            (2) Return to an insured any unearned pre-
            of more than $25 million on the later of the end                                 mium in excess of $25,000.
            of the insured’s most recent fiscal year or the                 These limitations have no effect on the coverage we will
            December thirty-first of the year next preceding                provide under this policy.




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AMENDATORY ENDORSEMENT – SECTION I – CONDITIONS – SUIT AGAINST US (Missouri)

This endorsement modifies insurance provided under the HOMEOWNERS POLICY, CONDOMINIUM UNITOWNERS POLICY,
and RENTERS POLICY
Under SECTION I – CONDITIONS, Suit Against Us is replaced by the following:
    Suit Against Us. No action will be brought against us unless there has been full compliance with all of the policy provisions.
    Any action by any party must be started within ten years after the cause of action accrues.
All other policy provisions apply.
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CONDOMINIUM UNITOWNERS AMENDATORY ENDORSEMENT (Missouri)
This endorsement modifies insurance provided under the following: CONDOMINIUM UNITOWNERS POLICY
DEFINITIONS                                                                    (2) being repaired due to damage otherwise cov-
Under the definition of “business”, item d. is replaced by the                      ered by this policy; or
following:                                                                     (3) undergoing substantial improvements, renova-
     Business does not include:                                                     tions, remodeling, or modifications;
     d. the ownership, maintenance, or use of systems and                      and the construction results in substantial continuing
          equipment used to generate electrical power, if:                     activities by persons associated with the construc-
                                                                               tion project at the premises during the relevant time
          (1) the power generated is intended primarily for                    periods.
               consumption on the residence premises; and
                                                                     SECTION I – PROPERTY COVERAGES
          (2) any resulting income is incidental, including but
               not limited to:                                       COVERAGE A – BUILDING PROPERTY
               (a) utility bill credits; or                          Item 2.c. is replaced by the following:
               (b) incidental income;                                    c. systems and equipment used to generate electrical
                                                                               power, unless:
               derived from sending excess power back to the
               electricity grid; or                                            (1) the power generated is intended primarily for
                                                                                    consumption on the residence premises; and
The definition of “occurrence” is replaced by the following:
                                                                               (2) any resulting income is incidental, including but
     “occurrence”, when used in Section II of this policy,                          not limited to:
     means an accident, including accidental exposure to con-
     ditions, which first results in:                                               (a) utility bill credits; or
     a. bodily injury; or                                                           (b) incidental income;
     b. property damage;                                                            derived from sending excess power back to the
                                                                                    electricity grid.
     during the policy period. All bodily injury and property
     damage resulting from one accident, series of related ac-       SECTION I – ADDITIONAL COVERAGES
     cidents, or from continuous or repeated exposure to the         The following is added to Volcanic Action:
     same general conditions is considered to be one occur-
     rence.                                                              When applicable, the following coverages apply to a loss
The definition of “vacant dwelling” is replaced by the follow-           covered by Volcanic Action:
ing:                                                                     a. COVERAGE C – LOSS OF USE; and
     “vacant dwelling” means:                                            b. SECTION I – ADDITIONAL COVERAGES;
     a. a dwelling:
                                                                     The following is added to Collapse:
       (1) that has not been occupied as a residence for
            more than 30 consecutive days immediately be-                When applicable, the following coverages apply to a loss
            fore the loss; and                                           covered by Collapse:
       (2) where a predominant amount of personal prop-                  a. COVERAGE C – LOSS OF USE; and
            erty has been removed or is absent such that                 b. SECTION I – ADDITIONAL COVERAGES;
            the dwelling is not functional as a habitual place
            of residence.                                            The following is added to Fuel Oil Release:
       A dwelling will be considered occupied only if it is be-          When applicable, the following coverages apply to a loss
       ing used as a habitual place of residence with your               covered by Fuel Oil Release:
       knowledge and approval.                                           a. COVERAGE C – LOSS OF USE; and
    b. A dwelling that is under active construction will not             b. SECTION I – ADDITIONAL COVERAGES;
       be considered a vacant dwelling. A dwelling is un-
       der active construction when it is:                                    Any payments made for these coverages are in-
                                                                              cluded in, and not in addition to, the $10,000 limit of
         (1) being built as a new structure;                                  insurance for Fuel Oil Release.

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SECTION I – CONDITIONS                                                                (a) liability for damages that the insured
Suit Against Us is replaced by the following:                                              would have in absence of the contract
                                                                                           or agreement; or
     Suit Against Us. No action will be brought against us
     unless there has been full compliance with all of the policy                     (b) written contracts:
     provisions. Any action by any party must be started within                            (i) that directly relate to the owner-
     ten years after the cause of action accrues.                                                ship, maintenance, or use of any
Under Mortgagee Clause, paragraph 10.c. is replaced by the                                       insured location; or
following:                                                                                 (ii) when the liability of others is as-
     c. If we cancel this policy, the mortgagee will be notified                                 sumed by you prior to the occur-
          at least 10 days before the date cancellation takes                                    rence;
          effect.                                                                          unless excluded elsewhere in the pol-
SECTION II – LIABILITY COVERAGES                                                           icy;
SECTION II – ADDITIONAL COVERAGES                                            c. property damage to property rented to, used or
                                                                                 occupied by, or in the care, custody, or control of
The following is added to Damage to Property of Others:                          any insured at the time of the occurrence. This
     d. Under SECTION II – EXCLUSIONS, exclusion 2.c.                            exclusion does not apply to property damage
          does not apply to the coverage provided by Damage                      caused by:
          to Property of Others.                                                 (1) fire;
SECTION II – EXCLUSIONS                                                          (2) smoke;
Under SECTION II – EXCLUSIONS, 1.p. is replaced by the                           (3) explosion;
following:
                                                                                 (4) abrupt and accidental damage from water;
     1. Coverage L and Coverage M do not apply to:                                    or
          p. bodily injury or property damage arising out                        (5) household pets, up to $500 in excess of
               of the ownership, maintenance, or use of sys-                          your security deposit;
               tems and equipment used to generate electrical
               power, unless:                                         SECTION I AND SECTION II – CONDITIONS
               (1) the power generated is intended primarily          Under Cancellation, 5.b. is replaced by the following:
                    for consumption on the residence prem-                b. We may cancel this policy by providing notice to a
                    ises; and                                                named insured shown on the Declarations. The no-
               (2) any resulting income is incidental, including             tice will provide the date cancellation is effective.
                    but not limited to:                                      (1) When you have not paid the premium, we may
                    (a) utility bill credits; or                                  cancel at any time by providing notice at least
                                                                                  10 days before the date cancellation takes ef-
                    (b) incidental income;                                        fect. This condition applies whether the pre-
                    derived from sending excess power back to                     mium is payable to us or our agent or under any
                    the electricity grid.                                         finance or credit plan.
Under SECTION II – EXCLUSIONS, 2.a. and 2.c. are re-                         (2) When this policy has been in effect for less than
placed by the following:                                                          60 days and is not a renewal with us, we may
                                                                                  cancel for any reason. We may cancel by
     2. Coverage L does not apply to:                                             providing notice at least 30 days before the date
          a. liability:                                                           cancellation takes effect.
               (1) for your share of any loss assessment                     (3) When this policy has been in effect for 60 days
                    charged against all members of any type of                    or more, or at any time if it is a renewal with us,
                    association of property owners; or                            we may cancel:
               (2) imposed on or assumed by any insured                           (a) for fraud or material misrepresentation af-
                    through any unwritten or written contract or                        fecting the policy or in the presentation of a
                    agreement. This exclusion does not apply                            claim thereunder, or violation of any of the
                    to:                                                                 terms or conditions of the policy;



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             (b) if the named insured or any occupant of the            Nonrenewal. If we decide not to renew this policy, then,
                 property has been convicted of a crime aris-           at least 30 days before the end of the current policy pe-
                 ing out of acts increasing the hazard in-              riod, we will provide a nonrenewal notice to a named in-
                 sured against; or                                      sured shown on the Declarations.
             (c) if physical changes in the property insured       Joint and Individual Interests is replaced by the following:
                 increase the hazards originally insured.               Joint and Individual Interests. If you consists of more
             We may cancel this policy by providing notice at           than one person or entity, then each acts for all to change
             least 30 days before the date cancellation takes           or cancel this policy.
             effect.                                               Electronic Delivery is deleted.
Nonrenewal is replaced by the following:                           All other policy provisions apply.
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EARTHQUAKE AND VOLCANIC EXPLOSION ENDORSEMENT (Unitowners)
This endorsement modifies insurance provided under the following: CONDOMINIUM UNITOWNERS POLICY
The following is added to SECTION I – ADDITIONAL COV-                               (b) Under COVERAGE D – LOSS ASSESS-
ERAGES:                                                                                 MENT, the deductible for loss caused by
    Earthquake and Volcanic Explosion. We will pay for                                  earthquake or volcanic explosion is $100.
    accidental direct physical loss to covered property result-                         We will pay only that portion of the loss that
    ing from an earthquake or volcanic explosion when the                               exceeds $100 of the total applicable
    loss is directly and immediately caused by:                                         amount of insurance.
    a. ground shock waves;                                                     (5) This coverage does not increase the limit apply-
                                                                                   ing to the damaged property.
    b. ground tremors;
                                                                               (6) When applicable, the following coverages apply
    c. ground liquefaction; or                                                     to a loss covered by this endorsement:
    d. damaging amplification of ground motion;
                                                                                    a. COVERAGE C – LOSS OF USE; and
    subject to the following:
                                                                                    b. SECTION I – ADDITIONAL COVERAGES.
         (1) We will not pay for, under this endorsement, loss
              arising from earthquake activity or volcanic ex-        For the purposes of this endorsement only SECTION I –
              plosion that begins before the inception of this        LOSSES NOT INSURED, 2.b. Earth Movement is replaced
              endorsement.                                            with the following:
              But, if this endorsement replaces earthquake in-            b. Earth Movement, meaning the sinking, rising, shift-
              surance that excludes loss that occurs after the               ing, expanding, or contracting of earth, all regardless
              expiration of the policy, we will pay for loss cov-            of whether combined with water, sewage, or any ma-
              ered by this endorsement due to an earthquake                  terial carried by, or otherwise moved by the earth.
              or volcanic explosion that occurs on or after the              Earth movement includes but is not limited to:
              inception of this endorsement, if the series of
              earthquake shocks or tremors or volcanic explo-                  (1) earthquake, except as specifically provided in
              sions began within 168 hours prior to the incep-                     SECTION I – ADDITIONAL COVERAGES,
              tion of this insurance.                                              Earthquake and Volcanic Explosion;
         (2) All earthquake activity or volcanic explosions                    (2) landslide, mudslide, or mudflow;
              that occurs within any 168-hour period will con-
              stitute a single loss. The expiration of this policy             (3) sinkhole or subsidence;
              will not reduce the 168-hour period.                             (4) movement resulting from:
         (3) The limit of liability under this endorsement for                     (a) improper compaction;
              COVERAGE D – LOSS ASSESSMENT is
              $1,000. This limit will not be increased by higher                   (b) site selection;
              amounts shown in the Declarations.                                    (c) natural resource extraction activities;
         (4) Deductibles.                                                           (d) excavation;
              (a) The deductible for loss caused by earth-                     (5) erosion;
                    quake or volcanic explosion is the amount
                    determined by applying the Earthquake de-                   (6) pressure by surface or subsurface earth or fill;
                    ductible percentage (%) shown in the Dec-                        or
                    larations, to the COVERAGE B –
                    PERSONAL PROPERTY limit shown in the                        (7) any volcanic activity, except as specifically pro-
                    Declarations.                                                    vided in SECTION I – ADDITIONAL COVER-
                                                                                     AGES, Volcanic Action or SECTION I –
                    This deductible applies to all losses covered                    ADDITIONAL COVERAGES, Earthquake and
                    under this endorsement except losses cov-                        Volcanic Explosion.
                    ered under COVERAGE D – LOSS AS-
                    SESSMENT. The deductible will be                            However, we will pay for any accidental direct physical
                    subtracted from the total amount of the loss                loss by fire resulting from earth movement, provided the
                    and will apply in place of any other deduct-                resulting fire loss is itself a loss insured.
                    ible stated in this policy.                       All other policy provisions apply.
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BACK-UP OF SEWER OR DRAIN ENDORSEMENT (Condominium Unitowners)
This endorsement modifies insurance provided under the following: CONDOMINIUM UNITOWNERS POLICY
The following is added to SECTION I – ADDITIONAL COV-                     e. The deductible for each loss under this coverage is
ERAGES:                                                                      the amount shown in the Declarations under Sec-
    Back-up of Sewer or Drain. We will pay for accidental                    tion I Deductible for “Other Losses” or “All Losses”,
    direct physical loss to property covered under COVER-                    whichever applies.
    AGE A – BUILDING PROPERTY and covered personal                        f.   When applicable, the following coverages apply to a
    property located within the dwelling, caused by back-up
    of water or sewage, subject to the following:                              loss covered by this endorsement:
    a. The back-up must be directly and immediately                            (1) COVERAGE C – LOSS OF USE; and
         caused solely by water or sewage:                                     (2) SECTION I – ADDITIONAL COVERAGES.
         (1) from outside the residence premises plumbing                      Any payments made for these coverages are in-
              system that enters through a sewer or drain lo-                  cluded in, and not in addition to, the limit of insurance
              cated inside the interior of the dwelling; or                    described in item d. above.
         (2) that enters into and overflows from within a
              sump pump, sump pump well, or any other sys-            For purposes of this endorsement only:
              tem located inside the interior of the dwelling         a. SECTION I – LOSSES INSURED, item 12.b.(2) is deleted
              designed to remove subsurface water drained                from the policy.
              from the foundation area.
                                                                      b. SECTION I – LOSSES NOT INSURED, Water is replaced
    b. Coverage does not apply to:                                       by:
         (1) losses resulting from your failure to:                            Water, meaning:
              (a) keep a sump pump or its related equipment                    (1) flood;
                    in proper working condition; or
                                                                               (2) surface water. This does not include water
              (b) perform the routine maintenance or repair
                    necessary to keep a sewer or drain free                        solely caused by the release of water from a
                    from obstructions; or                                          swimming pool, spigot, sprinkler system, hose,
                                                                                   or hydrant;
         (2) losses that occur or are in progress within the
              first 5 days of the inception of this endorsement.               (3) waves (including tidal wave, tsunami, and
              This limitation does not apply when:                                 seiche);
              (a) this endorsement is attached to a newly is-                  (4) tides or tidal water;
                    sued policy; or
                                                                               (5) overflow of any body of water (including any re-
              (b) this endorsement is attached to replace an-                      lease, escape, or rising of any body of water, or
                    other Back-Up of Sewer or Drain Endorse-                       any water held, contained, controlled, or di-
                    ment. However, if this endorsement’s                           verted by a dam, levee, dike, or any type of wa-
                    coverage limits are higher than those of the                   ter containment, diversion, or flood control
                    endorsement it replaces, then the limitation
                    described in (2) above applies only to the in-                 device);
                    crease in coverage limits.                                 (6) spray or surge from any of the items c.(1)
    c. If you request an increase to the coverage limit for                        through c.(5) described above, all whether
         this endorsement, the increased coverage limit does                       driven by wind or not;
         not apply to losses that occur or are in progress                     (7) water or sewage from outside the residence
         within the first 5 days of your request.                                  premises plumbing system that enters through
    d. The total limit of insurance provided by this endorse-                      sewers or drains, or water or sewage that enters
         ment will not exceed the amount determined by apply-                      into and overflows from within a sump pump,
         ing the Back-Up Of Sewer Or Drain percentage (%)                          sump pump well, or any other system designed
         shown in the Declarations to the COVERAGE B –                             to remove subsurface water that is drained from
         PERSONAL PROPERTY limit shown in the Declara-                             the foundation area;
         tions, as adjusted by the inflation coverage provi-                   except as specifically provided in SECTION I – AD-
         sions of this policy. This is an additional amount of                 DITIONAL COVERAGES, Back-Up of Sewer or
         insurance.                                                            Drain.
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        (8) water or sewage below the surface of the                         However, we will pay for any accidental direct physical
            ground, including water or sewage that exerts                    loss by fire, explosion, or theft resulting from water, pro-
            pressure on, or seeps or leaks through a build-                  vided the resulting loss is itself a loss insured.
            ing structure, sidewalk, driveway, swimming            c. SECTION I – CONDITIONS, Other Insurance is re-
            pool, or other structure; or                                placed by:
        (9) material carried or otherwise moved by any of                    Other Insurance. This coverage is excess over
            the water or sewage, as described in items c.(1)                 other valid and collectible insurance.
            through c.(8) above.                                   All other policy provisions apply.
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